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                                     EXHIBIT I


                   (EXIT FIRST LIEN FACILITY DOCUMENTS)
(Form of Agreement – Subject to Debtors’ Review and Revision, Amendment and Conforming
                                    Modifications)
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                                                                           Goodwin draft 1/22/24




                         AMENDED AND RESTATED LOAN AGREEMENT


    Originally dated as of August 9, 2023 and as amended and restated on January [    ], 2024

                                         by and among


                          AMYRIS, INC., AMYRIS CLEAN BEAUTY, INC.,
                                    and APRINNOVA, LLC,
                                         as Borrowers


                     THE SUBSIDIARIES OF THE BORROWERS PARTY HERETO,
                                         as Guarantors,

                                       EUAGORE, LLC,
                                    as Administrative Agent,

                                              and

                                THE LENDERS PARTY HERETO




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Section 10.     . The rights, powers and remedies of the Administrative Agent hereunder shall
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       10.18    Overpayments. If any Lender shall obtain any payment (whether voluntary,
                involuntary, through the exercise of any right of set-off, or otherwise) on account
                of the principal of or interest on any Advance made by it or other obligations
                hereunder, as applicable (other than pursuant to a provision hereof providing for
                non-pro rata treatment), in excess of its DIP Percentage or Exit Percentage, as
                applicable, of such payment on account of the Advances or participations
                obtained by all of the Lenders, such Lender shall forthwith advise the
                Administrative Agent of the receipt of such payment, and within five (5)
                Business Days of such receipt purchase (for cash at face value) from the other
                DIP Lenders or Exit Lenders, as applicable (through the Administrative Agent),
                without recourse, such participations in the DIP Advances or Exit Advances
                made by them, as applicable, or make such other adjustments as shall be
                equitable, as shall be necessary to cause such purchasing Lender to share the
                excess payment ratably with each of the other Lenders in accordance with their
                respective DIP Percentages or Exit Percentages, as applicable; provided,
                however, that if all or any portion of such excess payment is thereafter recovered
                by or on behalf of a Borrower from such purchasing Lender, the purchase shall
                be rescinded and the purchase price restored to the extent of such recovery, but
                without interest. The Borrowers agree that any Lender so purchasing a
                participation from another Lender pursuant to this Section 10.18 may exercise all
                its rights of payment (including the right of set-off) with respect to such
                participation as fully as if such Lender were the direct creditor of the Borrowers
                in the amount of such participation. No documents other than notices and the
                like referred to in this Section 10.18 shall be required to implement the terms of
                this Section 10.18. The Administrative Agent shall keep records (which shall be
                conclusive and binding in the absence of demonstrable error) of participations
                purchased pursuant to this Section 10.18 and shall in each case notify the DIP
                Lenders or the Exit Lenders, as applicable, following any such purchase. The
                provisions of this Section 10.18 shall not be construed to apply to any payment
                (i) made by or on behalf of a Borrower pursuant to and in accordance with the
                express terms of this Agreement, or (ii) obtained by a Lender as consideration for
                the assignment of or sale of a participation in any of its Advances to any assignee
                or participant, other than an assignment to a Borrower or any Subsidiary thereof
                (as to which the provisions of this Section shall apply). Each Obligor consents to
                the foregoing and agrees, to the extent it may effectively do so under applicable
                law, that any Lender acquiring a participation pursuant to the foregoing
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EXHIBITS

Exhibit A          [Reserved]
Exhibit B          Names, Locations and Other Information
Exhibit C          Intellectual Property
Exhibit D          Financial Accounts
Exhibit E          [Reserved]
Exhibit F          Form of Joinder Agreement

SCHEDULES

Schedule 1         Borrowers; Guarantors
Schedule 1A        Indebtedness
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                             AMENDED AND RESTATED LOAN AGREEMENT

         This AMENDED AND RESTATED LOAN AGREEMENT (as the same may be amended,
restated, supplemented and/or otherwise modified from time to time, this “Agreement”) was originally
made as of August 9, 2023 (the “Closing Date”), as amended and restated on [                ], 2024 and is
entered into by and among AMYRIS, INC., a Delaware corporation (the “Parent”), and each of the
Subsidiaries of the Parent set out in Part 1 of Schedule 1 to this Agreement (together with the Parent, each,
a “Borrower” and collectively, the “Borrowers”), the Subsidiaries of the Parent set out in Part 2 of Schedule
1 to this Agreement (and such other Subsidiaries of the Parent that are guarantors, each, a “Guarantor” and
collectively, the “Guarantors” and, together with the Borrowers, each. an “Obligor” and collectively, the
“Obligors”) each lender from time to time party hereto (each, a “Lender” and collectively, the “Lenders”)
and Euagore, LLC, in its capacity as Administrative Agent (the “Administrative Agent”).

         WHEREAS, on August 9, 2023 , the Parent and certain of the Parent’s Subsidiaries (each, a
“Debtor” and collectively, the “Debtors”) filed voluntary petitions with the Bankruptcy Court initiating
their respective cases that are pending under chapter 11 of the Bankruptcy Code (each case of the Parent
and each other Debtor, a “Case” and collectively, the “Cases”) and continued in the possession of their
assets and the management of their business pursuant to Sections 1107 and 1108 of the Bankruptcy Code;

        WHEREAS, the Borrowers requested that the DIP Lenders provide a superpriority multiple-draw
senior secured debtor-in-possession term loan credit facility in an aggregate principal amount not to exceed
$190,000,000 (the “DIP Facility”), with all of the Borrowers’ obligations under the DIP Facility to be
guaranteed by each Guarantor, and the DIP Lenders agreed to extend such credit to the Borrowers on the
terms and subject to the conditions set forth herein;

         WHEREAS, on October 16, 2023, the DIP Facility was approved by the Bankruptcy Court pursuant
to the Final Order (I) Authorizing the Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
Collateral (II) Granting Adequate Protection to Prepetition Secured Lenders, (III) Modifying the Automatic
Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 558] (the “Final
Order”) , which granted, among other things, the Administrative Agent, for itself and the for the benefit of
the DIP Lenders, a valid, binding, continuing, enforceable, non-avoidable, automatically and properly
perfected, first priority priming senior security interest in and lien upon the certain collateral (including the
Collateral) to secure the Obligors’ obligations under the Loan Documents;

        WHEREAS, in connection with the Cases, the Debtors and certain creditor parties entered into an
Amended and Restated Plan Support Agreement on December 12, 2023, which provides for the
implementation of a restructuring involving the Debtors on the terms set forth in the Second Amended Joint
Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified (including all
annexes, exhibits, schedules and supplements thereto, in each case, as may be amended, modified or
supplemented from time to time so long as such amendments are in form and substance acceptable to the
Required Lenders, the “Reorganization Plan”), which was filed with the Bankruptcy Court on December
12, 20231;

        WHEREAS, on January [●], 2024, the Bankruptcy Court entered the Confirmation Order and on
[●], 2024, the Effective Date (as defined in the Reorganization Plan) occurred;

       WHEREAS, pursuant to the Reorganization Plan, the Obligors, the Administrative Agent and the
Lenders are amending and restating this Agreement so that, among other things, the Exit Facility Lenders


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    NTD: to be updated as required.


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shall make available to the Borrowers additional loans in an aggregate principal amount not to exceed
$160,000,000 (the “Exit Facility”);

        WHEREAS, as of the date immediately before the Restatement Date (A) the aggregate principal
amount outstanding under this Agreement was $[                  ], with accrued but unpaid interest of $[
        ] (“Accrued DIP Interest”) and accrued and unpaid fees and expenses of $[ ] (“DIP Expenses”),
and (B) the total aggregate amount outstanding under the DIP Facility was $[ ] (the “Pre-Exit DIP Loan
Amount”);

       WHEREAS, pursuant to the Reorganization Plan, the Obligors are assuming, pursuant to this
Agreement, $80,000,000 of the Pre-Exit DIP Loan (the “DIP Loan”) and the balance of the Pre-Exit DIP
Loan receives no distribution under the Reorganized Plan and is discharged under the Reorganization Plan;

         WHEREAS, as of the Restatement Date, $[                   ] of the Foris Pre-Petition Secured Debt
(as defined in the Reorganization Plan) will be outstanding and the balance of the Foris Pre-Petition Secured
Debt will be discharged under the Reorganization Plan.

         WHEREAS, the Lenders, the Administrative Agent and the Obligors have agreed to (A) certain
further amendments to this Agreement, which amendments are reflected herein, and (B) restate the terms
of this Agreement for ease of reference;

        WHEREAS, the Borrowers and the Guarantors are engaged in related businesses, and each
Guarantor will derive substantial direct and indirect benefit from the making of the extensions of credit to
the Borrowers under this Agreement; and

         WHEREAS, in connection with the execution and delivery of this Agreement and the other Loan
Documents , the Guarantors agree to guarantee the Secured Obligations, and the Obligors agree to secure
all of the Secured Obligations by granting to the Administrative Agent, for the benefit of the Secured
Parties, a lien and security interest in respect of, and on, substantially all of each their respective assets, on
and subject to the terms and priorities set forth in the Loan Documents.

       NOW, THEREFORE, in consideration of the foregoing and the agreements, provisions and
covenants herein contained, the parties to this Agreement agree as follows:

SECTION 1. DEFINITIONS AND RULES OF CONSTRUCTION; AMENDMENT AND
RESTATEMENT

         1.2    Unless otherwise defined herein, in this Agreement (including the Recitals) the following
capitalized terms have the following meanings:

        “Account Control Agreement(s)” means any agreement entered into by and among the
Administrative Agent, any Obligor and a third party bank or other institution in which any Obligor
maintains a Deposit Account or an account holding Investment Property and which grants the
Administrative Agent a perfected security interest in the subject account or accounts.

        “Accrued DIP Interest” has the meaning set forth in the Recitals.

        “Administrative Agent” has the meaning set forth in the Preamble .

       “Advance” means any DIP Advance made or advanced by the DIP Lenders before the Restatement
Date and any Exit Advance made or advanced by the Exit Lenders, under this Agreement.

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           “Advance Date” means the funding date of any Advance.

       “Advance Request” means a request for an Advance submitted by the Parent to the Administrative
Agent (on behalf of the Lenders) in form and substance satisfactory to the Administrative Agent.

         “Affiliate” means, with respect to any specified Person, any other Person directly or indirectly
controlling or controlled by or under direct or indirect common control with such specified Person. For
purposes of this definition, “control” (including, with correlative meanings, the terms “controlling”,
“controlled by” and under “common control with”), as used with respect to any Person, shall mean the
possession, directly or indirectly, of the power to direct or cause the direction of the management or policies
of such Person, whether through the ownership of voting securities, by agreement or otherwise.

           “Agreement” has the meaning give set forth in the Preamble.

        “Anti-Terrorism Order” means Executive Order No. 13,224 as of September 24, 2001, Blocking
Property and Prohibiting Transactions with Persons Who Commit, Threaten to Commit or Support
Terrorism, 66 U.S. Fed. Reg. 49,079 (2001), as amended.

           “Assignee” has the meaning set forth in Section 10.13.

         “Available Commitment” means, (i) with effect from the Restatement Date in relation to the DIP
Facility, zero, and (ii) at any time on and after the Restatement Date, an amount equal to the aggregate Exit
Commitments minus the aggregate initial principal amount of all Exit Advances made immediately before
such time.

       “Availability Period” means, with respect to the Exit Facility, the period from and including the
Restatement Date through the Maturity Date .

           “Bankruptcy Code” shall mean Title 11, U.S.C., as now or hereafter in effect, or any successor
thereto.

          “Bankruptcy Law” means each of (i) the Bankruptcy Code, (ii) any domestic or foreign law relating
to liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
rearrangement, administration, insolvency, reorganization, debt adjustment, receivership or similar debtor
relief from time to time in effect and affecting the rights of creditors generally (including without limitation
any plan of arrangement provisions of applicable corporation statutes), and (iii) any order made by a court
of competent jurisdiction in respect of any of the foregoing.

          “Board of Directors” means with respect to (i) any corporation, the board of directors of the
corporation or any committee thereof duly authorized to act on behalf of such board, (ii) a partnership, the
board of directors or managing member or members, as applicable, of the general partner of the partnership,
(iii) a limited liability company, the managing member or members or any controlling committee or board
of directors of such company or the sole member or the managing member thereof, and (iv) any other
Person, the board or committee of such Person serving a similar function.

           “Borrowers” has the meaning given to it in the preamble to this Agreement.

         “Borrower Products” means all products, software, service offerings, technical data or technology
currently being designed, manufactured or sold by any Obligor or which any Obligor intends to sell, license,
or distribute in the future including any products or service offerings under development, collectively,



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together with all products, software, service offerings, technical data or technology that have been sold,
licensed or distributed by any Obligor since their respective incorporations.

         “Business Day” means any day other than Saturday, Sunday and any other day on which banking
institutions in the State of New York are closed for business.

         “Capital Stock” means: (i) in the case of a corporation, corporate stock or shares; (ii) in the case
of an association or business entity other than a corporation, any and all shares, interests, participations,
rights or other equivalents (however designated) of corporate stock; (iii) in the case of a partnership or
limited liability company, partnership or membership interests (whether general or limited); and (iv) any
other interest or participation that confers on a Person the right to receive a share of the profits and losses
of, or distributions of assets of, the issuing Person, but excluding from all of the foregoing any debt
securities convertible into Capital Stock, whether or not such debt securities include any right of
participation with Capital Stock.

        “Cases” has the meaning set forth in the Recitals .

        “Cash” means all cash and liquid funds.

         “Cash Equivalents” means, as of any date of determination, any of the following: (i) marketable
securities (a) issued or directly and unconditionally guaranteed as to interest and principal by the United
States Government, or (b) issued by any agency of the United States, the obligations of which are backed
by the full faith and credit of the United States, in each case maturing within one year after such date;
(ii) marketable direct obligations issued by any state of the United States of America or any political
subdivision of any such state or any public instrumentality thereof, in each case maturing within one year
after such date and having, at the time of the acquisition thereof, a rating of at least A-1 from Standard &
Poor’s Corporation or at least P-1 from Moody’s Investors Service; (iii) commercial paper maturing no
more than one year from the date of creation thereof and having, at the time of the acquisition thereof, a
rating of at least A-1 from Standard & Poor’s Corporation or at least P-1 from Moody’s Investors Service;
(iv) certificates of deposit or bankers’ acceptances maturing within one year after such date and issued or
accepted by the Administrative Agent or by any commercial bank organized under the laws of the United
States of America or any state thereof or the District of Columbia that (a) is at least “adequately capitalized”
(as defined in the regulations of its primary federal banking regulator), and (b) has Tier 1 capital (as defined
in such regulations) of not less than $100,000,000; and (v) shares of any money market mutual fund that
(a) has substantially all of its assets invested continuously in the types of investments referred to in clauses
(i) and (ii) above, (b) has net assets of not less than $500,000,000, and (c) has the highest rating obtainable
from either Standard & Poor’s Corporation or Moody’s Investors Service.

         “Change in Control” means, except as expressly contemplated by, and a result of the transactions
set forth in, the Reorganization Plan, (i) any reorganization, recapitalization, consolidation or merger (or
similar transaction or series of related transactions) of the Parent, or any sale or exchange of outstanding
Capital Stock (or similar transaction or series of related transactions) of the Parent, in each case under this
clause (i) in which the holders of the Parent’s outstanding Capital Stock immediately before consummation
of such transaction or series of related transactions do not, immediately after consummation of such
transaction or series of related transactions, directly or indirectly, retain shares representing more than 50%
of the voting power of the surviving entity of such transaction or series of related transactions, in each case
without regard to whether the Parent is the surviving entity, or (ii) any sale of all or substantially of all the
assets of the Group Members in one transaction or a series of related transactions, and (iii) the Parent fails
to own, directly or indirectly, 100% of the Capital Stock of any of its Subsidiaries.

        “Closing Date” has the meaning set forth in the Preamble .

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        “Collateral” means the property described in Section 3.3 and words of similar intent, and in any of
the Security Documents, and shall include all present and after acquired assets and property, whether real,
personal, tangible, intangible or mixed of the Obligors, wherever located, on which Liens are or are
purported to be granted pursuant to the Security Documents to secure the payment and performance of the
Secured Obligations.

        “Collateral IP” means all Intellectual Property other than Excluded Intellectual Property.

        “Commitment” means with respect to each Lender on any date, the commitment of such Lender on
such date to make Advances, in each case in accordance with the terms of this Agreement, expressed as an
amount representing the maximum principal of such Advance, or participation therein. The initial amount
of such Lender’s Commitment is set forth on Schedule 2.1.

        “Confidential Information” has the meaning set forth in Section 10.12.

       “Confirmation Order” means the order entered by the Bankruptcy Court confirming the
Reorganization Plan pursuant to section 1129 of the Bankruptcy Code.

         “Contingent Obligation” means, as applied to any Person, any direct or indirect liability, contingent
or otherwise, of that Person with respect to (i) any Indebtedness or other obligations of another Person,
including any such obligation directly or indirectly guaranteed, endorsed, co-made or discounted or sold
with recourse by that Person, or in respect of which that Person is otherwise directly or indirectly liable;
(ii) any obligations with respect to undrawn letters of credit, corporate credit cards or merchant services
issued for the account of that Person; and (iii) all obligations arising under any interest rate, currency or
commodity swap agreement, interest rate cap agreement, interest rate collar agreement, or other agreement
or arrangement designated to protect a Person against fluctuation in interest rates, currency exchange rates
or commodity prices; provided, however, that the term “Contingent Obligation” shall not include
endorsements for collection or deposit in the ordinary course of business. The amount of any Contingent
Obligation shall be deemed to be an amount equal to the stated or determined amount of the primary
obligation in respect of which such Contingent Obligation is made or, if not stated or determinable, the
maximum reasonably anticipated liability in respect thereof as determined by such Person in good faith;
provided, however, that such amount shall not in any event exceed the maximum amount of the Secured
Obligations under the guarantee or other support arrangement.

        “Copyright License” means any written agreement granting (i) any right to exploit any Copyright,
now owned or hereafter acquired by any Group Member or in which any Group Member now holds or
hereafter acquires any interest, (ii) an immunity from suit under any Copyright, or (iii) an option to any of
the foregoing.

        “Copyrights” means all copyrights, whether registered or unregistered and published or
unpublished, including copyrights in software, internet web sites, databases and the content thereof, held
pursuant to the laws of the United States, any State thereof, or of any other country.

        “Debt Transaction” means, with respect to Parent or any Subsidiary, any sale, issuance, placement,
assumption or guaranty of funded Indebtedness (other than pursuant to this Agreement), whether or not
evidenced by a promissory note or other written evidence of Indebtedness, other than Permitted
Indebtedness.

        “Debtor” and “Debtors” shall have the meaning given in the Recitals .




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        “Default” means any event which, with the passage of time or notice or both, would, unless cured
or waived hereunder, become an Event of Default.

        “Deposit Accounts” means any “deposit accounts,” as such term is defined in the UCC, and
includes any checking account, savings account, or certificate of deposit.

       “DIP Advance” means any Advance made by a DIP Lender under the DIP Facility before the
Restatement Date.

         “DIP Collateral” means the Collateral securing the DIP Obligations.

       “DIP Commitment” means, as to any Lender, the obligation of such Lender, if any, to make a DIP
Advance to the Borrowers before the Restatement Date in an aggregate principal amount not to exceed the
amount of “DIP Commitments” set out next to its name in Schedule [              ].

        “DIP Expenses” has the meaning set forth in the Recitals.

        “DIP Facility” means the DIP Commitments and the DIP Advances made thereunder.

        “DIP Lender” means each Lender that has a DIP Commitment or holds a DIP Advance.

        “DIP Loan” has the meaning set forth in the Recitals.

         “DIP Obligations” means the Secured Obligations relating to the DIP Loan and all amounts of
interest, fees, expenses and other amounts due thereon.

        “DIP Orders” means collectively, the Interim Order and the Final Order.

        “DIP Percentages” means at any time after the Restatement Date, the percentage which the
aggregate principal amount of a DIP Lender’s DIP Advances then outstanding constitutes of the aggregate
principal amount of the DIP Loan then outstanding.

        “Disqualified Stock” means, with respect to any Person, any Capital Stock that by its terms (or by
the terms of any security into which it is convertible or for which it is exchangeable at the option of the
holder) or upon the happening of any event: (i) matures or is mandatorily redeemable pursuant to a sinking
fund obligation or otherwise; (ii) is convertible or exchangeable for Indebtedness or Disqualified Stock
(excluding Capital Stock convertible or exchangeable solely at the option of the issuer or a Subsidiary;
provided, that any such conversion or exchange will be deemed an incurrence of Indebtedness or
Disqualified Stock, as applicable); or (iii) is redeemable at the option of the holder thereof, in whole or in
part.

        “Dollars” and “$” means the lawful currency for the time being of the United States of America.

        “Domestic Subsidiary” means any Subsidiary that is not a Foreign Subsidiary.

        “DSM” means DSM Finance B.V., a company incorporated under the laws of the Netherlands.

         “DSM Collateral” means the “Pledge Collateral” as defined in the DSM Pledge Agreement as in
effect at the Restatement Date, as amended, modified, supplemented, restated or waived to the extent
permitted by this Agreement.



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        “DSM Note” means that certain Note between the Parent and DSM, in the form delivered under
Section 4.1, as amended, modified, supplemented, restated or waived to the extent permitted by this
Agreement.

         “DSM Note Documents” means the DSM Note, the DSM Pledge Agreement and any other
agreement or arrangement entered into in connection with the DSM Note or the DSM Pledge Agreement,
as the same may from time to time be amended, modified, supplemented or restated.

         “DSM Pledge Agreement” means that certain Amended and Restated Pledge Agreement over
certain interests held by the Parent in Amyris RealSweet, LLC, made between the Parent and DSM and
originally dated December 12, 2022, in the form delivered under Section 4.1, as amended, modified,
supplemented, restated or waived to the extent permitted by this Agreement.

         “Environmental Laws” means all applicable federal, state, local and foreign Laws, statutes,
ordinances, codes, rules, legally binding standards and regulations, now or hereafter in effect, and in each
case as amended or supplemented from time to time, and any applicable non-appealable judicial or
administrative interpretation thereof, including any applicable legally binding judicial or administrative
order, consent decree or judgment, imposing liability or standards of conduct for or relating to the regulation
and protection of human health and safety (to the extent related to exposure to Hazardous Materials), the
environment and natural resources (including ambient air, surface water, groundwater, wetlands, land
surface or subsurface strata, wildlife, aquatic species and vegetation).

          “Environmental Liabilities” means, with respect to any Person, all liabilities, obligations, costs,
losses, damages, fine, penalties and expenses (including all fees, disbursements and expenses of counsel,
experts and consultants), incurred as a result of or related to any claim, suit, action, investigation,
proceeding or demand by any Person, whether based in contract, tort, implied or express warranty, strict
liability, criminal or civil statute or common law, arising under or related to any Environmental Laws or
permits, or in connection with any Release or threatened Release or presence of a Hazardous Material
whether on, at, in, under, from or about or in the vicinity of any real or personal property.

        “ERISA” means the Employee Retirement Income Security Act of 1974, as amended, and the
regulations promulgated thereunder.

        “ERISA Affiliate” means, with respect to each Group Member, any trade or business (whether or
not incorporated) which, together with such Group Member, is treated as a single employer within the
meaning of Sections 414(b) or (c) of the IRC (or, solely for purposes of Section 302 of ERISA or Sections
412 and 430 of the IRC, Section 414(m) or (o) of the IRC).

        “ERISA Plan” means, at any time, an employee benefit plan, as defined in Section 3(3) of ERISA,
which any Group Member maintains, contributes to or has an obligation to contribute to on behalf of
participants who are or were employed by any such Person (or, if such plan were terminated at such time,
would under Section 4069 of ERISA be deemed to be an employee benefit plan of such Person).

          “Event of Default” has the meaning set forth in Section 8.

          “Exchange Act” means the Securities Exchange Act of 1934, as amended from time to time.

     “Excluded Intellectual Property” means: 2 [(a) all Intellectual Property that (i) constitutes
“AMYRIS Licensed IP” as defined in the License Agreement regarding Diesel Fuel in the EU, dated as of

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    NTD: company to confirm.

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March 21, 2016, as amended, by and among the Parent and Total Raffinage Chimie S.A., as assignee of
Total Energies Nouvelles Activités USA, but solely to the extent of the field of use granted in such
agreement, (ii) constitutes “AMYRIS Licensed IP” as defined in the Amended & Restated Jet Fuel License
Agreement, dated as of March 21, 2016, as amended, by and among the Parent and Total Amyris
BioSolutions B.V., but solely to the extent of the field of use granted in such agreement and (iii) is subject
to the Farnesene Intellectual Property License, dated as of November 14, 2017, by and between DSM
Nutritional Products Ltd. and Parent, but solely to the extent of the field of use granted in such license and
solely for the purposes of manufacturing Vitamin E, and in each case of clauses (i) and (ii), as such
agreements were in effect as of June 29, 2018, and in the case of clause (iii), as such agreement existed as
of December 14, 2018; and (b)] United States intent-to-use trademark applications to the extent that, and
solely during the period in which, the grant of a security interest therein would impair the validity or
enforceability of such intent-to-use trademark applications under applicable federal law.

         “Excluded Taxes” means any of the following Taxes imposed on or with respect to the
Administrative Agent or any Lender or required to be withheld or deducted from a payment to the
Administrative Agent or any Lender, (i) Taxes imposed on or measured by net income (however
denominated), franchise Taxes, and branch profits Taxes, in each case, (a) imposed as a result of the
Administrative Agent or any Lender being organized under the laws of, or having its principal office or, in
the case of the Administrative Agent or any Lender, its applicable lending office located in, the jurisdiction
imposing such Tax (or any political subdivision thereof) or (b) imposed as a result of a present or former
connection between the Administrative Agent or any Lender and the jurisdiction imposing such Tax (other
than connections arising from the Administrative Agent or any Lender having executed, delivered, become
a party to, performed its obligations under, received payments under, received or perfected a security
interest under, engaged in any other transaction pursuant to or enforced any Loan Document, or sold or
assigned an interest in any Advance or Loan Document), (ii) in the case of the Administrative Agent or
any Lender, U.S. federal withholding Taxes imposed on amounts payable to or for the account of the
Administrative Agent or any Lender with respect to an applicable interest in any Advance or commitment
pursuant to a law in effect on the date on which (a) the Administrative Agent or any Lender acquires such
interest in any Advance or commitment or (b) the Administrative Agent or any Lender changes its lending
office, except, in each case, to the extent that, pursuant to Section 7.10, amounts with respect to such Taxes
were payable either to the Administrative Agent or any Lender’s assignor immediately before the
Administrative Agent or any Lender became a party hereto or to the Administrative Agent or any Lender
immediately before it changed its lending office, and (iii) imposed as a result of failure by the
Administrative Agent or any Lender, upon prior written request therefor, to provide the Obligors with a
duly executed IRS Form W-9 or appropriate IRS From W-8.

        “Exit Advances” means any Advance made by an Exit Lender pursuant to Section 2.1.

        “Exit Collateral” means the Collateral securing the Exit Obligations.

      “Exit Commitment” means, as to any Lender, the obligation of such Lender, if any, to make an Exit
Advance to the Borrowers in an aggregate principal amount not to exceed the amount of “Exit
Commitments” set out next to its name in Schedule [          ].

        “Exit Facility” means the Exit Commitments and the Exit Advances made thereunder.

        “Exit Lender” means each Lender that has an Exit Commitment or holds an Exit Advance.

        “Exit Loan” means the aggregate Exit Advances made under this Agreement.




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         “Exit Obligations” means the Secured Obligations relating to the Exit Advances and all amounts
of interest, fees, expenses and other amounts due thereon.

        “Exit Percentages” means as to any Exit Lender which holds an Exit Commitment or Exit Advance
at the Restatement Date at any time, the percentage which such Exit Lender’s Exit Commitment then
constitutes of the aggregate Exit Commitments (or, at any time after the Restatement Date, the percentage
which the aggregate principal amount of such Lender’s Exit Advances then outstanding constitutes of the
aggregate principal amount of the Exit Advances then outstanding).

        “Facility” means the DIP Facility and the Exit Facility, as appropriate and “Facilities” means both
of them.

        “Financial Statements” means the financial statements and reports described in Sections 7.1 (b) and
(c).

        “Final Order” has the meaning set forth in the Recitals.

         “Foreign Subsidiary” means any Subsidiary other than a Subsidiary organized or formed under the
laws of any state within the United States or the District of Columbia.

         “GAAP” means generally accepted accounting principles in the United States of America, as in
effect from time to time; provided, that the definitions set forth in this Agreement and any financial
calculations required by the Loan Documents shall be computed to exclude any change to lease accounting
rules from those in effect pursuant to Financial Accounting Standards Board Accounting Standards
Codification 840 (Leases) and other related lease accounting guidance as in effect on the Closing Date .

         “Global Note” means any intercompany note evidencing the payment obligations of any Subsidiary
for all amounts transferred after the Closing Date by any Obligor to any Group Member.

        “Governmental Approval” means any consent, authorization, approval, order, license, franchise,
permit, certificate, accreditation, registration, filing or notice, of, issued by, from or to, or other act by or in
respect of, any Governmental Authority.

         “Governmental Authority” means any nation or government, any state or other political subdivision
thereof, and any agency, department or other entity exercising executive, legislative, judicial, regulatory or
administrative functions of or pertaining to government.

       “Group Members” means the Obligors and their respective Subsidiaries from time to time and
“Group Member” means any of them.

         “Hazardous Material” means hazardous waste, hazardous substance, pollutant, contaminant, toxic
substance, oil, hazardous material, chemical or other similar substance to the extent each of the foregoing
is regulated by any Environmental Law.

        “Indebtedness” means indebtedness of any kind including, without limitation (i) all indebtedness
for borrowed money or the deferred purchase price of property or services, including reimbursement and
other obligations with respect to surety bonds and letters of credit, (ii) all obligations evidenced by notes,
bonds, debentures or similar instruments, (iii) all capital lease obligations, (iv) all Contingent Obligations,
and (v) Disqualified Stock.

        “Indemnified Person” has the meaning set forth in Section 6.3.


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        “Indemnified Taxes” means (i) Taxes, other than Excluded Taxes, imposed on or with respect to
any payment made by or on account of any obligation of any Obligor under any Loan Document and (ii) to
the extent not otherwise described in (i), Other Taxes.

         “Intellectual Property” means all of each Group Member’s (i) rights anywhere in the world in and
to Copyrights; Trademarks; Patents; Licenses; trade secrets, confidential and proprietary information,
including know-how, manufacturing and production processes and techniques, research and development
information, databases and data, customer and supplier lists and information; inventions; mask works;
domain names and social media identifiers; all other intellectual and industrial property rights of any type;
and the rights to sue for past, present and future infringement, misappropriation or other violation of any of
the foregoing and any harm to the goodwill associated therewith, and (ii) all tangible embodiments of the
foregoing.

        “Interest Payment Date” has the meaning set forth in Section 2.1(c).

        “Interest Rate” means an interest rate of 6.0% (six per cent.) per annum.

       “Interim Order” means the following order of the Bankruptcy Court, Final Order (I) Authorizing
the Debtors (A) To Obtain Postpetition Financing and (B) To Utilize Cash Collateral, (II) Granting
Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a
Final Hearing, and (V) Granting Related Relief [Dkt. No. 558].

          “Investment” means any beneficial ownership (including stock, partnership or limited liability
company interests) of or in any Person, or any loan, advance or capital contribution to any Person or the
acquisition of all, or substantially all, of the assets or a business line or division of another Person or the
purchase of any assets of another Person for greater than the fair market value of such assets to solely the
extent of the amount in excess of the fair market value.

        “Involuntary Disposition” means the receipt by Parent or any Subsidiary of any cash insurance
proceeds or condemnation awards payable by reason of theft, loss, physical destruction or damage, taking
or similar event with respect to any of its real or personal property.

       “IP Security Agreement” means each certain Intellectual Property Security Agreement entered into
between an Obligor and Administrative Agent in accordance with this Agreement.

        “IRC” means the Internal Revenue Code of 1986, as amended, and any successor thereto (unless
otherwise specified therein).

        “IRS” means the Internal Revenue Service, or any successor thereto.

       “Joinder Agreements” means for each Subsidiary that is required to be a Subsidiary Guarantor, a
completed and executed Joinder Agreement in substantially the form attached hereto as Exhibit F.

         “Laws” means any federal, state, local and foreign statute, law, treaty, judicial decision, regulation,
guidance, guideline, ordinance, rule, judgment, order, decree, code, injunction, permit, concession, grant,
franchise, governmental (or quasi-governmental) agreement, governmental (or quasi-governmental)
restriction or determination of an arbitrator, court or other Governmental Authority (whether or not having
the force of law), whether now or hereafter in effect.

        “Leland Property” means the commercial scale production facility located in Leland, North
Carolina.


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        “Lender” has the meaning set forth in the Preamble .

         “Liabilities” has the meaning set forth in Section 6.3.

         “License” means any Copyright License, Patent License, Trademark License or other license of
rights or interests.

         “Lien” means any mortgage, deed of trust, pledge, hypothecation, assignment for security, security
interest, encumbrance, levy, lien or charge of any kind, whether voluntarily incurred or arising by operation
of law or otherwise, against any property, any conditional sale or other title retention agreement, and any
lease in the nature of a security interest; provided, that for the avoidance of doubt, licenses, strain escrows
and similar provisions in collaboration agreements, research and development agreements that do not create
or purport to create a security interest, encumbrance, levy, lien or charge of any kind shall not be deemed
to be Liens for purposes of this Agreement.

         “Litigation” has the meaning set forth in Section 5.5.

        “Loan” means the aggregate of the DIP Loan and the Exit Loan.

        “Loan Documents” means this Agreement, , each Global Note, the Notes (if any), the Account
Control Agreements, the Joinder Agreements, all UCC financing statements, each Security Document, the
Approved Budget, and any other documents executed or delivered in connection with the Secured
Obligations or the transactions contemplated hereby, as the same may from time to time be amended,
modified, supplemented or restated, .

        “Majority DIP Lenders” means, at any time, DIP Lenders who hold more than 50% of the principal
sum of all the DIP Loan then outstanding.

        “Majority Exit Lenders” means, at any time, Exit Lenders who hold more than 50% of the principal
sum of all Exit Advances then outstanding.

         “Material Adverse Effect” means a material adverse effect upon: (i) the business, operations,
properties, assets, or condition (financial or otherwise) of any of the Obligors ; or (ii) the ability of any of
the Obligors to perform the Secured Obligations in accordance with the terms of the Loan Documents, or
the ability of the Administrative Agent or any Lender to enforce any of its rights or remedies with respect
to the Secured Obligations; or (iii) the Collateral or the Administrative Agent’s Liens on the Collateral or
the priority of such Liens.

        “Maximum Rate” has the meaning set forth in Section 2.2.

        “Mortgage” means any mortgage, deed of trust or other agreement which conveys or evidences a
Lien in favor of the Administrative Agent, for the benefit of the Secured Parties, on Real Estate of an
Obligor, including any amendment, restatement, modification or supplement thereto.

        “Multiemployer Plan” means a “multiemployer plan” as defined in Section 4001(a)(3) of ERISA,
and to which any Group Member or any ERISA Affiliate is making, is obligated to make, has made or been
obligated to make, contributions on behalf of participants who are or were employed by any of them.

        “Net Cash Proceeds” means the aggregate proceeds paid in Cash or Cash Equivalents received by
Parent or any of its Subsidiaries in connection with any Asset Sale, net of (i) direct costs incurred in
connection therewith (including legal, accounting and investment banking fees and expenses, sales


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commissions and underwriting discounts), (ii) estimated or other taxes paid or payable (including sales, use
or other transactional taxes and any net marginal increase in income taxes) as a result thereof, (iii) the
amount to retire any Indebtedness secured by a Permitted Lien on the related property, and (iv) amounts
which are required to be placed in escrow unless and until such amounts are released to the Parent or one
or more of its Subsidiaries. For purposes hereof, “Net Cash Proceeds” includes any Cash or Cash
Equivalents received upon the disposition of any non-cash consideration received by Parent or any of its
Subsidiaries in any Asset Sale .

          “Note” means each note which may be issued hereunder in accordance with Section 2.6.

          “Obligor” has the meaning given to it in the Preamble .

          “OFAC” has the meaning set forth in Section 5.20(a).

         “Other Taxes” means all present or future stamp, court or documentary, intangible, recording, filing
or similar Taxes that arise from any payment made under, from the execution, delivery, performance,
enforcement or registration of, from the receipt or perfection of a security interest under, or otherwise with
respect to, any Loan Document.

          “Parent” has the meaning set forth in the Preamble.

         “Patent License” means any written agreement in which any Group Member now holds or hereafter
acquires any interest that (i) grants any right with respect to any invention or any Patent, (ii) agrees to refrain
from asserting or grants immunity from suit under any Patent or invention, or (iii) grants an option to any
of the foregoing.

        “Patents” means all letters patent, or rights corresponding thereto, in the United States or in any
other country, all applications (including provisional, continuation (in-whole or in-part), and divisional
applications) for the foregoing and any other pre-grant variations thereof, and all reissues, reexaminations,
renewals, reviews, extensions and other post-grant variations thereof in the United States or any other
country.

         “Permitted Indebtedness”3 means (i) Indebtedness of the Obligors in favor of the Secured Parties
under the Loan Documents ; (ii) Indebtedness existing on the Closing Date which is disclosed in
Schedule 1A; (iii) Indebtedness of up to $[5,000,000] outstanding at any time secured by a Lien described
in clause (vii) of the defined term “Permitted Liens,” provided such Indebtedness does not exceed the cost
of the Equipment and related expenses financed with such Indebtedness; (iv) Indebtedness to trade creditors
incurred in the ordinary course of business due within 90 days; (v) Indebtedness that also constitutes a
Permitted Investment; (vi) [Indebtedness incurred under credit cards in an aggregate amount not exceeding
$250,000 (or its equivalent in other currencies) at any time outstanding provided such amounts are paid in
full each month]4; (vii) [reserved]; (viii) [reserved]; (ix) [reserved]; (x) [reserved]; (xi) Contingent
Obligations that are guarantees of Indebtedness described in clauses (i) through (x) or other obligations of
others that do not otherwise constitute Indebtedness; (xii) extensions, refinancings and renewals of (A) the
DSM Note, with the prior written consent of the Required Lenders, and (B) any items of Permitted
Indebtedness under clauses (ii) or (iii) above (other than the DSM Note) provided, that the principal amount
thereof is not increased or the terms modified to impose materially more burdensome terms upon any Group
Member.



3
    NTD: company to confirm o/s L/Cs
4
    NTD: under review.

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         “Permitted Intellectual Property Licenses” means (i) licenses of Intellectual Property rights granted
by any Group Member that are in existence at the Restatement Date and described in Schedule [ ], and
(ii) non-perpetual licenses of Intellectual Property rights granted by any Group Member in the ordinary
course of business on arm’s length terms consisting of the licensing of technology, the development of
technology or the providing of technical support which may include licenses with unlimited renewal options
solely to the extent such options require mutual consent for renewal or are subject to financial or other
conditions as to the ability of licensee to perform under the license; provided such license was not entered
into during continuance of an Event of Default.

          “Permitted Investment” means: (i) Investments existing on the Restatement Date which are
disclosed in Schedule 1B; (ii) (a) marketable direct obligations issued or unconditionally guaranteed by the
United States of America or any agency or any State thereof maturing within one year from the date of
acquisition thereof, (b) commercial paper maturing no more than one year from the date of creation thereof
and currently having a rating of at least A-2 or P-2 from either Standard & Poor’s Corporation or Moody’s
Investors Service, (c) certificates of deposit issued by any bank with assets of at least $500,000,000
maturing no more than one year from the date of investment therein, and (d) money market accounts;
(iii) [reserved]; (iv) Investments accepted in connection with Permitted Transfers (other than between
Group Members) ; (v) Investments (including debt obligations) received in connection with the bankruptcy
or reorganization of customers or suppliers and in settlement of delinquent obligations of, and other disputes
with, customers or suppliers arising in the ordinary course of the Group Members’ business; (vi)
Investments (other than between Group Members) consisting of notes receivable of, or prepaid royalties
and other credit extensions, to customers and suppliers in the ordinary course of business and consistent
with past practice; (vii) [reserved]; (viii) [reserved]; (ix) Investments by Obligors in Obligors which are
Domestic Subsidiaries; (x) Investments by Parent or any Obligor which is a Domestic Subsidiary in any
Foreign Subsidiary which (A) is not an Obligor, in such amounts as may be agreed in writing by the
Administrative Agent from time to time, and (B) is an Obligor, in an aggregate amount which, when
aggregated with Permitted Transfers under clause (vi)(B) of that definition, do not exceed $[
          ] (or its equivalent in other currencies) in any fiscal year of Parent and which in each case is
evidenced by a Global Note and Pledged Equity; (xi) [reserved]; (xii) [reserved]; (xiii) Permitted
Intellectual Property Licenses; and (xiv) additional Investments that do not exceed $250,000 (or its
equivalent in other currencies) in the aggregate at any time outstanding.

         “Permitted Liens” means any and all of the following: (i) Liens in favor of the Administrative
Agent; (ii) Liens existing or pending on the Restatement Date which are disclosed in Schedule 1C ; (iii)
Liens for taxes, fees, assessments or other governmental charges or levies assessed against any Group
Member, either not delinquent or being contested in good faith by appropriate proceedings; provided, that
such Group Member maintains adequate reserves therefor in accordance with GAAP; (iv) Liens securing
claims or demands of materialmen, artisans, mechanics, carriers, warehousemen, landlords and other like
Persons arising in the ordinary course of business; provided, that the payment thereof is not yet required;
(v) Liens arising from judgments, decrees or attachments in circumstances which do not constitute an Event
of Default; (vi) the following deposits, to the extent made in the ordinary course of business: deposits under
workers’ compensation, unemployment insurance, social security and other similar laws, or to secure the
performance of bids, tenders or contracts (other than for the repayment of borrowed money) or to secure
indemnity, performance or other similar bonds for the performance of bids, tenders or contracts (other than
for the repayment of borrowed money) or to secure statutory obligations (other than Liens arising under
ERISA or environmental Liens) or surety or appeal bonds, or to secure indemnity, performance or other
similar bonds; (vii) Liens on Equipment or software or other intellectual property constituting purchase
money Liens and Liens in connection with capital leases, in each case securing Indebtedness permitted in
clause (iii) of the definition of “Permitted Indebtedness”; (viii) [reserved]; (ix) leasehold interests in leases
or subleases and licenses granted in the ordinary course of a Group Member’s business and not interfering
in any material respect with the business of the licensor; (x) Liens in favor of customs and revenue

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authorities arising as a matter of law to secure payment of custom duties that are promptly paid on or before
the date they become due; (xi) [reserved]; (xii) statutory and common law rights of set-off and other similar
rights as to deposits of cash and securities in favor of banks, other depository institutions and brokerage
firms; (xiii) easements, zoning restrictions, rights-of-way and similar encumbrances on real property
imposed by law or arising in the ordinary course of business so long as they do not materially impair the
value or marketability of the related property; (xiv) [reserved]; (xv) [reserved]; (xvi) [reserved]; (xvii)
[reserved]; (xviii) [reserved]; (xix) Liens incurred in connection with the extension, renewal or refinancing
of Permitted Indebtedness secured by Liens of the type described in clause (vii) above; provided, that any
extension, renewal or replacement Lien shall be limited to the property encumbered by the existing Lien
and the principal amount of the Indebtedness being extended, renewed or refinanced (as may have been
reduced by any payment thereof) does not increase.

         “Permitted Transfers” means(i) dispositions of inventory sold, and Permitted Intellectual Property
Licenses, in each case, in the ordinary course of business, (ii) [reserved], (iii) dispositions of worn-out,
obsolete or surplus property at fair market value in the ordinary course of business, (iv) dispositions of
accounts or payment intangibles (each as defined in the UCC) resulting from the compromise or settlement
thereof in the ordinary course of business for less than the full amount thereof; (v) Transfers by any Obligor
to any Obligor which is a Domestic Subsidiary, (vi) Transfers from Parent or any Obligor which is a
Domestic Subsidiary to any Foreign Subsidiary which (A) is not an Obligor, in an amount which agreed in
writing by the Administrative Agent, and (B) is an Obligor, in an aggregate amount which, when aggregate
with Permitted Investments under clause (xi)(B) of that definition, do not exceed $[                  ] (or its
equivalent in other currencies) in any fiscal year of Parent and which in each case is evidenced by a Global
Note and Pledged Equity; (vii) [reserved] , and (viii) so long as no Default or Event of Default has occurred
and is continuing, other Transfers of assets which have a fair market value of not more than $250,000 (or
its equivalent in other currencies) in the aggregate in any fiscal year of Parent.

        “Person” means any individual, sole proprietorship, partnership, joint venture, trust,
unincorporated organization, association, corporation, limited liability company, institution, other entity or
government.

         “Plan” means, at any time, an employee benefit plan, as defined in Section 3(3) of ERISA, which
any Obligor or any of its Subsidiaries maintains, contributes to or has an obligation to contribute to on
behalf of participants who are or were employed by any such Person (or, if such plan were terminated at
such time, would under Section 4069 of ERISA be deemed to be an employee benefit plan of such Person).



        “Pre-Exit DIP Loan Amount” has the meaning given to that term in the Recitals.

         “Projections” means the Parent’s forecasted consolidated (a) balance sheets; (b) profit and loss
statements (which shall report revenue, gross margin, EBITDA and net income); (c) cash flow statements;
and (d) capitalization statements, together with appropriate supporting details and a statement of underlying
assumptions.

        “Pledged Equity” has the meaning set forth in the Security Agreement.

         “Qualified Plan” means a Plan which is intended to be tax-qualified under Section 401(a) of the
IRC.

        “Real Estate” means any real property owned, leased, subleased or used by any Person.



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         “Real Estate Deliverables” means in respect of any Real Estate mortgaged and pledged to secure
the Secured Obligations (including the Leland Facility): (i) a Mortgage in form and substance reasonably
satisfactory to the Administrative Agent, (ii) evidence that a counterpart of such Mortgage has been
recorded in the place necessary, in the Administrative Agent’s reasonable judgment, to create a valid and
enforceable superpriority Lien in favor of the Administrative Agent for the benefit of itself and the Secured
Parties, subject to Permitted Liens; (iii) a mortgagee’s title policy; (iv) a survey prepared and certified to
the Administrative Agent by a surveyor reasonably acceptable to the Administrative Agent; (v) an opinion
of counsel in the state in which such Real Estate is located in form and substance and from counsel
reasonably satisfactory to the Administrative Agent; (vi) if any such parcel of Real Estate is determined by
the Administrative Agent to be in a flood zone, a flood notification form signed by the Obligors and
evidence that flood insurance is in place for the building and contents, all in form and substance satisfactory
to the Administrative Agent; and (vii) such other information, documentation, and certifications with
respect to the Real Estate as may be reasonably required by the Administrative Agent; provided that the
Administrative Agent may waive any of the foregoing (i)-(vii) in its sole discretion.

         “Release” means any release, spill, emission, leaking, pumping, pouring, emitting, emptying,
escape, injection, deposit, disposal, discharge, dispersal, dumping, leaching or migration of Hazardous
Material into or through the environment.

         “Reorganization Plan” has the meaning given to that term in the Recitals.

         “Representatives” means, with respect to any Person, such Person’s Affiliates and the partners,
directors, officers, employees, agents, brokers, trustees, administrators, managers, advisors and
representatives, including accountants, auditors, and legal counsel of such Person and of such Person’s
Affiliates.

        “Required Lenders” means, at any time, Lenders holding in the aggregate at least 50.1% of the sum
of the aggregate outstanding Advances and, if the Commitments have not been terminated, aggregate
Commitments, of all Lenders.

        “Restatement Date” has the meaning set forth in Section 4.1.

        “Restructuring Transactions” has the meaning set forth in the Reorganization Plan.

          “Sanctioned Person” means any individual, entity or other Person that (i) is listed on any applicable
sanctions-related list of designated or restricted persons, including without limitation Persons identified on
OFAC’s Specially Designated Nationals and Blocked Persons List and Persons who are blocked pursuant
to Section 1 of the Anti-Terrorism Order; (ii) is located, organized or resident in a country or territory which
itself is subject to comprehensive economic and trade sanctions (currently, Cuba, Iran, North Korea, Syria,
the Crimea region of Ukraine and the so-called Donetsk People’s Republic (DNR) and Luhansk People’s
Republic (LNR) regions of Ukraine) (each, a “Sanctioned Region”); (ii) is, or is a representative,
instrumentality or part of, the government of any Sanctioned Region or of Venezuela; or (iv) is owned or
controlled by, or acting or purporting to act, directly or indirectly, for, on behalf of or for the benefit of any
Person described in clauses (i) through (iii).

        “SEC” means the United States Securities and Exchange Commission.

         “Secured Obligations” means all of the Obligors’ obligations and liabilities under the Loan
Documents, whether the same are secured or unsecured, including the unpaid principal of and interest on
(including interest accruing after the maturity of the Advances, any interest, fees, costs, expenses and
indemnities accruing after the filing of any petition in bankruptcy, or the commencement of any insolvency,

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reorganization or like proceeding, relating to any Obligor, whether or not a claim for post-filing or post-
petition interest, fees, costs, expenses or indemnities is allowed or allowable in such proceeding) the
Advances and all other obligations and liabilities of any Obligor to the Administrative Agent or any Lender,
whether direct or indirect, absolute or contingent, due or to become due, or now existing or hereafter
incurred, which may arise under, out of, or in connection with, any Loan Document, whether on account of
principal, interest, reimbursement obligations, fees, indemnities, costs, expenses (including all reasonable
fees, charges and disbursements of counsel to the Administrative Agent or any Lender that are required to
be paid by any Obligor pursuant hereto) or otherwise and including all indemnity claims of the
Administrative Agent and the Lenders pursuant to Section 6.3 and any obligation to pay any amount
whether arising by reason of an extension of credit, loan, guaranty, indemnification or in any other manner,
whether direct or indirect (including those acquired by assignment), absolute or contingent, due or to
become due, now existing or hereafter arising and however acquired (whether or not accruing after the
filing of any case under the Bankruptcy Code and whether or not a claim for post-filing or post-petition
interest, fees and charges is allowed or allowable in any such proceeding).

         “Secured Parties” means collectively, the Lenders, the Administrative Agent, any other holder from
time to time of any of the Secured Obligations and, in each case, their respective successors and permitted
assigns.

        “Securities Act” means the Securities Act of 1933, as amended from time to time.

       “Security Agreement” means that certain Security Agreement dated on or about the Closing Date
made between the Administrative Agent and the Obligors party thereto.

         “Security Documents” means the collective reference to the DIP Orders, the Security Agreement,
the Account Control Agreements, all Mortgages and all other deeds of trust, security agreements, pledge
agreements, assignments, control agreements, financing statements and other documents as shall from time
to time secure or relate to the Secured Obligations or any other obligation arising under any Loan Document
or any part thereof, in each case, executed by any Obligor or any Subsidiary.

        “Subsidiary” means an entity, whether corporate, partnership, limited liability company, joint
venture or otherwise, in which any Group Member owns or controls 50.1% or more of the outstanding
voting securities, including each entity listed on Schedule 1 hereto. Unless otherwise qualified, all
references to a “Subsidiary” or to “Subsidiaries” in this Agreement shall refer to a Subsidiary or Subsidiaries
of the Borrowers.

         “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
(including backup withholding), assessments, fees or other charges imposed by any Governmental
Authority, including any interest, additions to tax or penalties applicable thereto.

       “Total DIP Commitments” means, at any time, the aggregate DIP Commitments at such time, as
they may be reduced from time to time in accordance with this Agreement. At the Restatement Date, the
amount of the Total Exit Commitments is zero.

       “Total Exit Commitments” means, at any time, the aggregate Exit Commitments at such time, as
they may be reduced from time to time in accordance with this Agreement. At the Restatement Date, the
amount of the Total Exit Commitments is $160,000,000.

      “Trademark License” means any written agreement (i) granting any right to use any Trademark,
now owned or hereafter acquired by any Group Member or in which any Group Member now holds or


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hereafter acquires any interest, (ii) agreeing to refrain from asserting or granting immunity under any
Trademark, (iii) to coexist, or (iv) granting an option to any of the foregoing.

         “Trademarks” means all trademarks, service marks, domain names, trade names, business names,
corporate names, trade dress, logos, designs, slogans, or other indicia of source or origin, whether
registered, common law or otherwise, and any applications, recordings, renewals and other post-grant
variations of any of the foregoing in the United States Patent and Trademark Office or in any similar office
or agency of the United States, any State thereof or any other country or any political subdivision thereof,
together, in each case, with the goodwill associated therewith or symbolized thereby.

        “Transfer” has the meaning set forth in Section 7.8.

         “UCC” means the Uniform Commercial Code, as the same is, from time to time, be enacted and
in effect in the State of New York; provided, that, to the extent that the UCC is used to define any term
herein or in any Loan Document and such term is defined differently in different Articles or Divisions of
the UCC , the definition of such term contained in Article or Division 9 shall govern; provided further, that
if, by reason of mandatory provisions of law, any or all of the attachment, perfection, or priority of, or
remedies with respect to, Administrative Agent’s lien on any Collateral is governed by the Uniform
Commercial Code as the same is in effect from time to time in a jurisdiction other than the State of New
York, the term “UCC” shall mean the Uniform Commercial Code as enacted and in effect in such other
jurisdiction solely for purposes of the provisions thereof relating to such attachment, perfection, priority, or
remedies and for purposes of definitions relating to such provisions.

        “USA Patriot Act” means the Uniting and Strengthening America by Providing Appropriate Tools
Required to Intercept and Obstruct Terrorism Act of 2001, Pub. L. No. 107-56, 115 Stat. 272 (2001), as
amended, and the rules and regulations promulgated thereunder from time to time in effect.

        1.2     Interpretation. Unless otherwise specified in this Agreement (a) all references in this
Agreement or any Annex or Schedule hereto to the “Preamble”, a “Recital”, a “clause”, “Section,”
“subsection,” “Exhibit,” “Annex,” or “Schedule” shall refer to the Preamble to this Agreement or the
corresponding Recital, clause, Section, subsection, Exhibit, Annex, or Schedule in or to this Agreement,
(b) any accounting term used in the Loan Documents shall have the meaning customarily given such term
in accordance with GAAP, (c) all financial computations hereunder shall be computed in accordance with
GAAP, consistently applied, (d) terms that are used in the Loan Documents and defined in the UCC shall
have the meanings given to them in the UCC, and (e) reference to a time of day is to the prevailing Pacific
time. Notwithstanding anything to the contrary contained in this Agreement, each action permitted to be
taken or not taken and each determination permitted or required to be made or not made, in each case by
the Administrative Agent under this Agreement shall be so taken or not taken (or made or not made) by the
Administrative Agent acting in its sole discretion (except where required upon direction of the Required
Lenders who shall act in their sole discretion).

        1.3      Amendment and Restatement.

        1.3.1 On the Restatement Date, this Agreement in the form immediately preceding the
Restatement Date (the “Existing Loan Agreement”) shall be amended and restated in its entirety by this
Agreement and the Existing Loan Agreement is hereby reaffirmed in all respects. The amendments and
restatements set forth herein shall not cure any breach thereof or any default or “Event of Default” existing
before the Restatement Date. Except as set forth in the Final Order, this Agreement is not in any way
intended to constitute a novation of the obligations and liabilities existing under the Existing Credit
Agreement or evidence payment of all or any portion of such obligations and liabilities thereunder or impair
or affect the liens and/or security interests granted, pledged or assigned by the Obligors to the

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Administrative Agent (on behalf of the Secured Parties) in accordance with the terms of the Existing Loan
Agreement and the Security Documents.

         1.3.2 Each Obligor hereby (i) agrees that the terms and provisions hereof shall not affect in any
way any payment, performance, observance or other obligations or liabilities of such Obligor under the
Existing Loan Agreement, all of which obligations and liabilities are hereby ratified, confirmed and
reaffirmed in all respects (and which shall be applicable to all Secured Obligations), and (ii) to the extent
that Liens have been granted pursuant to the terms of the DIP Orders or otherwise in connection with the
Cases or such Obligor has granted Liens on any of its properties or assets pursuant to the Existing Loan
Agreement or any other Loan Document, in each case to secure the payment, performance and/or
observance of all or any part of the Secured Obligations or any such Loan Document, such Obligor
acknowledges, ratifies, confirms and reaffirms such grant of Liens, and acknowledges and agrees that all
of such Liens are intended and shall be deemed and construed to secure to the fullest extent set forth therein
all now existing and hereafter arising Secured Obligations, as hereafter amended, restated, amended and
restated, supplemented and otherwise modified and in effect from time to time. To the extent that any
provision of this Agreement conflict with the terms of the Existing Loan Agreement or any such Loan
Documents, the terms of this Agreement shall control.

         1.3.3 The terms and conditions of this Agreement and the rights and remedies of the
Administrative Agent and the Lenders under this Agreement and the other Loan Documents shall apply to
all of the Secured Obligations incurred under the Existing Loan Agreement.

         1.3.4 On and after the Restatement Date, (i) all references to the Existing Loan Agreement (or
to any amendment or any amendment and restatement thereof) in the other Loan Documents (other than
this Agreement) shall be deemed to refer to the Existing Loan Agreement, as amended and restated hereby,
(ii) all references to any section (or subsection) of the Existing Loan Agreement in any other Loan
Document (but not in this Agreement) shall be amended to become, mutatis mutandis, references to the
corresponding provisions of this Agreement, and (iii) except as the context otherwise provides, on or after
the Effective Date, all references to this Agreement herein (including for purposes of indemnification and
reimbursement of fees) shall be deemed to be references to the Existing Loan Agreement, as amended and
restated hereby.

        1.3.5 This amended and restated Agreement is limited as written and is not a consent to any other
amendment, restatement or waiver, whether or not similar and, except as expressly provided herein or in
any other Loan Document, all terms and conditions of the other Loan Documents remain in full force and
effect unless otherwise specifically amended hereby or in any other Loan Document.

SECTION 2.       THE ADVANCES

        2.1      Advances.

                  (a)     Advances. As of the Restatement Date (i) the DIP Loan is outstanding under this
        Agreement and the Borrowers owe the DIP Loan to the DIP Lenders, and (ii) the DIP Loan and all
        DIP Advances are hereby reaffirmed in all respects and remain outstanding and are due and payable
        in accordance with this Agreement. As of the Restatement Date, the DIP Commitment is cancelled
        in full and no further DIP Advances are available for borrowing. Subject to the terms and conditions
        of this Agreement, each Exit Lender severally and not jointly agrees to make Exit Advances to the
        Borrowers in an amount not to exceed such Exit Lender’s pro rata share of the aggregate Exit
        Commitments on each applicable Advance Date, in a minimum amount of $20,000,000 or, if less,
        the amount of the Available Exit Commitments. Any Exit Advance shall become effective and
        shall be an Exit Advance as of the applicable Advance Date. Any part of any Available Exit

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        Commitment which is not borrowed on or before the end of the Exit Availability Period shall be
        immediately cancelled in full and shall not be available to be borrowed. The aggregate amount of
        all Exit Advances must not exceed the aggregate Exit Commitments and, subject to the terms and
        conditions of this Agreement, on any Advance Date the Borrowers may incur an Exit Advance in
        an aggregate principal amount not to exceed the then Available Exit Commitment. Any amount
        borrowed under this Agreement and subsequently repaid or prepaid may not be reborrowed. The
        Exit Commitments shall automatically and permanently be reduced by the amount of each Exit
        Advance.

                (b)     Advance Request. Each Exit Advance shall be made upon written notice to the
        Administrative Agent set forth in an Advance Request which must be received by the
        Administrative Agent not less than five Business Days before the proposed date of such Exit
        Advance. Such Advance Request shall specify the applicable Advance Date, which shall be a
        Business Day. Each borrowing by a Borrower from the Exit Lenders shall be made pro rata
        according to the respective Exit Percentages of the Exit Lenders.

                 (c)       Interest. On the Restatement Date, Accrued DIP Interest and DIP Expenses shall
        (A) be added to the outstanding principal amount of the DIP Loan as of the date immediately
        preceding the Restatement Date, (B) be capitalized, and (C) be deemed thereafter for all purposes,
        to be principal, such that as of the Restatement Date (1) the Pre-Exit DIP Loan Amount is $[
                           ], and (2) the outstanding principal amount of the DIP Loan shall be $80,000,000.
        With effect from the Restatement Date, the DIP Loan will bear interest at the Interest Rate. The
        principal balance of each Exit Advance shall bear interest thereon from the applicable Advance
        Date at the Interest Rate based on a year consisting of 360 days, with interest computed daily based
        on the actual number of days elapsed. The Borrowers will pay interest in kind on the DIP Loan
        and each Exit Advance on the first Business Day of each calendar month (each, an “Interest
        Payment Date”), beginning with the calendar month first starting after the Restatement Date (in
        relation to the DIP Loan) and the Advance Date for that Exit Advance (in relation to each Exit
        Advance). Interest when due shall be capitalized (“Capitalized Interest”) on the Interest Payment
        Date on which it was due; provided that, notwithstanding the foregoing or anything else to the
        contrary in this Agreement, all accrued and unpaid interest not otherwise capitalized shall be due
        and payable in cash to the applicable Lenders on the Maturity Date. Capitalized Interest shall be
        added to principal amounts of the DIP Loan and to each Exit Advance automatically on each
        Interest Payment Date, shall be deemed, for all purposes, to be principal and shall thereafter bear
        interest thereon. Interest at the Interest Rate shall begin to accrue on the Capitalized Interest
        beginning on and including the date on which such Capitalized Interest is capitalized (and added to
        the principal amount of the DIP Loan and of each Exit Advance) and at all times thereafter as
        provided in this Section 2.2 until the principal amount of the DIP Loan each Exit Advance which
        includes such Capitalized Interest has been paid in full in cash. In computing interest, the date of
        the making of any Exit Advance shall be included and the date of payment shall be excluded. A
        certificate as to the amount of Capitalized Interest delivered to the Borrowers by the Administrative
        Agent shall be conclusive absent manifest error.

                 (d)    Payment of Loan. To the extent not previously paid, all then outstanding amounts
        of (i) the DIP Loan and all accrued but unpaid and uncapitalized interest on the principal amount
        to be paid and all fees and expenses payable hereunder shall be due and payable on the Maturity
        Date, and (ii) all Exit Advances and all accrued but unpaid and uncapitalized interest on the
        principal amount to be paid and all fees and expenses payable hereunder shall be due and payable
        on the Maturity Date



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                (e)      Invoices. For the avoidance of doubt, the Borrowers and the Administrative Agent
        confirm, acknowledge, and agree that no invoice shall be sent in connection with collection of the
        payments set forth in this Section 2.1 and receipt of an invoice in connection therewith shall not be
        a condition of such payments becoming due and payable hereunder.

         2.2     Maximum Interest. Notwithstanding any provision in this Agreement or any other Loan
Document, it is the parties’ intent not to contract for, charge or receive interest at a rate that is greater than
the maximum rate permissible by law that a court of competent jurisdiction shall deem applicable hereto
(the “Maximum Rate”). If the Administrative Agent or any Lender shall receive interest in an amount that
exceeds the Maximum Rate, the excess interest shall be applied to the principal amount of the DIP Loan or
Exit Advances or, if it exceeds such unpaid principal, refunded to the Borrowers. In determining whether
the interest contracted for, charged, or received by the Administrative Agent or any Lender exceeds the
Maximum Rate, the Administrative Agent or such Lender may, to the extent permitted by applicable law,
(a) characterize any payment that is not principal as an expense, fee, or premium rather than interest,
(b) exclude voluntary prepayments and the effects thereof, and (c) amortize, prorate, allocate, and spread
in equal or unequal parts the total amount of interest throughout the contemplated term of the Secured
Obligations hereunder.

         2.3      Default Interest. Upon the occurrence and during the continuation of an Event of Default,
the DIP Loan and all outstanding Exit Advances including principal and Capitalized Interest shall bear
interest at a rate per annum equal to the Interest Rate plus 2.0% per annum. If any interest is not paid
when due hereunder, delinquent interest shall be added to principal and shall bear interest at the rate set
out in this Section 2.3.

         2.4     Payments. Each payment (including each prepayment) by a Borrower on account of
principal of and interest on (a) the DIP Loan shall be made pro rata according to the respective outstanding
principal amounts of the DIP Loans then held by the DIP Lenders, and (b) the Exit Loan shall be made pro
rata according to the respective outstanding principal amounts of the Exit Loans then held by the Exit
Lenders. Except with respect to the capitalization of Capitalized Interest in accordance with Section 2.2, all
payments (including prepayments) to be made by an Obligor under any Loan Document shall be made to
the Administrative Agent by wire transfer in immediately available funds in Dollars, without setoff,
counterclaim, or deduction, before 12:00 p.m. on the date when due. Payments of principal and/or interest
received after 12:00 p.m. are considered received at the opening of business on the next Business Day.
When a payment is due on a day that is not a Business Day, the payment shall be due the next Business
Day, and additional fees or interest, as applicable, shall continue to accrue until paid. If at any time
insufficient funds are received by and available to the Administrative Agent to pay fully all amounts of
principal, interest and fees then due hereunder, such funds shall be applied (i) first, toward payment of
interest and fees then due hereunder, and (ii) second, toward payment of principal then due hereunder.

        2.5      Prepayment.

                 (a)     Optional Prepayment. At its option upon at least five Business Days prior written
        notice to the Administrative Agent, the Borrowers may prepay all, but not less than all, of the entire
        principal balance of the Loan in accordance with this Section 2.5, together with all accrued and
        unpaid interest thereon.

                 (b)      Mandatory Prepayments.

                 (i) Asset Sales. The Borrowers shall prepay the Loans, together with accrued and unpaid
        interest on the principal amount thereof and all fees and expenses payable hereunder no later than
        the fifth Business Day following receipt of Net Cash Proceeds by or on behalf of the Parent or any

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        of its Subsidiaries in respect of any Asset Sale, in an amount equal to 100% of the Net Cash
        Proceeds received from such Asset Sale.

                         (ii) Involuntary Dispositions. The Borrowers shall prepay the Loans, together with
                 accrued and unpaid interest on the principal amount thereof and all fees and expenses
                 payable hereunder no later than the fifth Business Day following receipt of Net Cash
                 Proceeds by or on behalf of the Parent or any of its Subsidiaries in respect of any
                 Involuntary Disposition, in an amount equal to 100% of the Net Cash Proceeds received
                 from such Involuntary Disposition.

                         (iii) Debt Transactions. The Borrowers shall prepay the Loans, together with
                 accrued and unpaid interest on the principal amount thereof and all fees and expenses
                 payable hereunder no later than the fifth Business Day following receipt of proceeds by or
                 on behalf of the Parent or any of its Subsidiaries from any Debt Transactions, in an amount
                 equal to 100% of the aggregate proceeds of such Debt Transactions.

                         (iv) Change in Control. The Borrowers shall prepay the outstanding amount of all
                 the Secured Obligations upon and concurrently with the occurrence of a Change in Control.

                 (b)     Application of payments. Amounts to be applied in connection with prepayments
        made pursuant to this Section 2.5 shall be applied: (i) first, to (x) that portion of the Secured
        Obligations constituting accrued, unpaid and uncapitalized interest on the DIP Advances until paid
        in full and then (y) the DIP Advances until paid in full, (ii) second, to (x) the Secured Obligations
        constituting accrued, unpaid and uncapitalized interest on the Exit Loan until paid in full and then
        (y) the Exit Loan until paid in full, (iii) third, to any other Secured Obligations due and payable to
        the DIP Lenders until paid in full and (iv) fourth, to any other Secured Obligations due and payable
        to the Exit Lenders until paid in full.

        2.6     Notes. This Agreement evidences the obligation of the Borrowers to repay the DIP Loan
and Exit Advances and is being executed as a noteless credit agreement. If so requested by the
Administrative Agent (on behalf of any Lender) by written notice to the Borrowers, then the Borrowers
shall execute and deliver to such Lender (and/or, if applicable and if so specified in such notice, to any
Person who is an assignee of such Lender pursuant to Section 10.13) (promptly after the Parent’s receipt of
such notice) a promissory note or notes in form and substance satisfactory to the Administrative Agent to
evidence the DIP Loan and Exit Advances.

          2.7      Increased Costs. If any change in law shall: (i) impose, modify or deem applicable any
reserve, special deposit, compulsory loan, insurance charge or similar requirement against assets of,
deposits with or for the account of, or advances, loans or other credit extended or participated in by, the
Administrative Agent or any Lender, (ii) subject the Administrative Agent or any Lender to any Taxes on
its loans, loan principal, letters of credit, commitment, or other obligations, or its deposits, reserves, other
liabilities or capital attributable thereto, or (iii) impose on the Administrative Agent or any Lender any other
condition, cost or expense (other than Taxes) affecting this Agreement or any Advance and the result of
any of the foregoing shall be to increase the cost to the Administrative Agent or any Lender of making,
converting to, continuing or maintaining any Advance (or of maintaining its obligation to make any such
Advance), or to reduce the amount of any sum received or receivable by the Administrative Agent or any
Lender hereunder (whether of principal, interest or any other amount) then, upon written request of the
Administrative Agent or any Lender, Obligors shall promptly pay to the Administrative Agent or any
Lender such additional amount or amounts as will compensate the Administrative Agent or any Lender for
such additional costs incurred or reduction suffered. Failure or delay on the part of the Administrative
Agent or any Lender to demand compensation pursuant to this Section 2.8 shall not constitute a waiver of

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the Administrative Agent or any Lender’s right to demand such compensation. A certificate as to any
additional amounts payable pursuant to this Section 2.8 submitted by the Administrative Agent to the
Parent shall be conclusive in the absence of demonstrable error. The Secured Obligations of the Borrowers
arising pursuant to this Section 2.8 shall survive the discharge of the Secured Obligations.

SECTION 3.       PRIORITY AND LIENS; NO DISCHARGE

        3.1      Priority. Each Obligor hereby covenants, represents, warrants and agrees that upon the
execution on this Agreement and entry of the Confirmation Order, the Secured Obligations under the Loan
Documents shall at all times be secured by a fully perfected security interest in and lien on all Collateral
of each Obligor, as provided in and with the priority granted by the Final Order and the Confirmation Order.

         3.2      Automatic Perfection. Each Obligor hereby confirms and acknowledges that Liens in
favor of the Administrative Agent on behalf of and for the benefit of the Secured Parties in all of the
Obligors’ Collateral, which includes, without limitation, all of such Obligor’s Real Estate, now existing or
hereafter acquired, have been and are fully created and perfected by the Final Order without the recordation
or filing in accordance with any federal or state law, including, without limitation, in any federal patent or
copyright recording office or repository, and state secretary of state recording office or repository, or state,
county or local land records, or other federal or state filing offices, repositories or locals with respect to any
security interest, lien, Mortgage, assignment or similar instrument, and without having to take any action,
or given any notice, to establish possession or control over any of the Obligors’ Collateral, including,
without limitation, cash, deposits accounts, investments, securities, Pledged Equity and any other Obligors’
Collateral as to which possession or control would otherwise be required to perfect a security interest.

          3.3     Collateral. As security for the prompt, complete and indefeasible payment when due
(whether on the payment dates or otherwise) of all the Secured Obligations, each Obligor grants to the
Administrative Agent, for the benefit of the Secured Parties, a security interest in all of such Obligor’s right,
title, and interest in and to the following personal property whether now owned or hereafter acquired or in
which such Obligor now has or at any time in the future may acquire any right, title or interest and wherever
located and all proceeds and products thereof (collectively, the “Collateral”): (i)(a) all goods, Accounts
(including health-care receivables), Equipment, Inventory, contract rights or rights to payment of money,
leases, license agreements, franchise agreements, equity interests of subsidiaries, joint ventures and other
entities, General Intangibles (except as provided below), Collateral IP, commercial tort claims, documents,
instruments (including any promissory notes), chattel paper (whether tangible or electronic), cash, deposit
accounts, certificates of deposit, fixtures, letters of credit rights (whether or not the letter of credit is
evidenced by a writing), securities, securities accounts, securities entitlements and all other investment
property, supporting obligations, and financial assets, whether now owned or hereafter acquired, wherever
located; (b) all Obligor’s Books relating to the foregoing; and (c) any and all claims, rights and interests in
any of the above and all substitutions for, additions, attachments, accessories, accessions and improvements
to and replacements, products, proceeds and insurance proceeds of any or all of the foregoing, (ii) the “DIP
Collateral” referred to in the DIP Orders, and (iii) the Real Estate as further described in Section 3.4
(including the Leland Property); provided; however, that the Collateral shall not include any Excluded
Intellectual Property or the DSM Collateral. To avoid doubt:

         (i)     any Lien with respect to the DIP Collateral securing any DIP Obligations, whether such
        Lien is now or hereafter held by or on behalf of, or created for the benefit of, the Administrative
        Agent, any DIP Lender or any agent or trustee therefor, regardless of how or when acquired,
        whether by grant, possession, statute, operation of law, subrogation, or otherwise, shall also secure
        the Exit Obligations; and



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                (ii)    any Lien with respect to the Exit Collateral securing any Exit Obligations, whether
        such Lien is now or hereafter held by or on behalf of, or created for the benefit of, the
        Administrative Agent, any Exit Lender or any agent or trustee therefor, regardless of how or when
        acquired, whether by grant, possession, statute, operation of law, subrogation, or otherwise, shall
        secure the DIP Obligations.

          3.4    Real Estate Collateral. Further to Section 3.3 and the Final Order, to secure the full and
timely payment and performance of the Obligations, each Obligor that is a Debtor hereby MORTGAGES,
GRANTS, BARGAINS, ASSIGNS, SELLS, CONVEYS and CONFIRMS, to the Administrative Agent,
for the ratable benefit of the Secured Parties, all of its right, title and interest in and to any Real Estate
(which, for the avoidance of doubt, shall include the Leland Facility) and all of such Obligor’s right, title
and interest now or hereafter acquired in and to (a) all land and improvements (including fixtures, as defined
in the UCC) now owned (or leased) or hereafter acquired by such Obligor, (b) all materials, supplies,
equipment, apparatus and other items of personal property now owned or hereafter acquired by such
Obligor and now or hereafter attached to, installed in or used in connection with the Real Estate, (c) all
utilities whether or not situated in easements, (d) all equipment, inventory and other goods in which such
Obligor now has or hereafter acquires, (e) all general intangibles, instruments, documents, contract rights
and chattel paper relating to the Real Estate, (f) all reserves, escrows or impounds and all deposit accounts
maintained by such Obligor with respect to the Real Estate, (g) all leases, licenses, concessions, occupancy
agreements or other agreements (written or oral, now or at any time in effect) which grant to any Person a
possessory interest in, or the right to use, all or any part of the Real Estate, together with all related security
and other deposits, (h) all of the rents, revenues, royalties, income, proceeds, profits, accounts receivable,
security and other types of deposits, and other benefits paid or payable by parties to the leases for using,
leasing, licensing possessing, operating from, residing in, selling or otherwise enjoying the Real Estate, (i)
all other agreements, such as construction contracts, architects’ agreements, engineers’ contracts, utility
contracts, maintenance agreements, management agreements, service contracts, listing agreements,
guaranties, warranties, permits, licenses, certificates and entitlements in any way relating to the
construction, use, occupancy, operation, maintenance, enjoyment or ownership of the Real Estate, (j) all
rights, privileges, tenements, hereditaments, rights-of-way, easements, appendages and appurtenances
appertaining to the foregoing, (k) all property tax refunds payable with respect to the Real Estate, (l) all
accessions, replacements and substitutions for any of the foregoing and all proceeds thereof, (m) all
insurance policies, unearned premiums therefor and proceeds from such policies covering any of the above
property now or hereafter acquired by such Obligor as an insured party, and (n) all awards, damages,
remunerations, reimbursements, settlements or compensation heretofore made or hereafter to be made to
such Obligor by any governmental authority pertaining to any condemnation or other taking (or any
purchase in lieu thereof)), TO HAVE AND TO HOLD to the Administrative Agent, and such Obligor does
hereby bind itself, its successors and assigns to WARRANT AND FOREVER DEFEND the title to such
property, assets and interests unto the Administrative Agent.

         3.5      Liens. All of the Liens described in this Section 3 (i) shall be effective and perfected upon
entry of the Final Order and confirmed by the Confirmation Order, without the necessity of the execution,
recordation or filings by any Obligor of mortgages, security agreements, control agreements, pledge
agreements, financing statements or other similar documents, or the possession or control by the
Administrative Agent of, or over, any Collateral, as set forth in the DIP Orders and the Confirmation Order,
and (ii) for the avoidance of doubt, shall in no way limit the Liens and security interests granted by any
Obligor pursuant to the DIP Orders or the Security Documents, provided that, upon the request of the
Administrative Agent, each Obligor shall execute and deliver to the Administrative Agent, as soon as
reasonably practicable following such request but in any event within 60 days following such request (as
extended by the Administrative Agent), a Mortgage in recordable form with respect to any Real Estate
constituting Collateral owned by such Obligor and identified by the Administrative Agent in form and


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substance reasonably satisfactory to the Administrative Agent, and, with respect to each Mortgage, the Real
Estate Deliverables as requested by the Administrative Agent.

        3.6      Filings. Each Obligor hereby authorizes the Administrative Agent make all filings and
public registrations, without notice to Obligor, with all jurisdictions deemed necessary or appropriate by
the Administrative Agent to perfect or protect the Secured Parties’ interests or rights hereunder. Such
financing statements may indicate the Collateral as “all assets of the Debtor” or words of similar effect.

          3.7       Subordination. Notwithstanding anything contained in any Loan Document to the
contrary, if the Administrative Agent or any Lender receives any payment or distribution to be applied to
the Secured Obligations from the Obligors or arising from the Collateral, whether arising from payment by
the Grantors, realization on Collateral, setoff or otherwise, and whether or not an Event of Default shall
have occurred and be continuing, and including any payment or distribution made by a Grantor in a
proceeding arising under any Bankruptcy Law, shall be applied (i) first, to payment of that portion of the
Secured Obligations constituting fees, indemnities, expenses and other amounts (other than principal and
interest) payable to the Administrative Agent in its capacity as the Administrative Agent hereunder, until
paid in full, (ii) second, to payment of (x) initially that portion of the Secured Obligations constituting
accrued, unpaid and uncapitalized interest on the DIP Loan until paid in full and then (y) the DIP Loan until
paid in full, (iii) third, to payment of (x) initially the Secured Obligations constituting accrued, unpaid and
uncapitalized interest on the Exit Advances until paid in full and then (y) the Exit Advances until paid in
full, (iv) fourth, to payment of any other Secured Obligations due and payable to the DIP Lenders until paid
in full, (v) fifth, to payment of any other Secured Obligations due and payable to the Exit Lenders until paid
in full, (vi) sixth, to the payment of any other Secured Obligations due and payable until paid in full, and
(vii) seventh, to the Borrowers or as otherwise required by law

        (a)      any Lien with respect to the DIP Collateral securing any DIP Obligations, whether such
Lien is now or hereafter held by or on behalf of, or created for the benefit of, the Administrative Agent or
any DIP Lender or any agent or trustee therefor, regardless of how or when acquired, whether by grant,
possession, statute, operation of law, subrogation, or otherwise, shall be senior in all respects and priority
to any Lien with respect to the Exit Collateral securing any Exit Obligations; and

         (b)      any Lien with respect to the Exit Collateral securing any Exit Obligations, whether such
Lien is now or hereafter held by or on behalf of, or created for the benefit of, the Administrative Agent, any
Exit Lender or any agent or trustee therefor, regardless of how or when acquired, whether by grant,
possession, statute, operation of law, subrogation, or otherwise, shall be junior and subordinate in all
respects to all Liens with respect to the DIP Collateral securing any DIP Obligations.



        3.8     Administrative Agent Remedies. Upon the occurrence and during the continuation of an
        Event of Default, the Administrative Agent may (or, at the direction of the Required Lenders, shall),
        exercise any or all of the following rights and remedies:

                 (a)     terminate any unfunded Commitments;

               (b)     terminate the Loan Documents as to any future liability or obligation of the
        Administrative Agent and the Lenders;

                (c)     those rights and remedies provided in this Agreement, or any other Loan Document
        (including accelerating the repayment of the Secured Obligations);



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                 (d)      those rights and remedies available to a secured party under the UCC (whether or
        not the UCC applies to the affected Collateral) or under any other applicable law (including, without
        limitation, any law governing the exercise of a bank's right of setoff or bankers' lien) when a debtor
        is in default under a security agreement;

                (e)     give notice of sole control or any other instruction under any control agreement
        with any depositary bank or securities intermediary and take any action therein with respect to such
        Collateral;

                (f)      without notice, demand or advertisement of any kind to any Obligor or any other
        Person, enter the premises of any Obligor where any Collateral is located (through self-help and
        without judicial process) to collect, receive, assemble, process, appropriate, sell, lease, assign, grant
        an option or options to purchase or otherwise dispose of, deliver, or realize upon, the Collateral or
        any part thereof in one or more parcels at public or private sale or sales (which sales may be
        adjourned or continued from time to time with or without notice and may take place at any
        Obligor’s premises or elsewhere), for cash, on credit or for future delivery without assumption of
        any credit risk, and upon such other terms as the Administrative Agent may deem commercially
        reasonable; and

                 (g)      transfer and register in its name or in the name of its nominee the whole or any part
        of the Pledged Equity, exchange certificates or instruments representing or evidencing Pledged
        Equity for certificates or instruments of smaller or larger denominations, exercise the voting and
        all other rights as a holder with respect thereto, to collect and receive all cash dividends, interest,
        principal and other distributions made thereon and to otherwise act with respect to such Pledged
        Equity as though the Administrative Agent was the outright owner thereof.

        3.9              Waiver of Equity Redemption. The Administrative Agent shall have the right upon
any such public sale or sales and, to the extent permitted by law, upon any such private sale or sales, to
purchase for the benefit of the Administrative Agent and the Secured Parties, the whole or any part of the
Collateral so sold, free of any right of equity redemption, which equity redemption the Grantor hereby
expressly releases.

        3.10     Preserving Collateral. Until the Administrative Agent is able to effect a disposition of
        Collateral, the Administrative Agent shall have the right to hold or use Collateral, or any part
        thereof, to the extent that it deems appropriate for the purpose of preserving Collateral or its value
        or for any other purpose deemed appropriate by the Administrative Agent. The Administrative
        Agent may, if it so elects, seek the appointment of a receiver or keeper to take possession of
        Collateral and to enforce any of the Administrative Agent’s remedies (for the benefit of the Secured
        Parties), with respect to such appointment without prior notice or hearing as to such appointment.

          3.10     Power of Attorney. Each Obligor irrevocably authorizes the Administrative Agent at any
time and from time to time in the sole discretion of the Administrative Agent and appoints the
Administrative Agent as its attorney-in-fact (i) to endorse and collect any cash proceeds of the Collateral,
(ii) to file any financing statement with respect to the Collateral and to file any other financing statement
or amendment of a financing statement (which does not add new collateral or add a debtor) in such offices
as the Administrative Agent in its sole discretion deems necessary or desirable to perfect and to maintain
the perfection and priority of the Administrative Agent’s security interest in the Collateral, (iii) in the case
of any Intellectual Property owned by or licensed to an Obligor, execute, deliver and have recorded any
document that the Administrative Agent may request to evidence, effect, publicize or record the
Administrative Agent’s security interest in such Intellectual Property and the goodwill and general
intangibles of such Obligor relating thereto or represented thereby, (iv) to contact and enter into one or

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more agreements with the issuers of uncertificated securities which are Collateral or with securities
intermediaries holding Collateral as may be necessary or advisable to give the Administrative Agent control
over such Collateral, (v) to discharge past due taxes, assessments, charges, fees or Liens on the Collateral
(except for Permitted Liens), (vi) to contact account debtors for any reason, (vii) to demand payment or
enforce payment of the receivables in the name of the Administrative Agent or such Obligor and to endorse
any and all checks, drafts, and other instruments for the payment of money relating to the receivables, (viii)
to sign such Obligor’s name on any invoice or bill of lading relating to the receivables, drafts against any
account debtor of the Obligor, assignments and verifications of receivables, (ix) to exercise all of such
Obligor’s rights and remedies with respect to the collection of the receivables and any other Collateral, (x)
to settle, adjust, compromise, extend or renew receivables, (xi) to settle, adjust or compromise any legal
proceedings brought to collect receivables, (xii) to prepare, file and sign such Obligor’s name on a proof of
claim in bankruptcy or similar document against any account debtor of such Obligor, (xiii) to prepare, file
and sign such Obligor’s name on any notice of Lien, assignment or satisfaction of Lien or similar document
in connection with the receivables of such Obligor, (xiv) to change the address for delivery of mail
addressed to such Obligor to such address as the Administrative Agent may designate and to receive, open
and dispose of all mail addressed to such Obligor, and (xv) to do all other acts and things necessary to carry
out this Agreement; and such Obligor agrees to reimburse the Administrative Agent on demand for any
payment made or any expense incurred by the Administrative Agent in connection with any of the
foregoing; provided that, this authorization shall not relieve such Obligor of any of its obligations under
any Loan Document. The Administrative Agent shall not incur any liability in connection with or arising
from the exercise of such power of attorney and shall have no obligation to exercise any of the foregoing
rights and remedies. The Administrative Agent’s foregoing appointment as each Obligor’s attorney in fact,
and all of the Administrative Agent’s rights and powers, coupled with an interest, are irrevocable until such
time as all Secured Obligations have been satisfied in full, the Lenders are under no further obligation to
make Advances and the Loan Documents have been terminated.

SECTION 4.         CONDITIONS PRECEDENT TO ADVANCES

        4.1     Advances. The amendment and restatement of this Agreement and the obligations of each
Exit Lender to make any Exit Advance will occur on the date (the “Restatement Date”) on which the
documents and other evidence set out in Schedule 4.1 have been received by the Administrative Agent and
the Required Lenders, each in form and substance satisfactory to them. including that (i) the Bankruptcy
Court shall have entered the Confirmation Order, (ii) the Confirmation Order shall not (in whole or in part)
have been reversed, modified, stayed or vacated, (iii) the Restructuring Transactions shall be consummated
in accordance with the Reorganization Plan, and (iv) the effective date of the Reorganization Plan shall
have occurred.



        4.2        Subsequent Advances. On the date of each Advance Request and on each Advance Date :

                   (a)    the Administrative Agent shall have received all documents it may reasonably
        request;

                 (b)      each of the representations and warranties set forth in this Agreement shall be true
        and correct in all material respects on and as of the date of such Advance Request and the Advance
        Date (except to the extent such representation and warranty expressly relates to an earlier date, in
        which case such representation and warranty shall have been true and correct in all material respects
        as of such earlier date), except that any representations and warranties subject to “materiality”,
        “Material Adverse Effect” or similar materiality qualifiers shall be true and correct in all respects
        as of the date of such extension of credit (except to the extent any such representation and warranty

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        expressly relates to an earlier date, in which case such representation and warranty shall have been
        true and correct as of such earlier date);

                (c)     the Obligors shall be in compliance with all the terms and provisions set forth
        herein and in each other Loan Document on their part to be observed or performed, and at the time
        of and immediately after giving effect to such Exit Advance no Default or Event of Default shall
        have occurred and be continuing;

                (d)     no event that has had or could reasonably be expected to have a Material Adverse
        Effect has occurred and is continuing;

                (e)     no order has been entered reversing, amending, staying, vacating, terminating or
        otherwise modifying in any manner adverse to the Administrative Agent or the Lenders, the DIP
        Orders or the Confirmation Order; and

                 (f)      the Administrative Agent shall have received an Advance Request in relation to
        the relevant Exit Advance in accordance with this Agreement.

        Each Advance Request shall be deemed to constitute a representation and warranty by the Obligors
on the date of such Advance Request and on the applicable Advance Date as to the matters specified in
paragraphs (b), (c) and (d) of this Section 4.2 and as to the matters set forth in the Advance Request.

SECTION 5.       REPRESENTATIONS AND WARRANTIES

        To induce the Lenders to amend and restate this Agreement and make the Exit Advances, the
Obligors, jointly and severally, represent and warrant to the Administrative Agent and the Lenders that as
of the Closing Date, the date of each Advance Request and the date of each Exit Advance:

         5.1      Corporate Status; Compliance with Law. Each of the Parent and its Subsidiaries, (a) is a
corporation, partnership, limited partnership or limited liability company duly organized, validly existing
and in good standing under the laws of its applicable jurisdiction of incorporation or formation; (b) is duly
qualified to conduct business and is in good standing in all jurisdictions in which the nature of its business
or its ownership or lease of properties require such qualifications and where the failure to be qualified would
reasonably be expected to have a Material Adverse Effect; (c) has the requisite corporate, partnership or
company power and authority to conduct its business as now and proposed to be conducted and the legal
right to own, pledge, mortgage or otherwise encumber and operate its properties, except, in each case, to
the extent the failure to have such right would not reasonably be expected to have a Material Adverse Effect;
(d) has (and is not in default under any of the following) all material licenses, permits, certifications,
consents or approvals from or by, and has made all material filings with, and has given all material notices
to, all Governmental Authorities having jurisdiction, to the extent required for such ownership, operation
and conduct, except where the failure to satisfy the foregoing, individually or in the aggregate, would not
reasonably be expected to have a Material Adverse Effect; (e) except as a result of the Cases is not in default
under any material license, permit, certification or approval requirement of any Governmental Authority,
except where such default, individually or in the aggregate, would not reasonably be expected to have a
Material Adverse Effect; (f) is in compliance with its applicable organizational documents in all material
respects; and (g) is in compliance with all Laws except where failure to comply could not reasonably be
expected to have a Material Adverse Effect. Each Obligor’s present names, former names (if any),
locations, place of incorporation or formation, tax identification number, organizational identification
number and other information are correctly set forth in Exhibit B, as may be updated by Parent in a written
notice provided to the Administrative Agent after the Closing Date.



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        5.2     Collateral. The Obligors own the Collateral and the Excluded Intellectual Property, free
of all Liens, except for Permitted Liens. The Obligors have the power and authority to grant to the
Administrative Agent a Lien in the Collateral as security for the Secured Obligations.

         5.3      Organizational Power, Authorization, Enforceable Obligations, Consents. The execution,
delivery and performance of this Agreement and all other Loan Documents and in the case of the Borrowers,
the borrowing of Advances, (i) are within such Person’s corporate, partnership, limited partnership or
limited liability company power and do not contravene any provision of such Person’s organizational
documents; (ii) have been duly authorized by all necessary or proper action of each Obligor; (iii) will not
result in the creation or imposition of any Lien upon the Collateral, other than Permitted Liens ; (iv) do not
violate (A) any Laws or regulations to which any Obligor or its Subsidiaries are subject, the violation of
which would be reasonably expected to have a Material Adverse Effect or (B) any order, injunction,
judgment, decree or writ of any Governmental Authority to which any Obligor or its Subsidiaries are
subject; (v) do not conflict with, or result in the breach or termination of, constitute a default under or
accelerate or permit the acceleration of any performance required by, any indenture mortgage, deed of trust,
lease or agreement or other instrument, in each case, in respect of material Indebtedness to which any
Obligor or its Subsidiaries is a party or by which any Obligor or its Subsidiaries or any of its property is
bound; and (vi) do not violate any contract or agreement or require the consent or approval of any other
Person or Governmental Authority which has not already been obtained. The individual or individuals
executing the Loan Documents are duly authorized to do so. Each Loan Document has been duly executed
and delivered on behalf of each Obligor party thereto. Each Loan Document upon execution will constitute,
a legal, valid and binding obligation of each Obligor party thereto, enforceable against each such Obligor
in accordance with its terms, except as enforceability may be limited by applicable bankruptcy, insolvency,
reorganization, moratorium or similar laws affecting the enforcement of creditors’ rights generally and by
general equitable principles (whether enforcement is sought by proceedings in equity or at law).

        5.4      Material Adverse Effect. No event, change, condition, development, effect, circumstance,
matter or other occurrence, individually or in the aggregate, that has had or would reasonably be expected
to have a Material Adverse Effect has occurred since the Closing Date and is continuing. The Obligors are
not aware of any event or circumstance likely to occur that, individually or in the aggregate, is reasonably
expected to have a Material Adverse Effect. No transfer of property is being made by any Obligor and no
obligation is being incurred by any Obligor in connection with the transactions contemplated by any Loan
Documents with the intent to hinder, delay, or defraud either present or future creditors of such Obligor.

         5.5     Actions Before Governmental Authorities. Except as described on Schedule 5.5, there are
no actions, investigations, suits or proceedings at law or in equity or by or before any Governmental
Authority now pending or, to the knowledge of the Obligors, threatened against or affecting any Obligor,
its Subsidiaries or their respective property or revenues, before any Governmental Authority or before any
arbitrator or panel of arbitrators (collectively, “Litigation”), other than Litigation commenced after the
Closing Date that would not likely be expected to result in damages of in excess of $250,000 not covered
by insurance for which a claim has been made. There is no Litigation pending or, to the knowledge of any
Obligor, threatened (a) with respect to any of the Loan Documents or any of the transactions contemplated
hereby or thereby, or (b) except as described on Schedule 5.5, which would, individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect.

         5.6      Laws. No Obligor nor its Subsidiaries is in violation of any Law, or in default with respect
to any judgment, writ, injunction, decree or order of any Governmental Authority, where such violation or
default is reasonably expected to have a Material Adverse Effect. Except as described on Schedule 5.6 or
a default resulting from the filing of the Cases, none of the Obligors are in default in any material respect
under any provision of any agreement or instrument evidencing Indebtedness, or any other material
agreement to which an Obligor is party or by which it is bound.

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        5.7     Information Correct and Current. No information contained in this Agreement, any of the
other Loan Documents, any Financial Statements or any other written materials from time to time delivered
hereunder or any written statement furnished by or on behalf of any Obligor or any of its Subsidiaries to
the Administrative Agent or any Lender in connection with any Loan Document or included therein or
delivered pursuant thereto contained, contains or will contain any material misstatement of fact or omitted,
omits or will omit to state any material fact necessary to make the statements therein, in the light of the
circumstances under which they were, are or will be made, not misleading at the time such statement was
made or deemed made.

        5.8      Tax Matters. The Obligors and each of their Subsidiaries have (a) filed all federal, state
and material local Tax returns that are required to be filed, (b) duly paid or fully reserved for all Taxes or
installments thereof (including any interest or penalties) as and when due, which have or may become due
pursuant to such returns other than those being contested in good faith by appropriate proceedings and for
which adequate reserves have been established in accordance with GAAP, and (c) paid or fully reserved
for any Tax assessment received by any Group Member for the three years preceding the Closing Date, if
any (including any Taxes being contested in good faith and by appropriate proceedings). As of the Closing
Date and except as set forth on Schedule 5.8, there is no action, suit, proceeding, investigation, audit or
claim now pending or threatened by any Governmental Authority regarding any Taxes relating to the
Obligors and any of their Subsidiaries.

        5.9      Intellectual Property.

                   (a)     Disclosure; Title. Exhibit C contains a true and correct list of each item of issued,
        registered, or application for issue or registration of, Intellectual Property, specifying for each
        (i) title or mark, (ii) jurisdiction, (iii) application or serial number and date, (iv) registration or issue
        number and date, (v) registered owner, and (vi) beneficial owner if different from registered owner.
        Except as otherwise specified on Exhibit C, an Obligor is the sole owner of each item of Intellectual
        Property listed thereon that has an “Amyris Ref” starting with “AM-”, and for each other item of
        Intellectual Property listed thereon, an Obligor has the right to exploit (or exclude others from
        exploiting) such item under the terms of a License between such Obligor and the applicable Patent
        owner or co-owner specified in the “Notes” to the Patent schedule on Exhibit C. Except as
        described on Exhibit C, to the best of each Obligor’s knowledge, each of the registered or issued
        Copyrights, Trademarks and Patents that are required to be listed on Exhibit C is valid and
        enforceable, and no such Copyright, Trademark or Patent, or any application for registration of the
        foregoing, has terminated, lapsed, expired or been cancelled or abandoned. All Copyrights,
        Trademarks and Patents required to be listed on Exhibit C have been prosecuted in accordance with
        all applicable Laws. To the best of each Obligor’s knowledge, all actions required to record each
        owner throughout the entire chain of title, of each item of Intellectual Property required to be listed
        on Exhibit C, with each applicable Governmental Authority up through the Closing Date have been
        taken, including payment of all costs, fees, Taxes and expenses associated therewith.

                 (b)      Infringement. Except as described on Schedule 5.9(b), (i) to the best of each
        Obligor’s knowledge, none of the Intellectual Property that is owned or exclusively licensed to an
        Obligor is invalid or unenforceable, in whole or in part, and (ii) no Litigation has been asserted or
        initiated against and no notice has been received by any Obligor that alleges any exploitation of the
        Intellectual Property, or the conduct of any Obligor’s business infringes, misappropriates, dilutes
        or otherwise violates the rights of any third party. No other Person’s trade secrets and Copyrights,
        and to the best of each Obligor’s knowledge no other Person’s other intellectual or industrial
        property rights, are infringed, misappropriated, diluted or otherwise violated by any Obligor’s
        exploitation of the Intellectual Property or the use, making, development, production, sale, offering
        for sale, importation or exportation of any Borrower Product. No Obligor has asserted or initiated

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        any Litigation or sent any notice that alleges that any Intellectual Property is being infringed,
        misappropriated, diluted or otherwise violated.

                (c)       Trade Secrets. To the best of each Obligor’s knowledge, no trade secret or
        confidential or proprietary information has been used, divulged, disclosed or appropriated to the
        detriment of any Obligor for the benefit of any Person other than an Obligor. The Intellectual
        Property has been protected with adequate safeguards and security to maintain any trade secrets,
        and the confidentiality of any confidential or proprietary information. Each employee and
        contractor of each Obligor, or any other Person who has developed Intellectual Property, has
        entered into written employment agreements, non-disclosure agreements, assignment of inventions
        agreements or similar agreements or contracts, as applicable, requiring such individuals to
        safeguard and protect trade secrets and confidential or proprietary information that is Intellectual
        Property and assign Intellectual Property created or conceived by such individual to the applicable
        Obligor. To the best of each Obligor’s knowledge, no such employee, contractor or other Person
        is in material breach of any such agreement or contract.

                 (d)     Licenses. Exhibit C includes a true, correct and complete list of each (i) material
        License under which an Obligor receives a right in or to Intellectual Property from any other Person,
        including each License relating to each item of Intellectual Property listed on Exhibit C that is
        owned or co-owned by any other Person (other than shrink-wrap licenses for non-customized off-
        the-shelf software costing less than $500,000 (or its equivalent in other currencies) for all Group
        Members per annum) and (ii) License pursuant to which an Obligor grants a right in or to
        Intellectual Property to any other Person on an exclusive basis. The Licenses on Exhibit C and all
        other material Licenses are valid and binding and in full force and effect and represents the entire
        agreement between the respective parties thereto with respect to the subject matter thereof. Each
        such License will not cease to be valid and binding and in full force and effect on terms identical
        to those currently in effect as a result of the rights and interest granted herein, nor will the grant of
        such rights and interest constitute a breach or default under any such License or otherwise give any
        party thereto a right to terminate such License. No Obligor is in material breach of, nor has any
        Obligor failed to perform any material obligations under, any such License and, to each Obligor’s
        knowledge, each other party to any such License is not in material breach thereof or has failed to
        perform any material obligations thereunder. No Obligor has received any notice of a breach or
        default under any such License which breach or default has not been cured.

                 (e)      Sufficiency of IP. Except as described on Schedule 5.9(e), each Obligor has, or in
        the case of any proposed business, will own or have licensed to it, all material intellectual property
        rights necessary for the operation or conduct of its respective business as currently conducted and
        proposed to be conducted. Without limiting the generality of the foregoing, and in the case of
        Licenses, except for restrictions that are unenforceable under Division 9 of the UCC, each Obligor
        has the right, to the extent required to operate its business, to freely transfer or license (except as
        restricted by Permitted Intellectual Property Licenses) or assign Intellectual Property without
        condition, restriction or payment of any kind (other than license payments in the ordinary course
        of business) to any third party, and each Obligor owns or has the right to use, pursuant to valid
        licenses, all software development tools, library functions, compilers and all other third-party
        software and other items that are used in the design, development, promotion, sale, license,
        manufacture, import, export, use or distribution of such Obligor’s Borrower Products.

                (f)     Litigation. Except as described on Schedule 5.9(f), no Intellectual Property owned
        by an Obligor and no Borrower Product has been or is subject to any actual or, to the knowledge
        of any Obligor, threatened Litigation, proceeding (including any proceeding in the United States
        Patent and Trademark Office or any corresponding foreign office or agency) or outstanding decree,

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        order, judgment, settlement agreement or stipulation that restricts in any material respect such
        Obligor’s use, transfer or licensing thereof or that may affect the validity, use or enforceability
        thereof. There is no decree, order, judgment, agreement, stipulation, arbitral award or other
        provision entered into in connection with any Litigation or proceeding that obligates any Obligor
        to grant licenses or ownership interest in any future Intellectual Property necessary to the operation
        or conduct of the business of such Obligor or embodied by any Borrower Product. Except as
        described on Schedule 5.9(f), no Obligor has received any written notice or claim, or, to the
        knowledge of Obligor, oral notice or claim, challenging or questioning Obligor’s ownership in any
        Intellectual Property (or written notice of any claim challenging or questioning the ownership in
        any licensed Intellectual Property of the owner thereof) or suggesting that any third party has any
        claim of legal or beneficial ownership with respect thereto nor, to any Obligor’s knowledge, is there
        a reasonable basis for any such claim.

         5.10    Financial Accounts. Exhibit D, as may be updated by the Parent in a written notice
provided to the Administrative Agent after the Closing Date, is a true, correct and complete list of (a) all
banks and other financial institutions at which any Obligor maintains Deposit Accounts and (b) all
institutions at which any Obligor maintains an account holding Investment Property, and such exhibit
correctly identifies the name, address and telephone number of each bank or other institution, the name in
which the account is held, a description of the purpose of the account, and the complete account number
therefor.

         5.11     Employee Loans. The Obligors have no outstanding loans to any employee, officer or
director of any Obligor nor has any Obligor guaranteed the payment of any loan made to an employee,
officer or director of any Obligor by a third party.

        5.12    Capitalization and Subsidiaries. The Obligors’ capitalization as of the Closing Date is set
forth on Schedule 5.12(a) . The Obligors do not own any stock, partnership interest or other securities of
any Person, except for Permitted Investments. Attached as Schedule 5.12(b), as may be updated by the
Parent in a written notice provided after the Closing Date, is a true, correct and complete list of each
Subsidiary.

        5.13     Financial Statements and Projections.

                (a)       Except as set forth on Schedule 5.13, all Financial Statements of the Obligors
        which are referenced below have been prepared in accordance with GAAP consistently applied
        throughout the periods covered (except as disclosed therein and except, with respect to unaudited
        Financial Statements, for the absence of footnotes and subject to normal year-end adjustments) and
        present fairly in all material respects the financial position of the Persons covered thereby as at the
        dates thereof and the results of their operations and cash flows for the periods then ended.

                (b)      The Projections (i) have been prepared in good faith based upon assumptions
        believed by the Parent to be reasonable as of the date thereof (it being understood that actual results
        may vary materially from such projections and estimates), as of the date such projections and
        estimates were furnished to the Lenders and as of the Closing Date, and (ii) as of the Closing Date,
        have not been modified in any material respect by the Parent.

        5.14    Ownership of Property. The Real Estate listed on Schedule 5.14(a) constitutes, as of the
Closing Date, all of the real property owned, leased or subleased by the Obligors and their Subsidiaries.
The Obligors and their Subsidiaries own good and marketable fee simple title to all of its owned Real Estate,
and valid leasehold interests in all of its leased Real Estate. The Obligors and their Subsidiaries also have
good and marketable title to, or valid leasehold interests in or rights to use, all of their personal properties

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and assets and all material permits required to have been issued or appropriate to enable the Real Estate to
be lawfully occupied and used for all of the purposes for which it is currently occupied and used have been
lawfully issued and are in full force and effect, in each case, except to the extent such failure to have such
title, interests or rights or the failure of such permits to have been issued or in full force and effect would
not reasonably be expected to have a Material Adverse Effect.

         5.15    Labor Matters. As of the Closing Date, no Obligor is subject to any labor or collective
bargaining agreement. There are no existing or, to the knowledge of the Obligors, threatened strikes,
lockouts or other labor disputes involving an Obligor or any of its Subsidiaries that singly or in the aggregate
could reasonably be expected to have a Material Adverse Effect. Except for violations that could not
reasonably be expected to have a Material Adverse Effect, no Obligor or any Subsidiary of any Obligor is
in violation of any Law relating to payment of wages or employee hours worked.

         5.16     Government Regulation. No Obligor nor any Subsidiary of any Obligor is required to
register as an “investment company” as defined in, or subject to regulation under, the Investment Company
Act of 1940, as amended. No Obligor nor any Subsidiary of any Obligor is engaged or will engage,
principally or as one of its important activities, in the business of “buying” or “carrying” “margin stock”
(within the respective meanings of each of the quoted terms under Regulation U as now and from time to
time hereafter in effect) or extending credit for the purpose of purchasing or carrying margin stock. No
part of the proceeds of any Advance will be used for buying or carrying any such margin stock or for
extending credit to others for the purpose of purchasing or carrying margin stock in violation of Regulations
T, U or X in effect from time to time of the Board of Governors of the Federal Reserve System of the United
States (or any successor).

        5.17     [Reserved.]

        5.18    Environmental Matters. The on-going operations of the Obligors and each of their
Subsidiaries comply in all respects with all Environmental Laws, except such non-compliance would not
reasonably be expected to have a Material Adverse Effect. The Obligors and each of their Subsidiaries
have obtained, and maintained in good standing, all licenses, permits, authorizations and registrations
required under any Environmental Law and necessary for their respective ordinary course operations, and
the Obligors and each of their Subsidiaries are in compliance with all material terms and conditions thereof,
except where the failure to do so could not reasonably be expected to have a Material Adverse Effect.
Except as would not reasonably be expected to have a Material Adverse Effect: (i) no Obligor nor any of
its properties or operations is subject to any outstanding written order from or agreement with any
Governmental Authority, nor subject to any proceeding, with respect to any Environmental Law or
Hazardous Material; (ii) there are no conditions or circumstances involving environmental contamination
by Hazardous Materials existing with respect to any property, or arising from operations prior to the Closing
Date, of any Obligor or any of its Subsidiaries; and (iii) none of the Obligors nor any of their Subsidiaries
has any underground storage tanks that are not properly registered or permitted under applicable
Environmental Laws or that are leaking or disposing of Hazardous Materials.

        5.19    Insurance. Schedule 5.19 lists all insurance policies required to be maintained under
Section 6.1. None of the Obligors nor any of their Subsidiaries is in default of any payment obligation
under any such insurance policies (after giving effect to all notice and cure periods).

        5.20     Foreign Assets Control Regulations, Etc.

                 (a)       None of (i) the making of any Advance, (ii) the Borrowers’ use of the proceeds
        thereof, (iii) the execution, delivery and performance of this Agreement or (iv) the consummation
        of any transaction contemplated hereby, or the fulfillment of the terms hereof or thereof, will result

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        in a violation by any Person, including without limitation the Lender of any of the foreign assets
        control regulations of the United States Treasury Department’s Office of Foreign Assets Control
        (“OFAC”) (31 CFR, Subtitle B, Chapter V, as amended), other economic and trade sanctions laws
        and regulations administered or enforced by OFAC, the U.S. State Department or any other
        applicable governmental authority or any enabling legislation or executive order relating thereto.

                 (b)     None of the Obligors, any of their Subsidiaries, nor any controlled Affiliate of the
        Obligors or any of their Subsidiaries (i) is a Sanctioned Person or (ii) engages in, or has in the past
        five (5) years engaged in, any dealings or transactions with any Sanctioned Person. Each of the
        Obligors and their Subsidiaries and Controlled Affiliates are in compliance, in all material respects,
        with the economic and trade sanctions administered by OFAC and the U.S. State Department, the
        Bank Secrecy Act, as amended by the USA Patriot Act, and all other applicable sanctions or anti-
        money laundering laws and regulations.

                 (c)    No part of the proceeds from any Advance will be used, directly or indirectly, for
        any payment, or offer or promise of any payment or anything else of value, to any governmental
        official or employee of a government authority, political party, official of a political party,
        candidate for political office, or anyone else acting in an official capacity for or on behalf of a
        governmental authority, in violation of the United States Foreign Corrupt Practices Act of 1977, as
        amended, the UK Bribery Act 2010 or any other applicable anti-corruption or anti-bribery law.

        5.21     ERISA.

                (a)      Except as would not, individually or in the aggregate, reasonably be expected to
        have a Material Adverse Effect: (i) each Qualified Plan has been determined by the IRS to qualify
        under Section 401 of the IRC, and the trusts created thereunder have been determined to be exempt
        from Tax under the provisions of Section 501 of the IRC, and, to the knowledge of the Obligors,
        nothing has occurred which would reasonably be expected to cause the loss of such qualification
        or tax-exempt status; (ii) each ERISA Plan is in compliance with the applicable provisions of
        ERISA and the IRC, including the filing of reports required under the IRC or ERISA; (iii) none of
        the Obligors or any ERISA Affiliate has failed to make any contribution or pay any amount due as
        required by either Section 412 of the IRC or Section 302 of ERISA or the terms of any such ERISA
        Plan; (iv) none of the Obligors or, to the knowledge of the Obligors, any ERISA Affiliate has
        engaged in a prohibited transaction, as defined in Section 4975 of the IRC, in connection with any
        ERISA Plan, which would subject any such Person to a material Tax on prohibited transactions
        imposed by Section 4975 of the IRC; and (v) the Obligors do not reasonably anticipate assessed
        penalties under IRC 4980H5.

        5.22     Security Documents.

                 (a)      [reserved]

                 (b)     This Agreement and each Security Document is effective to create in favor of the
        Administrative Agent, a legal, valid and enforceable security interest in the Collateral described
        therein and proceeds thereof (subject to (x) applicable bankruptcy, insolvency, reorganization,
        moratorium or other laws affecting creditors’ rights generally and subject to general principles of
        equity, regardless of whether considered in a proceeding in equity or at law and (y) any filings,
        notices and registrations and other perfection requirements necessary to create or perfect the Liens
        on the Collateral granted by such Obligors in favor of the Administrative Agent (which filings or
        recordings shall be made to the extent required by any Security Document)) and (ii) in the case of
        the Pledged Equity, if any, that are securities represented by stock certificates or otherwise

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        constituting certificated securities within the meaning of Section 8-102(a)(4) of the New York UCC
        or the corresponding code or statute of any other applicable jurisdiction (“Certificated Securities”),
        when certificates representing such Pledged Equity are delivered to the Administrative Agent, and
        in the case of the other Collateral constituting personal property described in the Security
        Agreement, when financing statements and other filings specified on Schedule 3 of the Security
        Agreement in appropriate form are filed in the offices specified on Schedule 3 of the Security
        Agreement, the Administrative Agent shall have a fully perfected Lien on, and security interest in,
        all right, title and interest of such Obligors in such Collateral and the proceeds thereof, as security
        for the Secured Obligations, in each case prior and superior in right to any other Person (except, in
        the case of Collateral other than Pledged Equity, Permitted Liens) subject to, in each case,
        applicable bankruptcy, insolvency, reorganization, moratorium or other laws affecting creditors’
        rights generally and subject to general principles of equity, regardless of whether considered in a
        proceeding in equity or at law.

                 (c)      Upon the execution and delivery of any Mortgage to be executed and delivered
        pursuant to this Agreement, such Mortgage shall be effective to create in favor of the
        Administrative Agent for the benefit of the Secured Parties a legal, valid and enforceable Lien on
        the Real Estate described in such Mortgage and proceeds thereof, except as enforceability may be
        limited by applicable bankruptcy, insolvency, reorganization, moratorium or similar laws affecting
        the enforcement of creditors’ rights generally and by general equitable principles (whether
        enforcement is sought by proceedings in equity or at law) and the implied covenants of good faith
        and fair dealing; and when such Mortgage is filed in the appropriate recording office and all relevant
        mortgage taxes and recording charges are duly paid, such Mortgage shall constitute a fully
        perfected Lien on, and security interest in, all right, title and interest of the applicable Obligor in
        such Real Estate and the proceeds thereof, as security for the Secured Obligations, in each case
        subject only to Permitted Liens.

SECTION 6.       INSURANCE; INDEMNIFICATIONS

        As long as any Secured Obligations (other than inchoate indemnity obligations) are outstanding,
the Obligors agree as follows:

         6.1     Coverage. The Obligors shall cause to be carried and maintained (a) commercial general
liability insurance against risks customarily insured against in each Group Member’s line of business,
including the risks of bodily injury, including death, property damage, personal injury, advertising injury,
and contractual liability per the terms of the indemnification agreement found in Section 6.3, (b) a minimum
of $2,000,000 of commercial general liability insurance for each occurrence, (c) a minimum of $2,000,000
of directors’ and officers’ insurance for each occurrence and $5,000,000 in the aggregate, and (d) insurance
upon the Collateral, insuring against all risks of physical loss or damage howsoever caused, in an amount
not less than the full replacement cost of the Collateral, provide that such insurance may be subject to
standard exceptions and deductibles.

         6.2     Certificates. As soon as reasonably practicable after written request by the Administrative
Agent, the Obligors shall deliver to the Administrative Agent certificates of insurance that shall (a) evidence
the Obligors’ compliance with its insurance obligations in Section 6.1 and the obligations contained in this
Section 6.2 , (b) state the Administrative Agent is an additional insured for commercial general liability, a
designated payee for any key man life insurance policy, a lender’s loss payee for all risk property damage
insurance, subject to the insurer’s approval, and contain a lender’s loss payee for property insurance and
additional insured for liability insurance for any future insurance that the Obligors may acquire from such
insurer, (c)attach additional insured endorsements for liability and lender’s loss payable endorsements for
all risk property damage insurance, and (d) provide for a minimum of 30 days’ advance written notice to

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the Administrative Agent of cancellation or any other change adverse to the Administrative Agent’s
interests. Any failure of the Administrative Agent to scrutinize such insurance certificates for compliance
is not a waiver of any of the Administrative Agent’s rights, all of which are reserved.

          6.3     Indemnity. The Obligors agree to indemnify and hold the Administrative Agent, each
Lender and each of their respective officers, directors, employees, agents, in-house attorneys,
representatives and shareholders (each, an “Indemnified Person”) harmless from and against any and all
claims, costs, expenses, damages and liabilities (including such claims, costs, expenses, damages and
liabilities based on liability in tort, including strict liability in tort), including reasonable attorneys’ fees and
disbursements and other costs of investigation or defense (including those incurred upon any appeal)
(collectively, “Liabilities”), that may be instituted or asserted against or incurred by such Indemnified
Person arising out of, in connection with, or as a result of (a) the execution and delivery of this Agreement
and the Loan Documents, (b) credit having been extended, suspended or terminated under this Agreement
and the other Loan Documents, (c) the administration of such credit, (d) the use of proceeds of the
Advances, (e) the disposition or utilization of the Collateral, (f) any actual or prospective claim, litigation,
investigation or proceeding relating to any of the foregoing, whether based on contract, tort or any other
theory and regardless of whether any Indemnified Person is a party thereto (and regardless of whether such
matter is initiated by a third party or by any Obligor or any of their respective Affiliates) excluding, in all
cases, Liabilities to the extent resulting solely from any Indemnified Person’s gross negligence or willful
misconduct, as determined by a court of competent jurisdiction pursuant to a final, non-appealable
judgment, (g) any Environmental Liability related in any way to any Obligor or any of its Subsidiaries, or
(h) any actual or reasonably likely prospective claim, litigation, investigation or proceeding relating to any
of the foregoing, whether based on contract, tort or any other theory, whether brought by a third party or
by any Obligor, and regardless of whether any Indemnitee is a party thereto, (i) default by any Borrower
in making a borrowing of, conversion into or continuation of an Advance after a Borrower has given a
notice requesting the same in accordance with the provisions of this Agreement, (j) default by any Borrower
in making any prepayment of the Advances after a Borrower has given a notice thereof in accordance with
the provisions of this Agreement, or (k) the making of a prepayment of an Advance on a day that is not the
last day of an Interest Period with respect thereto. The Obligors agree to pay, and to save the Administrative
Agent and each Lender harmless from, any and all liabilities with respect to, or resulting from any delay in
paying, any and all excise, sales or other similar taxes (excluding taxes imposed on or measured by the net
income of the Administrative Agent and each Lender) that may be payable or determined to be payable
with respect to any of the Collateral or this Agreement. To the fullest extent permitted by applicable law,
no Obligor shall assert, and each Obligor hereby waives, any claim against any Indemnified Person, on any
theory of liability, for special, indirect, consequential or punitive damages (as opposed to direct or actual
damages) or any loss of profits arising out of, in connection with, or as a result of, any Loan Document or
any agreement or instrument contemplated hereby, the transactions contemplated hereby or thereby, any
Advance, or the use of the proceeds thereof. No Indemnified Person shall be liable for any damages arising
from the use by unintended recipients of any information or other materials distributed by it through
telecommunications, electronic or other information transmission systems in connection with the Loan
Documents or the transactions contemplated hereby or thereby. This Section 6.3 shall survive the
termination of this Agreement and the repayment of all Secured Obligations until all statutes of limitation
with respect to the claims, losses, and expenses for which indemnity is given shall have run.

SECTION 7.       COVENANTS

        As long as any Secured Obligations (other than inchoate indemnity obligations) are outstanding,
the Obligors agree as follows:

       7.1       Financial Reports. The Obligors shall furnish to the Administrative Agent on behalf of the
Lenders:

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                 (a)     [reserved]

                (b)      as soon as practicable (and in any event within 45 days) after the end of each
        calendar quarter, unaudited interim and year-to-date financial statements as of the end of such
        calendar quarter (prepared on a consolidated and consolidating basis, if applicable), including
        balance sheet and related statements of income and cash flows accompanied by a report detailing
        any material contingencies (including the commencement of material litigation by or against any
        Obligor of the type described in Section 7.23(b)) or any other occurrence that would reasonably be
        expected to have a Material Adverse Effect, certified by such Obligor’s Chief Executive Officer,
        Chief Accounting Officer or Chief Financial Officer to the effect that they have been prepared in
        accordance with GAAP, except (i) for the absence of footnotes, and (ii) that they are subject to
        normal year-end adjustments;

                (c)      as soon as practicable (and in any event within 120 days after the end of each fiscal
        year (or, with respect to the fiscal year ended December 31, 2023, 180 days after the Restatement
        Date), audited financial statements as of the end of such year (prepared on a consolidated and
        consolidating basis, if applicable), including balance sheet and related statements of income and
        cash flows, and setting forth in comparative form the corresponding figures for the preceding fiscal
        year, certified by a firm of independent certified public accountants selected by the Parent and
        reasonably acceptable to the Lender, accompanied by any management report from such
        accountants;;

                (d)     as soon as practicable (and in any event within 30 days) after the end of each
        calendar quarter, a Compliance Certificate in the form of Exhibit G;

                (e)      promptly after the sending or filing thereof, as the case may be, copies of any proxy
        statements, financial statements or reports that the Obligors have made available to its equity
        holders and copies of any regular, periodic and special reports or registration statements that the
        Obligors file with the SEC or any Governmental Authority that may be substituted therefor, or any
        national securities exchange;

                (f)       at the Administrative Agent’s request, at the same time as it gives to its directors,
        copies of all materials (other than minutes) that any Obligor provides to its directors in connection
        with meetings of the Board of Directors and that are relevant to the Administrative Agent in its
        capacity as such; provided, however, that such Obligor shall not be required to provide the materials
        described in this Section 7.1(f) to the extent the information is privileged or pertains to confidential
        information of any third parties; and



                  (g)    promptly, such additional financial and other information regarding the operations,
        business affairs and financial condition of the Parent or any Subsidiary as the Administrative Agent
        (for its own account or upon the request from any Lender) may from time to time reasonably request
        to the extent such additional financial or other information is reasonably available to, or can be
        reasonably obtained by, the Parent.

        All such financial statements and deliverables shall be prepared in reasonable detail and in
accordance with GAAP applied consistently throughout the periods reflected therein and with prior periods
(except as disclosed therein and for customary year-end adjustments and the absence of complete
footnotes).



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        The Obligors shall not make any change in their (a) accounting policies or reporting practices,
except as required by GAAP or (b) fiscal years or fiscal quarters. The fiscal year of the Obligors shall end
on December 31. Each of the Administrative Agent and the Lenders hereby acknowledges and agrees that
the materials described in this Section 7.1 will contain material non-public and confidential information of
the Obligors and their Affiliates and the Administrative Agent, the Lenders and their respective Affiliates
and representatives shall abide by all confidentiality terms applicable under this Agreement and any
confidentiality and nondisclosure agreements among the parties hereto.

         All Financial Statements and other information required to be delivered pursuant to this Section 7.1
shall be sent via e-mail to provided, that if email is not available or sending such Financial Statements via
e-mail is not possible, they shall be mailed to the Administrative Agent at 1180 San Carlos Avenue, #717,
San Carlos, CA 94070 (Attention: Barbara Hager) with a copy to Goodwin Procter LLP at Three
Embarcadero Center 28th floor, San Francisco, CA 94111 (Attention: Jon Novotny, Esq.). Notwithstanding
the foregoing, the filing of any financial statements or reports required to be furnished pursuant to this
Section 7.1 pursuant to the SEC’s “EDGAR” system (or any successor electronic filing system) shall be
deemed to constitute “furnishing” such documents to the Administrative Agent for purposes of this Section
7.1.

         7.2     Management Rights and Inspections. The Obligors shall permit any representative that the
Administrative Agent authorizes, including such representative’s attorneys and accountants, to meet with
any member of management of any Obligor, meet with each Obligor’s independent certified public
accountants to the extent permitted by the internal policies of such independent certified public accountants
upon reasonable notice and at such reasonable times during normal business hours, conduct site visits and
inspect the Collateral provided, that so long as no Default or Event of Default has occurred and is
continuing, the Obligors shall not be responsible for paying the expenses of the Administrative Agent or
any Lender for more than one site visit, inspection, management meeting and examination in any six-month
period; provided such cost restriction shall not be deemed a restriction on the number of site visits,
inspections, management meetings and examinations the Administrative Agent or any Lender may require.
In addition, the Obligors will, upon request by the Administrative Agent, and at the expense of the Obligors,
have an independent appraiser reasonably satisfactory to the Administrative Agent provide an appraisal of
the Obligors’ Intellectual Property or such subset thereof as determined by the Administrative Agent;
provided, that so long as no Default or Event of Default has occurred and is continuing, the Obligors shall
not be responsible for paying the expenses for more than one appraisal in any one-year period; provided,
further, that such cost restriction shall not be deemed a restriction on the number of appraisals the
Administrative Agent or any Lender may require. In addition, the Obligors shall permit any representative
that the Administrative Agent authorizes, including such representative’s attorneys and accountants, to
examine and make copies and abstracts of the books of account and records of the Obligors or any
Subsidiary applicable to the Loan Documents or the Collateral at reasonable times and upon reasonable
notice during normal business hours. In addition, any such representative shall have the right to meet with
management and officers of the Obligors or any Subsidiary to discuss such books of account and records
at reasonable times and upon reasonable notice during normal business hours. In addition, the
Administrative Agent shall be entitled at reasonable times and intervals to consult with and advise the
management and officers of the Obligors or any Subsidiary concerning significant business issues affecting
the Obligors. Such consultations shall not unreasonably interfere with the Obligors’ business operations.
Except as expressly provided herein, any and all visits, inspections, examinations and appraisals made while
an Event of Default is continuing shall be at Obligors’ sole cost and expense. The parties intend that the
rights granted to the Administrative Agent shall constitute “management rights” within the meaning of 29
C.F.R. Section 2510.3-101(d)(3)(ii), but that any advice, recommendations or participation by the
Administrative Agent with respect to any business issues shall not be deemed to give the Administrative
Agent, nor be deemed an exercise by the Administrative Agent of, control over Obligor’s management or
policies.

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         7.3      Further Assurances. The Obligors at the request of the Administrative Agent shall from
time to time (a) execute, deliver and file, alone or with the Administrative Agent, any financing statements,
security agreements, collateral assignments, notices, control agreements, or other documents to perfect or
give the highest priority to the Administrative Agent’s Lien on the Collateral (other than the Liens set forth
in clauses (ii), (iii), (iv), (v), (vi), (vii), (x) or (xii) of the definition of Permitted Liens), (b) procure any
instruments or documents as may be requested by the Administrative Agent, and take all further action that
may be necessary or desirable, or that the Administrative Agent may reasonably request, to perfect and
protect the Liens granted hereby and thereby. In addition, and for such purposes only, the Obligors hereby
authorize the Administrative Agent to execute and deliver on behalf of the Obligors and to file such
financing statements, collateral assignments, notices, control agreements, security agreements and other
documents without the signature of an Obligor either in the Administrative Agent’s name or in the name of
the Administrative Agent as agent and attorney-in-fact for such Obligor. The Obligors shall protect and
defend such Obligor’s title to the Collateral and the Administrative Agent’s Lien thereon against all Persons
claiming any interest adverse to any Obligor or the Administrative Agent other than Permitted Liens.

        7.4      Indebtedness; Amendments.

                The Obligors shall not and shall not permit any Subsidiary to: (a) create, incur, assume,
        guarantee or be or remain liable with respect to any Indebtedness, other than Permitted
        Indebtedness; (ii) pay any principal, fees or interest on any Indebtedness other than scheduled or
        mandatory payments of principal, fees and interest on Permitted Indebtedness when due in
        accordance with the terms of such Indebtedness as at the Restatement Date, subject to any
        amendments permitted by this Agreement ; and (iii) other than to amend or modify any Loan
        Document, amend, restate, reform, supplement or otherwise modify (x) any documents or notes
        evidencing any Indebtedness (other than the DSM Note Documents) in any manner which imposes
        materially more burdensome terms upon any Obligor or its Subsidiaries than exist with respect to
        such Indebtedness prior to such amendment or modification without the prior written consent of
        the Administrative Agent, and (y) the DSM Note Documents from the form delivered to the
        Administrative Agent pursuant to Section 4.1, without the prior written consent of the
        Administrative Agent.

        7.5      Collateral; Liens Generally.

                 (a)     The Obligors shall at all times keep the Collateral free and clear from any legal
        process or Liens whatsoever (except for Permitted Liens), and shall give the Administrative Agent
        prompt written notice of any legal process affecting the Collateral or any Liens. The Obligors shall
        (i) protect and defend their title to the Collateral from and against all Persons claiming any interest
        adverse to such Obligor, and (ii) at all times keep their rights in the Collateral free and clear from
        any legal process or Liens whatsoever (except for Permitted Liens), and (iii) give the
        Administrative Agent prompt written notice of any legal process affecting their rights in the
        Collateral.

                 (b)     The Obligors shall not, and shall not permit any of their Subsidiaries to, (i) create,
        incur, assume or permit to exist any Lien or legal process on any of its properties or assets, whether
        now owned or acquired after the Closing Date, other than Permitted Liens or (ii) become a party to
        any agreement, note, indenture or instrument, or take any other action, which would prohibit the
        creation of a Lien on any of its properties or other assets in favor of the Administrative Agent as
        additional collateral for the Secured Obligations, other than the DSM Security Agreement, in the
        form delivered to the Administrative Agent under Section 4.1.



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                 (c)     The Obligors shall, , and shall cause their Subsidiaries to (i) keep the Excluded
        Intellectual Property free and clear or any legal process or Liens (except for Permitted Liens and
        the agreements and licenses referenced in the definition of Excluded Intellectual Property and the
        other rights granted thereunder to the other parties thereto), and (ii) protect and defend such
        Obligor’s or such Subsidiary’s title to the Excluded Intellectual Property from and against all
        Persons claiming any interest adverse to such Obligor or such Subsidiary.

       7.6      Investments. No Obligor shall directly or indirectly acquire or own, or make any
Investment in or to any Person, or permit any of its Subsidiaries so to do, other than Permitted Investments.

         7.7      Distributions. The Obligors shall not, and shall not allow any Subsidiary to, (a) repurchase
or redeem any class of stock or other equity interest other than pursuant to employee, director or consultant
repurchase plans or other similar agreements or make any payment on account of, or set apart assets for a
sinking or other analogous fund for, the purchase, redemption, defeasance, retirement or other acquisition
or (b) declare or pay any cash dividend or make a cash distribution on any class of stock or other equity
interest other than except that a Subsidiary may pay dividends or make distributions to any Obligor (or, in
the case of a Foreign Subsidiary that is not an Obligor, to a parent company that is a direct or indirect wholly
owned Subsidiary of any Obligor), or (c) lend money to any employees, officers or directors or guarantee
the payment of any such loans granted by a third party, or (d) waive, release or forgive any Indebtedness
owed by any employees, officers or directors, or (e) pay any earn-out or deferred consideration.
Notwithstanding the foregoing, for as long as an Obligor (or any Subsidiary) is a member of a group
obligated to pay taxes on a consolidated or similar basis, such Obligor (or any Subsidiary) may pay
dividends or make distributions in an amount sufficient to allow the parent of such group to pay taxes
attributable to such Obligor (or Subsidiary).
         7.8      Transfers. Except for Permitted Transfers, Permitted Liens and Permitted Investments, the
Obligors shall not, and shall not allow any Subsidiary to, voluntarily or involuntarily transfer, sell, lease,
license, lend, dispose of or in any other manner convey any equitable, beneficial or legal interest in any of
their assets (each, a “Transfer”).

         7.9     Mergers or Acquisitions. No Obligor shall or permit any of its Subsidiaries to (a)
amalgamate, liquidate, wind up, dissolve itself (or suffer any liquidation or dissolution), merge or
consolidate, with or into any other business organization (other than amalgamations, mergers or
consolidations of (i) into another Subsidiary which is not an Obligor or into an Obligor or (ii) an Obligor
which is not a Domestic Subsidiary into another Obligor which is not a Domestic Subsidiary), or (iii) any
liquidation or dissolution of a Subsidiary which is not an Obligor with the prior written consent of the
Administrative Agent, or (b) acquire, or permit any of its Subsidiaries to acquire, all or substantially all of
the Capital Stock or property of another Person other than in connection with a transaction permitted by
Section 7.9(a), in each case without the prior written consent of the Administrative Agent.

        7.10     Taxes.

                 (a)     Each Obligor and its Subsidiaries shall pay when due all Taxes, fees or other
        charges of any nature whatsoever (together with any related interest or penalties) now or hereafter
        imposed or assessed against (i) the Administrative Agent or any Lender and related to, or in
        connection with, any of the transactions contemplated hereby or by other Loan Documents (other
        than taxes imposed on or measured by the net income of the Administrative Agent or any Lender),
        subject to reasonable notification thereof by the Administrative Agent or any Lender, and (ii) such
        Obligor or the Collateral or upon such Obligor’s ownership, possession, use, operation or
        disposition thereof or upon such Obligor’s rents, receipts or earnings arising therefrom. Each
        Obligor shall file, and shall procure that each of its Subsidiaries shall, on or before the due date
        therefor all personal property tax returns in respect of the Collateral. Notwithstanding the

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        foregoing, each Obligor may contest, in good faith and by appropriate proceedings, Taxes for
        which such Obligor maintains adequate reserves therefor in accordance with GAAP.

                  (b)      Any payments by or on account of any obligation of any Obligor under any Loan
        Document shall be made without deduction or withholding for any Taxes, except as required by
        applicable law. If any applicable law (as determined in the good faith discretion of an applicable
        withholding agent) requires the deduction or withholding of any Tax from any such payment by a
        withholding agent, then the applicable withholding agent shall be entitled to make such deduction
        or withholding and shall timely pay the full amount deducted or withheld to the relevant
        Governmental Authority in accordance with applicable law and, if such Tax is an Indemnified Tax,
        then the sum payable by such Obligor shall be increased as necessary so that after such deduction
        or withholding has been made (including such deductions and withholdings applicable to additional
        sums payable under this Section 7.10) the applicable recipient receives an amount equal to the sum
        it would have received had no such deduction or withholding been made. Each Obligor shall timely
        pay to the relevant Governmental Authority in accordance with applicable law any Other Taxes.
        Each Obligor shall indemnify the Administrative Agent or such Lender within ten days after
        demand therefor, for the full amount of any Indemnified Taxes (including Indemnified Taxes
        imposed or asserted on or attributable to amounts payable under this Section 7.10) payable or paid
        by the Administrative Agent or such Lender or required to be withheld or deducted from a payment
        to the Administrative Agent or such Lender and any reasonable expenses arising therefrom or with
        respect thereto, whether or not such Indemnified Taxes were correctly or legally imposed or
        asserted by the relevant Governmental Authority. A certificate as to the amount of such payment
        or liability delivered to the Obligors by the Administrative Agent or such Lender shall be conclusive
        absent manifest error.

        7.11     Corporate Changes; Maintenance and Conduct of Business; Capital Structure.

                 (a)      No Obligor shall change its corporate name, legal form or jurisdiction of formation
        without at least 20 days’ prior written notice to the Administrative Agent. No Obligor shall relocate
        its chief executive office or its principal place of business unless: (i) it has provided prior written
        notice to the Administrative Agent; and (ii) such relocation shall be within the continental United
        States.

                 (b)     No Obligor shall relocate any item of Collateral (other than (x) sales of Inventory
        in the ordinary course of business, (y) relocations of Equipment having an aggregate value for all
        Obligors of up to $150,000 (or its equivalent in other currencies) in any fiscal year, and (z)
        relocations of Collateral from a location described on Exhibit B to another location described on
        Exhibit B) unless (i) it has provided prompt written notice to the Administrative Agent, (ii) such
        relocation is within the continental United States, and (iii) if such relocation is to a third party
        bailee, it has delivered a bailee agreement in form and substance reasonably acceptable to the
        Administrative Agent.

                  (c)     Each Obligor shall, and shall cause its Subsidiaries to (i) maintain, preserve and
        protect, in all material respects, all of its material tangible assets and properties used or useful in
        the conduct of its business, and (ii) keep the same in good repair, working order and condition in
        all material respects (taking into condition ordinary wear and tear, casualty and condemnation) and
        (iii) from time to time make, or cause to be made, all necessary or appropriate repairs, replacements
        and improvements thereto).

                (d)     Without the prior written consent of the Administrative Agent, no Obligor shall,
        and shall not permit any of its Subsidiaries to, engage in any business other than the businesses

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        currently engaged in by it and any business or business activities reasonably incidental or related
        thereto, or any business or activity that is reasonably similar, complementary thereto or a reasonable
        extension thereof.

                (e)     No Obligor shall make any change in its form of organization or capital structure
        without providing the Administrative Agent at least five Business Days’ prior written notice.

                 (f)      Each Obligor will maintain its, and shall cause all of its Subsidiaries to maintain
        their, legal existence and good standing in their respective jurisdictions of formation and maintain
        qualification in each jurisdiction in which the failure to so qualify would reasonably be expected to
        have a material adverse effect on such Obligor’s business or results of operations.

       7.12    Deposit Accounts. No Obligor shall maintain any Deposit Accounts, or accounts holding
Investment Property, except with respect to which the Administrative Agent has an Account Control
Agreement.

        7.13     Subsidiaries. The Obligors shall notify the Administrative Agent of each Subsidiary
formed or incorporated subsequent to the Closing Date, and, within 30 days of such formation or
incorporation, shall cause any such Subsidiary to execute and deliver to the Administrative Agent a Joinder
Agreement and such other documentation and opinions as the Administrative Agent may require.

        7.14   Notification of Default or Event of Default. The Obligors shall notify the Administrative
Agent immediately in writing via email and by telephone pursuant to Section 10.2 after any Obligor
acquires knowledge of any breach or Default in the performance of any covenant or Secured Obligation
under this Agreement, any Loan Document or any other agreement between any Obligor and the
Administrative Agent, or the occurrence of any Event of Default.

        7.15     [Reserved]



        7.16     [Reserved].

        7.17     Books and Records. Each Obligor shall, and shall cause each of its Subsidiaries to, keep
adequate books and records with respect to its material business activities in which proper entries, reflecting
all bona fide material financial transactions, are made in accordance with GAAP in all material respects (it
being understood and agreed that any Subsidiary may maintain its individual books and records in
conformity with local standards or customs and that such maintenance shall not constitute a breach of the
representations, warranties or covenants hereunder).

          7.18    Compliance with Laws and Organizational Documents; Maintenance of Licenses. Without
limiting any other provision of this Agreement, each Obligor shall, and shall cause each of its Subsidiaries
to, (a) comply in all respects with all Laws applicable to it except to the extent that the failure to comply,
individually or in the aggregate, could not reasonably be expected to have a Material Adverse Effect and
comply in all material respects with the terms of all organizational documents applicable to it, (b) obtain
and maintain all material licenses, permits, certifications, franchises, consents and governmental
authorizations and approvals necessary to own its property and to conduct its business as conducted on the
Closing Date, except to the extent failure to obtain and maintain, individually or in the aggregate, could not
reasonably be expected to have a Material Adverse Effect, (c) (i) preserve, renew and keep in full force and
effect its organizational existence and (ii) take all reasonable action to maintain or obtain all Governmental
Approvals and all other rights, privileges and franchises necessary or desirable in the normal conduct of its

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business or necessary for the performance by such Person of its Secured Obligations under any Loan
Document, except, in the case of clause (ii) above, to the extent that failure to do so would not reasonably
be expected to have a Material Adverse Effect; (d) comply with all Governmental Approvals, and any term,
condition, rule, filing or fee obligation, or other requirement related thereto, except to the extent that failure
to do so would not reasonably be expected to have a Material Adverse Effect and the terms of all
organizational documents applicable to it; (e) conduct its business in compliance with the economic and
trade sanctions administered by OFAC, the U.S. State Department and any other applicable governmental
authority, the FCPA and all other applicable anti-corruption laws, and maintain policies and procedures
reasonably designed to promote and achieve compliance with such laws; and (f) not amend or permit any
amendments to its organizational documents, if such amendment would impair the rights and remedies
available to the Administrative Agent under the Loan Documents or the Liens contemplated thereby, or
otherwise be materially adverse, take as a whole, to the interests of the Administrative Agent or the Lenders.

        7.19     Intellectual Property.

                 (a)      Subject to the following sentence, with respect to each item of its Intellectual
        Property, each Obligor agrees to take, at its expense, all steps requested by the Administrative
        Agent, including in the U.S. Patent and Trademark Office, the U.S. Copyright Office and any other
        Governmental Authority, to (i) maintain each issued or registered item of Intellectual Property that
        exists at or after the Closing Date in full force and effect and maintain the Intellectual Property in
        full force and effect, and (ii) pursue the issuance, registration and maintenance of each Patent,
        Trademark, or Copyright registration or application, now or hereafter included in such Intellectual
        Property. No Obligor will, without the written consent of the Administrative Agent, discontinue
        use of or otherwise abandon any Intellectual Property, or abandon any right to file an application
        for Patent, Trademark registration, or Copyright registration, other than any lapse, abandonment,
        cancellation, non-renewal or discontinuance of use or maintenance of intellectual property (or
        rights relating thereto) of any Obligor that (i) such Obligor determines in good faith is no longer
        desirable in the conduct of its business and (ii) is not materially disadvantageous to the interests of
        the Administrative Agent or any of the Lenders.

                 (b)      Each Obligor agrees to promptly notify the Administrative Agent if such Obligor
        becomes aware (i) that any item of the Intellectual Property, that is the subject of an issued Patent,
        registered Copyright or Trademark, or an application for any of the foregoing, may have become
        abandoned, been placed in the public domain, or been deemed invalid or unenforceable, (ii) of any
        adverse determination or development regarding such Obligor’s ownership of any of the
        Intellectual Property or its right to register the same or to keep and maintain and enforce the same,
        or (iii) of any adverse determination or the institution of any proceeding (including, without
        limitation, the institution of any proceeding in the U.S. Patent and Trademark Office or any court,
        but excluding activities in the ordinary course of prosecution) regarding any item of the Intellectual
        Property, in each case of clauses (i), (ii) and (iii) above, unless the applicable Obligor shall have
        determined that such event would not be reasonably likely to materially adversely affect the rights
        or benefits of the Administrative Agent or any of the Lenders.

                 (c)     In the event that an Obligor becomes aware that any item of the Intellectual
        Property that is owned by or exclusively licensed to any Obligor is being infringed or
        misappropriated by a third party, the Obligor that owns or is exclusively licensed such item of
        Intellectual Property shall take such actions (if any), at its expense, as such Obligor deems
        reasonable and appropriate under the circumstances to protect or enforce such Intellectual Property,
        including, without limitation, suing for infringement or misappropriation and for an injunction
        against such infringement or misappropriation.


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                 (d)      Each Obligor will use proper statutory notice in connection with its use of each
        item of its Intellectual Property. No Obligor will do or permit any act or knowingly omit to do any
        act whereby any of its Intellectual Property may lapse or become invalid or unenforceable or be
        placed in the public domain other than any lapse, invalidity or unenforceability of intellectual
        property (or rights relating thereto) of any Obligor that (i) such Obligor determines in good faith is
        no longer desirable in the conduct of its business and (ii) is not materially disadvantageous to the
        interests of the Administrative Agent or any of the Lenders.

                 (e)    Each Obligor will take all steps which it deems reasonable and appropriate under
        the circumstances to preserve and protect each item of its Intellectual Property, including, without
        limitation, maintaining the quality of any and all products or services used or provided in
        connection with any of the Trademarks, consistent with the quality of the products and services as
        of the date hereof, and taking all steps necessary to ensure that all licensed users of any of the
        Trademarks use such consistent standards of quality.

                  (f)     Each Obligor agrees that should it obtain an ownership interest in any item of the
        type that falls within the definition of Collateral IP that is not on the Closing Date a part of the
        Collateral IP (“After-Acquired Intellectual Property”) (i) the provisions of this Agreement will
        automatically apply thereto, and (ii) any such After-Acquired Intellectual Property and, in the case
        of Trademarks, the goodwill symbolized thereby, shall automatically become part of the Collateral
        IP subject to the terms and conditions of this Agreement and the Security Documents with respect
        thereto. Within 15 days after the end of each fiscal quarter each Obligor shall (A) give written
        notice to the Administrative Agent identifying the After-Acquired Intellectual Property acquired
        during such fiscal quarter, and (B) execute and deliver to the Administrative Agent, or otherwise
        authenticate, an IP Security Agreement substantially in the form of the IP Security Agreement
        delivered on or about the Closing Date or otherwise in form and substance satisfactory to the
        Administrative Agent covering such After-Acquired Intellectual Property and such IP Security
        Agreement shall be recorded by each applicable Obligor with the U.S. Patent and Trademark
        Office, the U.S. Copyright Office and any other governmental authorities necessary to perfect the
        security interest hereunder and under the Security Documents in such After-Acquired Intellectual
        Property where such recording will be within 15 days after notice from the Administrative Agent
        of its satisfaction with such IP Security Agreement .

        7.20    Environmental Matters; Hazardous Material. Each Obligor shall and shall procure that
each of its Subsidiaries shall (a) comply with all applicable Environmental Laws, and obtain and comply
with and maintain any and all licenses, approvals, notifications, registrations or permits required by
applicable Environmental Laws, except for any such non-compliance or failure to obtain that could not
reasonably be expected to result in a Material Adverse Effect, (b) conduct its operations and keep and
maintain all Real Estate in compliance with all Environmental Laws, other than noncompliance which could
not reasonably be expected to have a Material Adverse Effect; (c) promptly take any and all actions
necessary to cure any violation of applicable Environmental Laws by such Obligor or any of its Subsidiaries
that could reasonably be expected to have a Material Adverse Effect, and (d) notify the Administrative
Agent promptly after such Obligor becomes aware of any violation of Environmental Laws which is
reasonably likely to have a Material Adverse Effect.

         7.21     Lender Calls. As requested by the Administrative Agent or any Lender, at dates and times
(during the applicable requested week) reasonably agreed by the Parent and the Administrative Agent, the
Parent shall make its senior management, financial advisor, investment bank, if any, and counsel available
via teleconference to discuss the financial position, Cash flows, variances and operations of the Parent and
its Subsidiaries.


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        7.22    Other Reports. The Obligors shall deliver or cause to be delivered to the Administrative
Agent, the following:

                (a)       promptly after any officer of any Obligor obtains knowledge of the commencement
        of any of the following, written notice in reasonable detail of any Litigation commenced or
        threatened in writing against such Obligor or any Subsidiary of such Obligor that (i) would
        reasonably be expected to result in damages in excess of $500,000 (or its equivalent in other
        currencies), (ii) seeks material injunctive relief, where such relief could reasonably be expected to
        have a Material Adverse Effect, or (iii) alleges criminal misconduct of an Obligor or any of its
        Subsidiaries, which alleged misconduct could reasonably be expected to have a Material Adverse
        Effect;

                (b)     promptly after any officer of any Obligor obtains knowledge of the receipt by any
        Obligor of any written notice of violation of or potential liability or similar written notice under
        any applicable Law or other development, occurrence or violation that would reasonably be
        expected either to result in liabilities in excess of $500,000 (or its equivalent in other currencies)
        or have a Material Adverse Effect;

                  (c)     at the time of delivery of each of the financial reports required by Section 7.1(a), a
        list of any applications for the registration of any Patent, Trademark or Copyright within the United
        States Patent and Trademark Office, the United States Copyright Office or any similar office or
        agency which an Obligor has filed in the prior fiscal quarter; and

                (d)     such reports, notices or other documentation required to be provided pursuant to
        Section 7.23(c) and copies of all environmental reports, reviews and audits in an Obligor’s
        possession pertaining to actual or potential Environmental Liabilities that would reasonably be
        expected to have a Material Adverse Effect on any Obligor or its Subsidiaries.

        7.23     No Speculative Transactions. No Obligor shall, and shall not permit any of its Subsidiaries
to, engage in any transaction involving commodity options, futures contracts or similar transactions, other
than foreign currency exchange hedging transactions in the ordinary course of business consistent with past
practice.

        7.24    Post Closing. The Obligors shall deliver to the Administrative Agent the documents and
other evidence set out in Schedule 7.24 on or before the dates set out in such Schedule, in each case in form
and substance satisfactory to the Administrative Agent.



SECTION 8.       EVENTS OF DEFAULT

        Any one or more of the following events shall be an “Event of Default”:

        8.1      Payments. Any Obligor fails to (a) pay any principal or interest on any Advance on its
due date, or (b) pay any other amount due under any Loan Document within three Business Days after its
due date whether scheduled, upon acceleration or otherwise; or

         8.2    Covenants. Any Obligor breaches or defaults in the performance of any provision of any
Loan Document (other than Section 8.1) or any other agreement between any Obligor and the Secured
Parties and such default continues for more than five Business Days; or



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      8.3      Representations. Any representation or warranty made by any Obligor in any Loan
Document shall have been untrue or incorrect in any material respect when made or deemed made; or

         8.4      Insolvency. (i) any Group Member shall commence any case, proceeding or other action
(A) under any Bankruptcy Law, seeking to have an order for relief entered with respect to it, or seeking to
adjudicate it a bankrupt or insolvent, or seeking reorganization, arrangement, adjustment, winding-up,
liquidation, dissolution, composition or other relief with respect to it or its debts, or (B) seeking appointment
of a receiver, trustee, custodian, conservator, judicial manager or other similar official for it or for all or
any substantial part of its assets, or any Group Member shall make a general assignment for the benefit of
its creditors; or (ii) there shall be commenced against any Group Member any case, proceeding or other
action of a nature referred to in clause (i) above that (A) results in the entry of an order for relief or any
such adjudication or appointment or (B) remains undismissed, undischarged or unbonded for a period of
sixty (60) days; or (iii) there shall be commenced against any Group Member any case, proceeding or other
action seeking issuance of a warrant of attachment, execution, distraint or similar process against all or any
substantial part of its assets that results in the entry of an order for any such relief that shall not have been
vacated, discharged, or stayed or bonded pending appeal within sixty (60) days from the entry thereof; or
(iv) any Group Member shall take any action in furtherance of, or indicating its consent to, approval of, or
acquiescence in, any of the acts set forth in clauses (i), (ii), or (iii) above; or (v) any Group Member shall
generally not, or shall be unable to, or shall admit in writing its inability to, pay its debts as they become
due, subject to applicable grace periods, if any; or

         8.5      Attachments; Judgments. If (i) any portion of any Group Member’s assets are attached or
seized, or a levy is filed against any such assets, or a judgment or judgments is/are entered for the payment
of money, individually or in the aggregate, of at least $250,000 (or its equivalent in other currencies), or
any Group Member is enjoined or in any way prevented by court order from conducting any part of its
business; or (ii) there shall be commenced against any Group Member any case, proceeding or other action
seeking issuance of a warrant of attachment, execution, distraint or similar process against all or any
substantial part of its assets that results in the entry of an order for any such relief that shall not have been
vacated, discharged or stayed or bonded pending appeal within 60 days from the entry thereof; or (iii) any
court order enjoins, restrains or prevents a Group Member from conducting all or any material part of its
business; or

        8.6      Other Obligations. The occurrence of any default or breach under any agreement or
obligation of any Group Member involving any Indebtedness in excess of $500,000 (or its equivalent in
other currencies) other than under the Loan Documents, or receipt of written notice of the occurrence of
any default or breach under any other agreement or obligation of any Group Member with annual payments
or receipts in excess of $500,000 , which, in the case of such default or breach, is not cured within any
applicable grace or cure period; or

         8.7     Loan Documents. If (a) (i) the guaranty set forth in Section 11 ceases to be in full force
and effect for any reason whatsoever, including, without limitation, a determination by any Governmental
Authority that this Agreement is invalid, void or unenforceable or (ii) any Obligor or any Person acting on
behalf of such Obligor shall contest in any manner the validity, binding nature or enforceability of any Loan
Document or (iii) the obligations of any Obligor under any Loan Document are not or cease to be (or any
Obligor or any Person on behalf of any Obligor shall assert that they are not) legal, valid, binding and
enforceable in accordance with the terms of such Loan Document, or (b) any Security Document shall cease
to be (or any Obligor or any Person on behalf of any Obligor shall assert that they are not) in full force and
or any security interest purported to be created by any Loan Document shall cease to be, or shall be asserted
in writing by any Obligor or any Person on behalf of any Obligor not to be, a valid, perfected, security
interest in any material portion of the Collateral covered thereby .


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       8.8      Change in Control. The occurrence of any Change in Control without the prior written
approval of the Administrative Agent; or

         8.9      Invalidity. Any material provision of any Loan Document shall for any reason cease to be
valid, binding and enforceable in accordance with its terms (or any Obligor or Subsidiary of an Obligor
shall challenge in writing the enforceability of any Loan Document or shall assert in writing, or engage in
any action or inaction based on any such assertion, that any provision of any of the Loan Documents has
ceased to be or otherwise is not valid, binding and enforceable in accordance with its terms), or any security
interest created under any Loan Document shall cease to be a valid and perfected (subject only to Permitted
Liens) security interest or Lien (except as otherwise permitted herein or therein) in any material portion of
the Collateral purported to be covered thereby, except to the extent that any such loss of perfection or
priority results from any action or inaction of the Administrative Agent or any Lender; or

         8.10     Subordination Provisions. If (a) any provision of any subordination or intercreditor
agreement, document or instrument governing any Subordinated Indebtedness or any Indebtedness that is
secured by Liens that have been contractually subordinated to the Liens securing the Secured Obligations
(together, “Subordination Arrangements”) shall for any reason be revoked or invalidated, or otherwise cease
to be in full force and effect (other than in accordance with the express terms thereof), or (b) any Person
shall contest in any manner the validity or enforceability of such Subordination Arrangements or any
Person shall deny that it has any further liability or obligation thereunder, or (c) any party to any
Subordination Arrangements (other than the Administrative Agent or any Lender) shall fail to comply with
the provisions of, does not perform its obligations under, any such Subordination Arrangements; or

        8.11     Security Documents. Subject to any limitations expressly set forth herein and the
exceptions set forth in the applicable Security Documents:

                 (a)      any of the Security Documents shall cease, for any reason (other than by reason of
        the express release thereof in accordance with the terms thereof or hereof) to be in full force and
        effect or shall be asserted in writing by any Obligor not to be a legal, valid and binding obligation
        of any party thereto;

                 (b)     any security interest purported to be created by any Security Document with
        respect to any of the Collateral shall cease to be, or shall be asserted in writing by any Obligor not
        to be, a valid and perfected security interest (having the priority required by this Agreementor the
        relevant Security Document) in the securities, assets or properties covered thereby, except to the
        extent that any such loss of perfection or priority results from limitations of foreign laws, rules and
        regulations as they apply to pledges of Capital Stock in Foreign Subsidiaries or the application
        thereof;

                (c)     the Guarantied Obligations pursuant to the Loan Documents by any Obligor of
        any of the Secured Obligations shall cease to be in full force and effect (other than in accordance
        with the terms hereof or thereof), or such Guarantied Obligations shall be asserted in writing by
        any Obligor not to be in effect or not to be legal, valid and binding obligations;

                 (d)     any security interest purported to be created by the any Security Document with
        respect to any of the Collateral shall cease to be, or shall be asserted in writing by any Obligor not
        to be, a valid and perfected security interest (having the priority required by this Agreement or the
        relevant Security Document) in the securities, assets or properties covered thereby;

                (e)     the Guarantied Obligations pursuant to the Security Documents by any Obligor of
        any of the Secured Obligations shall cease to be in full force and effect (other than in accordance

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        with the terms hereof or thereof), or such Guarantee Obligations shall be asserted in writing by any
        Obligor not to be in effect or not to be legal, valid and binding obligations;

SECTION 9.       REMEDIES

        9.1      General.

                 (a)      Upon the occurrence and during the continuance of any Event of Default the
        Administrative Agent may (or, at the direction of the Required Lenders, shall), deliver a written
        notice to the Parent that the Commitment of each Lender is terminated; declare all or any portion
        of the unpaid principal amount of all outstanding Advances, all interest accrued and unpaid thereon,
        all fees and all other amounts owing or payable hereunder or under any other Loan Document to
        be immediately due and payable; terminate the Loan Documents as to any future liabilities or
        obligations of the Secured Parties each without presentment, demand, protest or other notice of any
        kind, all of which are hereby expressly waived by each Obligor.

                 (b)      Upon the occurrence and during the continuance of any Event of Default the
        Administrative Agent may, at the direction of the Required Lenders , (i) freeze monies or balances
        in the Obligors’ Deposit Accounts and securities accounts and sweep all funds contained in such
        accounts for application in accordance with Section 9.2; (ii) immediately set-off any and all
        amounts in accounts maintained by the Obligors with Administrative Agent or the Lenders against
        the Secured Obligations, or otherwise enforce any and all rights against the Collateral in the
        possession of Administrative Agent or any of the Lenders, including, without limitation, disposition
        of the Collateral solely for application towards the Secured Obligations; (iii) sell all or substantially
        all of the Obligors’ assets ; (iv) immediately commence the sale of all or substantially all of the
        Collateral and the Obligors and their advisors will cooperate therewith, including by delivering an
        updated Budget that contemplates the liquidation of all of the Obligors’ assets in form and
        substance acceptable to the Required Lenders; and (v) take any other actions or exercise any other
        rights or remedies permitted under the Loan Documents, applicable non-Bankruptcy Law, or
        otherwise.


          9.2      Collection; Foreclosure. Upon the occurrence and during the continuance of any Event of
Default, , the Administrative Agent shall at the request of the Required Lenders at any time or from time to
time, apply, collect, liquidate, sell in one or more sales, lease or otherwise dispose of, any or all of the
Collateral, in its then condition or following any commercially reasonable preparation or processing, in
such order as the Administrative Agent may elect. Any such sale may be made either at public or private
sale at its place of business or elsewhere. The Obligors agree that any such public or private sale may occur
upon ten calendar days’ prior written notice to the Obligors. The Administrative Agent may require the
Obligors to assemble the Collateral and make it available to the Administrative Agent at a place designated
by the Administrative Agent that is reasonably convenient to the Administrative Agent and the Obligors.
The proceeds of any sale, disposition or other realization upon all or any part of the Collateral shall be
applied by the Administrative Agent in the following order of priorities:

                (a)     First, to the Administrative Agent in an amount sufficient to pay in full costs and
        professionals’ and advisors’ fees and expenses as described in Section 10.12;

                 (b)  Second, ratably, to pay any costs and expenses (including cost or expense
        reimbursements) or indemnities then due to any of the Lenders under the Loan Documents, until
        paid in full;


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               (c)     Third, ratably to each DIP Lender to pay the outstanding principal balance of the
        DIP Loan (on a pro rata basis) until the DIP Loan is paid in full;

                (d)     Fourth, ratably to each Exit Lender to pay the outstanding principal balance of the
        Exit Loan (on a pro rata basis) until the Exit Loan is paid in full;

                 (e)     Fifth, to pay any other Secured Obligations; and

                (f)      Finally, after the full, final, and indefeasible payment in Cash of all of the Secured
        Obligations, to any creditor holding a junior Lien on the Collateral, or to such Obligor or its
        representatives or as a court of competent jurisdiction may direct.

The Administrative Agent shall be deemed to have acted reasonably in the custody, preservation and
disposition of any of the Collateral if it complies with the obligations of a secured party under the UCC.

       9.3      Marshalling. In no event shall the Secured Parties be subject to the equitable doctrine of
“marshaling” or any other similar doctrine with respect to the Collateral or the Secured Obligations.

     9.4  Cumulative Remedies. THE RIGHTS, POWERS AND REMEDIES OF THE
ADMINISTRATIVE AGENT HEREUNDER SHALL BE IN ADDITION TO ALL RIGHTS,
POWERS AND REMEDIES GIVEN BY STATUTE OR RULE OF LAW AND ARE
CUMULATIVE. THE EXERCISE OF ANY ONE OR MORE OF THE RIGHTS, POWERS AND
REMEDIES PROVIDED HEREIN SHALL NOT BE CONSTRUED AS A WAIVER OF OR
ELECTION OF REMEDIES WITH RESPECT TO ANY OTHER RIGHTS, POWERS AND
REMEDIES OF THE ADMINISTRATIVE AGENT. MISCELLANEOUS

         10.1    Severability. Whenever possible, each provision of the Loan Documents shall be
interpreted in such manner as to be effective and valid under applicable law, but if any provision of any
Loan Document shall be prohibited by or invalid under such law, such provision shall be ineffective only
to the extent and duration of such prohibition or invalidity, without invalidating the remainder of such
provision or the remaining provisions of such Loan Document.

         10.2    Notice. Except as otherwise provided herein, any notice, demand, request, consent,
approval, declaration, service of process or other communication (including the delivery of Financial
Statements) that is required, contemplated, or permitted under the Loan Documents or with respect to the
subject matter hereof shall be in writing and may be personally served or sent by electronic mail or United
States mail or courier service and shall be deemed to have been given (a) upon the earlier of actual receipt
and three (3) Business Days after deposit in the U.S. mail, first class, registered or certified mail return
receipt requested, with proper postage prepaid; (b) one (1) Business Day after deposit with a reputable
overnight courier with all charges prepaid; or (c) when delivered, if hand-delivered by messenger, all of
which shall be addressed to the party to be notified and sent to the address or email address indicated below,
in each case addressed to the party to be notified as follows (or to such other address as a party to this
Agreement may notify the other parties in writing from time to time):

                 (a)     If to the Administrative Agent:
                         Euagore, LLC
                         Attention: Barbara Hager
                         1180 San Carlos Avenue, #717
                         San Carlos, CA 94070
                         E-mail: amyris@forisventures.com



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                        with a copy (which shall not constitute notice) to:

                        GOODWIN PROCTER LLP
                        Three Embarcadero Center
                        28th Floor
                        San Francisco, CA 94111
                        Attention: Jon Novotny, Esq.
                        Phone: (415) 733-6181
                        Email: jnovotny@goodwinlaw.com


                 (b)    If to the Obligors:

                        AMYRIS, INC.
                        Attention: General Counsel
                        5885 Hollis Street, Suite 100
                        Emeryville, CA 94608
                        Phone: (510) 450-0761
                        Email: generalcounsel@amyris.com

                        with a copy (which shall not constitute notice) to each of:

                        FENWICK & WEST LLP
                        Silicon Valley Center
                        801 California Street
                        Mountain View, CA 94041
                        Attention: David Michaels
                        Phone: (650) 988-8500
                        Email: dmichaels@fenwick.com

                        and to:

                        PACHULSKI STANG ZIEHL & JONES LLP
                        One Sansome Street, Suite 3430
                        San Francisco, CA 94104
                        Attention: Debra Grassgreen
                        Phone: (415) 217-5102
                        Email: dgrassgreen@pszjlaw.com


        or to such other address as each party may designate for itself by like notice.

        10.3     Entire Agreement; Amendments.

                 (a)     This Agreement and the other Loan Documents constitute the entire agreement and
        understanding of the parties hereto in respect of the subject matter hereof and thereof, and supersede
        and replace in their entirety any prior proposals, term sheets, non-disclosure or confidentiality
        agreements, letters, negotiations or other documents or agreements, whether written or oral, with
        respect to the subject matter hereof or thereof.




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(b)      No Loan Document , nor any terms hereof or thereof may be amended, supplemented or modified
except in accordance with the provisions of this Section 10.3(b). The Required Lenders and each Obligor
party to the relevant Loan Document may, or, with the written consent of the Required Lenders, the
Administrative Agent and each Obligor party to the relevant Loan Document may, from time to time, (i)
enter into written amendments, supplements or modifications to any Loan Document to add any provision
to any Loan Documents or change in any manner the rights of the Lenders or of the Obligors thereunder,
or (ii) waive, on such terms and conditions as the Required Lenders or the Administrative Agent, as the
case may be, may specify in such instrument, any of the requirements of any Loan Document or any Default
or Event of Default and its consequences provided that no such waiver and no such amendment, supplement
or modification shall (A) forgive the principal amount or extend the final scheduled date of maturity of any
Loan, reduce the stated rate of any interest (other than a waiver of default interest) or fee payable hereunder
or extend the scheduled date of any payment thereof, or increase the amount or extend the expiration date
of any Lender’s Commitment, in each case without the written consent of each Lender directly affected
thereby, (B) eliminate or reduce the voting rights of any Lender under this Section 10.3(b) without the
written consent of such Lender, (C) reduce any percentage specified in the definition of Required Lenders,
consent to the assignment or transfer by any Obligor of any of its rights and obligations under the Loan
Documents, release all or substantially all of the Collateral or release all or substantially all of the
Guarantors from their obligations under Section 11, in each case without the written consent of all Lenders,
(D) (i) amend, modify or waive the pro rata requirements of Section 2.4 in a manner that adversely affects
DIP Lenders without the written consent of each DIP Lender, or (ii) amend, modify or waive the pro rata
requirements of Sections 2.1(b) or 2.4 in a manner that adversely affects Exit Lenders without the written
consent of each Exit Lender, (E) reduce the percentage specified in the definition of (i) Majority DIP
Lenders without the written consent of all DIP Lenders, or (i) Majority Exit Lenders without the written
consent of all Exit Lenders, (F) amend, modify or waive any provision of Section 12 without the written
consent of the Administrative Agent, (G) amend, modify or waive any provision of Section 3.7 without the
written consent of the Majority DIP Lender, or (H) (i) amend or modify the application of prepayments set
forth in Section 2.5(b) or the application of payments set forth in Section 9.2 in a manner that adversely
affects DIP Lenders without the written consent of the Majority DIP Lenders, or (ii) amend or modify the
application of prepayments set forth in Section 2.5(b) or the application of payments set forth in Section
9.2 in a manner that adversely affects Exit Lenders without the written consent of the Majority Exit Lenders.
Any such waiver and any such amendment, supplement or modification shall apply equally to each of the
Lenders and shall be binding upon the Obligors, the Lenders and the Administrative Agent. In the case of
any waiver, the Obligors, the Lenders and the Administrative Agent shall be restored to their former position
and rights hereunder and under the other Loan Documents, and any Default or Event of Default waived
shall be deemed to be cured during the period such waiver is effective; but no such waiver shall extend to
any subsequent or other Default or Event of Default, or impair any right consequent thereon.

       (c)     The Administrative Agent may, with the consent of the Parent only, amend, modify or
supplement any Loan Document to cure any omission, mistake or defect.



        10.4     No Strict Construction. The parties hereto have participated jointly in the negotiation and
drafting of this Agreement. In the event an ambiguity or question of intent or interpretation arises, this
Agreement shall be construed as if drafted jointly by the parties hereto and no presumption or burden of
proof shall arise favoring or disfavoring any party by virtue of the authorship of any provisions of this
Agreement.

         10.5    No Waiver. The powers conferred upon the Administrative Agent by this Agreement are
solely to protect its rights hereunder and under the other Loan Documents and its interest in the Collateral
and shall not impose any duty upon the Administrative Agent to exercise any such powers. No omission

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or delay by the Administrative Agent at any time to enforce any right or remedy reserved to it, or to require
performance of any of the terms, covenants or provisions hereof by the Obligors at any time designated,
shall be a waiver of any such right or remedy to which the Administrative Agent is entitled, nor shall it in
any way affect the right of the Administrative Agent to enforce such provisions thereafter.

        10.6     Survival. All agreements, representations and warranties contained in this Agreement and
the other Loan Documents or in any document delivered pursuant hereto or thereto shall be for the benefit
of the Administrative Agent and shall survive the execution and delivery of this Agreement and the
expiration or other termination of the Loan Documents.

         10.7     Successors and Assigns. The provisions of this Agreement and the other Loan Documents
shall inure to the benefit of and be binding on the Obligors and their permitted assigns (if any). The Obligors
shall not assign any obligations under this Agreement or any of the other Loan Documents without the
Administrative Agent’s express prior written consent, and any such attempted assignment shall be void and
of no effect. Each Lender may assign, transfer, or endorse its rights hereunder and under the other Loan
Documents without the consent of, or prior notice to, the Obligors (except that such Lender shall notify the
Obligors of an assignment for the limited purpose of recording such assignment in the Register in
accordance with Section 10.13), and all of such rights shall inure to the benefit of such Lender’s successors
and permitted assigns.

      10.8  Governing Law. EXCEPT TO THE EXTENT GOVERNED BY THE BANKRUPTCY
CODE, THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS (UNLESS EXPRESSLY
PROVIDED TO THE CONTRARY IN ANOTHER LOAN DOCUMENT IN RESPECT OF SUCH
OTHER LOAN DOCUMENT) SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAW OF THE STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE AND TO
BE PERFORMED IN THE STATE OF NEW YORK WITHOUT GIVING EFFECT TO THE CONFLICT
OF LAWS PROVISIONS THEREOF (OTHER THAN SECTION 5-1401 AND 5-1402 OF THE NEW
YORK GENERAL OBLIGATIONS LAW).

        10.9     Consent to Jurisdiction and Venue.

              (a)   ANY LEGAL ACTION OR PROCEEDING WITH RESPECT TO THIS
        AGREEMENT OR ANY OTHER LOAN DOCUMENT MAY BE BROUGHT IN THE COURTS
        OF THE STATE OF NEW YORK IN THE COUNTY OF NEW YORK OR OF THE UNITED
        STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK; PROVIDED,
        THAT ANY PROCEEDING SHALL BE BROUGHT FIRST TO THE BANKRUPTCY COURT,
        AND, BY EXECUTION AND DELIVERY OF THIS AGREEMENT, EACH OBLIGOR
        HEREBY IRREVOCABLY ACCEPTS IN RESPECT OF ITS PROPERTY, GENERALLY AND
        UNCONDITIONALLY, THE JURISDICTION OF THE AFORESAID COURTS. EACH
        OBLIGOR HEREBY IRREVOCABLY CONSENTS TO THE SERVICE OF PROCESS OUT OF
        ANY OF THE AFOREMENTIONED COURTS AND IN ANY SUCH ACTION OR
        PROCEEDING BY ANY MEANS PERMITTED BY APPLICABLE LAW, INCLUDING,
        WITHOUT LIMITATION, BY THE MAILING OF COPIES THEREOF BY REGISTERED OR
        CERTIFIED MAIL, POSTAGE PREPAID, TO THE ADMINISTRATIVE BORROWER AT ITS
        ADDRESS FOR NOTICES AS SET FORTH IN SECTION 10.8, SUCH SERVICE TO BECOME
        EFFECTIVE 10 DAYS AFTER SUCH MAILING. THE OBLIGORS AGREE THAT A FINAL
        JUDGMENT IN ANY SUCH ACTION OR PROCEEDING SHALL BE CONCLUSIVE AND
        MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE JUDGMENT OR IN
        ANY OTHER MANNER PROVIDED BY LAW. NOTHING HEREIN SHALL AFFECT THE
        RIGHT OF THE ADMINISTRATIVE AGENT AND THE LENDERS TO SERVICE OF
        PROCESS IN ANY OTHER MANNER PERMITTED BY LAW OR TO COMMENCE LEGAL

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        PROCEEDINGS OR OTHERWISE PROCEED AGAINST ANY OBLIGOR IN ANY OTHER
        JURISDICTION. EACH OBLIGOR HEREBY EXPRESSLY AND IRREVOCABLY WAIVES,
        TO THE FULLEST EXTENT PERMITTED BY LAW, ANY OBJECTION WHICH IT MAY
        NOW OR HEREAFTER HAVE TO THE JURISDICTION OR LAYING OF VENUE OF ANY
        SUCH LITIGATION BROUGHT IN ANY SUCH COURT REFERRED TO ABOVE AND ANY
        CLAIM THAT ANY SUCH LITIGATION HAS BEEN BROUGHT IN AN INCONVENIENT
        FORUM. TO THE EXTENT THAT ANY OBLIGOR HAS OR HEREAFTER MAY ACQUIRE
        ANY IMMUNITY FROM JURISDICTION OF ANY COURT OR FROM ANY LEGAL
        PROCESS (WHETHER THROUGH SERVICE OR NOTICE, ATTACHMENT PRIOR TO
        JUDGMENT, ATTACHMENT IN AID OF EXECUTION OR OTHERWISE) WITH RESPECT
        TO ITSELF OR ITS PROPERTY, EACH OBLIGOR HEREBY IRREVOCABLY WAIVES
        SUCH IMMUNITY IN RESPECT OF ITS OBLIGATIONS UNDER THIS AGREEMENT AND
        THE OTHER LOAN DOCUMENTS.

                (b)      Each Obligor irrevocably and unconditionally agrees that it will not commence
        any action or proceeding of any kind or description, whether in law or equity, whether in contract
        or in tort or otherwise, against any Secured Party of the foregoing in any way relating to this
        Agreement or any other Loan Document or the transactions relating hereto or thereto, in any forum
        other than the Bankruptcy Court.

      10.10 Mutual Waiver of Jury Trial / Judicial Reference. EACH PARTY HERETO HEREBY
WAIVES ANY RIGHT TO A TRIAL BY JURY IN ANY ACTION, PROCEEDING OR
COUNTERCLAIM CONCERNING ANY RIGHTS UNDER THIS AGREEMENT OR THE OTHER
LOAN DOCUMENTS, OR UNDER ANY AMENDMENT, WAIVER, CONSENT, INSTRUMENT,
DOCUMENT OR OTHER AGREEMENT DELIVERED OR WHICH IN THE FUTURE MAY BE
DELIVERED IN CONNECTION THEREWITH, OR ARISING FROM ANY FINANCING
RELATIONSHIP EXISTING IN CONNECTION WITH THIS AGREEMENT, AND AGREES THAT
ANY SUCH ACTION, PROCEEDINGS OR COUNTERCLAIM SHALL BE TRIED BEFORE A COURT
AND NOT BEFORE A JURY.              EACH OBLIGOR CERTIFIES THAT NO OFFICER,
REPRESENTATIVE, AGENT OR ATTORNEY OF THE LENDER OR THE ADMINISTRATIVE
AGENT HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT THE LENDER OR THE
ADMINISTRATIVE AGENT WOULD NOT, IN THE EVENT OF ANY ACTION, PROCEEDING OR
COUNTERCLAIM, SEEK TO ENFORCE THE FOREGOING WAIVERS. EACH OBLIGOR HEREBY
ACKNOWLEDGES THAT THIS PROVISION IS A MATERIAL INDUCEMENT FOR THE LENDER
AND THE ADMINISTRATIVE AGENT ENTERING INTO THIS AGREEMENT.

         10.11 Professional Fees. The Obligors promise to pay the Administrative Agent’s and each
Lender’s fees and expenses necessary to finalize any loan documents, including but not limited to
reasonable attorneys’ fees, UCC searches, filing costs, and other miscellaneous expenses, all as set forth on
a summary invoice provided to the Obligors. In addition, the Obligors promise to pay any and all reasonable
attorneys’ and other professionals’ fees and expenses incurred by the Administrative Agent or such Lender
after the Closing Date in connection with or related to: (a) any Advance; (b) the administration, syndication,
distribution, collection, or enforcement of the Loan; (c) any amendments, modifications or waivers of the
Loan Documents (whether or not the transactions contemplated hereby or thereby shall be consummated);
(d) any waiver, consent, release, or termination under the Loan Documents; (e) the enforcement, collection
or protection of the Administrative Agent or any Lender’s rights in connection with this Agreement and the
Loan Documents, including the protection, preservation, audit, field exam, sale, lease, liquidation, or
disposition of Collateral or the exercise of remedies with respect to the Collateral; (f) any legal, litigation,
administrative, arbitration, or out of court proceeding in connection with or related to the Obligors or the
Collateral, and any appeal or review thereof; or (g) any bankruptcy, restructuring, reorganization,
assignment for the benefit of creditors, workout, foreclosure, or other action related to the Obligors, the

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Collateral or the Loan Documents, including representing the Administrative Agent or the Lenders in any
adversary proceeding or contested matter commenced or continued by or on behalf of any Obligor’s estate,
and any appeal or review thereof.

         10.12 Confidentiality. The Administrative Agent and the Lenders acknowledge that certain
items of Collateral and information provided to the Administrative Agent or such Lenders by the Obligors
are confidential and proprietary information of the Obligors, if and to the extent such information either
(x) is marked as confidential by an Obligor at the time of disclosure, or (y) should reasonably be understood
to be confidential (the “Confidential Information”). Accordingly, the Administrative Agent and each
Lender agree that any Confidential Information they may obtain pursuant to Section 7.1 of this Agreement,
in the course of acquiring, administering, or perfecting the Lender’s security interest in the Collateral or
otherwise shall not be disclosed to any other Person or entity in any manner whatsoever, in whole or in part,
without the written consent of the Obligors, except that the Administrative Agent or any such Lender may
disclose any such information: (a) to their respective directors, officers, employees, accountants, counsel
and other professional advisors and to its Affiliates if the Administrative Agent or such Lender in its sole
discretion determines that any such party should have access to such information in connection with such
party’s responsibilities in connection with the Advances or this Agreement and, provided, that such
recipient of such Confidential Information either (i) agrees to be bound by the confidentiality provisions of
this paragraph or (ii) is otherwise subject to confidentiality restrictions that reasonably protect against the
disclosure of Confidential Information; (b) if such information is generally available to the public (other
than as a result of the Administrative Agent’s or such Lender’s breach of its obligations under this
Section 10.12); (c) if required or appropriate in any report, statement or testimony submitted to any
Governmental Authority having or claiming to have jurisdiction over the Administrative Agent or such
Lender; (d) if required or appropriate in response to any summons or subpoena or in connection with any
litigation, to the extent permitted or deemed advisable by the Administrative Agent’s or such Lender’s
counsel; (e) to comply with any legal requirement or law applicable to the Administrative Agent or such
Lender; (f) to the extent reasonably necessary in connection with the exercise of any right or remedy under
any Loan Document, including the Administrative Agent’s sale, lease, or other disposition of Collateral
after Default; (g) to any participant or assignee of any Lender or any prospective participant or assignee;
provided, that such participant or assignee or prospective participant or assignee agrees in writing to be
bound by this Section prior to disclosure; or (h) otherwise with the prior consent of the Obligors; provided,
that any disclosure made in violation of this Agreement shall not affect the Secured Obligations of each
Obligor or any of its Affiliates or any guarantor under this Agreement or the other Loan Documents.

         10.13 Assignment of Rights. The Obligors acknowledge and understand that any Lender may
sell and assign all or part of its interest hereunder and under the Loan Documents to any Person or entity
(an “Assignee”), subject to the restrictions set forth in Section 10.7. After such a permitted assignment the
term “Lender” as used in the Loan Documents shall mean and include such Assignee, and such Assignee
shall be vested with all rights, powers and remedies of the Lender hereunder with respect to the interest so
assigned; but with respect to any such interest not so transferred, the Administrative Agent shall retain all
rights, powers and remedies hereby given. No such assignment by any such Lender shall relieve any
Obligor of any of its obligations hereunder. The Administrative Agent and the Lenders agree that in the
event of any transfer by it of the Note(s) (if any), it will endorse thereon a notation as to the portion of the
principal of the Note(s), which shall have been paid at the time of such transfer and as to the date to which
interest shall have been last paid thereon. The Obligors shall maintain a register (the “Register”) for the
recordation of the name and address of each Lender and the principal amount of and stated interest on the
amount owing to the Lender pursuant to the terms hereof from time to time. The entries in the Register
shall be conclusive absent manifest error, and the Obligors and each Lender shall treat each person or entity
whose name is recorded in the Register as such Lender for all purposes of this Agreement. In the event that
the Lenders sells a participation interest in any Advances, the Lenders shall maintain a similar register. The
parties shall take any other action necessary from time to time to establish that the Advances (and any

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Note(s) evidence the Advances) and the amounts otherwise owing hereunder are in registered form under
section 5f.103-1(c) of the Treasury Regulations.

         10.14 Revival of Secured Obligations. This Agreement and the Loan Documents shall remain in
full force and effect and continue to be effective if any petition is filed by or against any Obligor for
liquidation or reorganization, if any Obligor becomes insolvent or makes an assignment for the benefit of
creditors, if a receiver or trustee is appointed for all or any significant part of any Obligor’s assets, or if any
payment or transfer of Collateral is recovered from the Administrative Agent or any Lender. The Loan
Documents and the Secured Obligations and Collateral security shall continue to be effective, or shall be
revived or reinstated, as the case may be, if at any time payment and performance of the Secured Obligations
or any transfer of Collateral to the Administrative Agent, or any part thereof is rescinded, avoided or
avoidable, reduced in amount, or must otherwise be restored or returned by, or is recovered from, the
Administrative Agent, the Lenders or by any obligee of the Secured Obligations, whether as a “voidable
preference,” “fraudulent conveyance,” or otherwise, all as though such payment, performance, or transfer
of Collateral had not been made. In the event that any payment, or any part thereof, is rescinded, reduced,
avoided, avoidable, restored, returned, or recovered, the Loan Documents and the Secured Obligations shall
be deemed, without any further action or documentation, to have been revived and reinstated except to the
extent of the full, final, and indefeasible payment to the Lenders in Cash.

        10.15 Counterparts. This Agreement and any amendments, waivers, consents or supplements
hereto may be executed in any number of counterparts, and by different parties hereto in separate
counterparts, each of which when so delivered shall be deemed an original, but all of which counterparts
shall constitute but one and the same instrument.

        10.16 No Third-Party Beneficiaries. No provisions of the Loan Documents are intended, nor will
be interpreted, to provide or create any third-party beneficiary rights or any other rights of any kind in any
Person other than the Administrative Agent, the Lenders and the Obligors unless specifically provided
otherwise herein, and, except as otherwise so provided, all provisions of the Loan Documents will be
personal and solely among the Administrative Agent, the Lenders and the Obligors.

        10.17    Publicity.

                 (a)     So long as the Administrative Agent and the Lenders provides the Obligors prior
        written notice and a reasonable opportunity to review, the Obligors consent to the publication and
        use by the Administrative Agent, the Lenders and any of its member businesses and Affiliates of
        (i) the Obligors’ names (including a brief description of the relationship between the Obligors and
        the Lenders) and logo and a hyperlink to the Obligors’ web sites, separately or together, in written
        and oral presentations, advertising, promotional and marketing materials, client lists, public
        relations materials or on its web site (together, the “Lender Publicity Materials”); (ii) the names of
        officers of the Obligors in the Lender Publicity Materials; and (iii) the Obligors’ names, trademarks
        or servicemarks in any news release concerning the Lenders.

                 (b)     No Obligor nor any of its member businesses and Affiliates shall, without the
        Administrative Agent’s or Lenders’ consent (which shall not be unreasonably withheld or delayed),
        publicize or use (i) the Administrative Agent’s or Lenders’ name (including a brief description of
        the relationship among such Obligor, the Administrative Agent and the Lenders), logo or hyperlink
        to the Lenders’ web site, separately or together, in written and oral presentations, advertising,
        promotional and marketing materials, client lists, public relations materials or on its web site
        (together, the “Obligor Publicity Materials”); (ii) the names of officers of the Administrative Agent
        and the Lenders in the Obligor Publicity Materials; and (iii) the Lenders’ name, trademarks,
        servicemarks in any news release concerning such Obligor, provided, however, that this provision

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        shall not restrict such Obligor from disclosing or using any such information as required by
        applicable law or regulation.

         10.18 Overpayments. If any Lender shall obtain any payment (whether voluntary, involuntary,
through the exercise of any right of set-off, or otherwise) on account of the principal of or interest on any
Advance made by it or other obligations hereunder, as applicable (other than pursuant to a provision hereof
providing for non-pro rata treatment), in excess of its DIP Percentage or Exit Percentage, as applicable, of
such payment on account of the Advances or participations obtained by all of the Lenders, such Lender
shall forthwith advise the Administrative Agent of the receipt of such payment, and within five (5) Business
Days of such receipt purchase (for cash at face value) from the other DIP Lenders or Exit Lenders, as
applicable (through the Administrative Agent), without recourse, such participations in the DIP Advances
or Exit Advances made by them, as applicable, or make such other adjustments as shall be equitable, as
shall be necessary to cause such purchasing Lender to share the excess payment ratably with each of the
other Lenders in accordance with their respective DIP Percentages or Exit Percentages, as applicable;
provided, however, that if all or any portion of such excess payment is thereafter recovered by or on behalf
of a Borrower from such purchasing Lender, the purchase shall be rescinded and the purchase price restored
to the extent of such recovery, but without interest. The Borrowers agree that any Lender so purchasing a
participation from another Lender pursuant to this Section 10.18 may exercise all its rights of payment
(including the right of set-off) with respect to such participation as fully as if such Lender were the direct
creditor of the Borrowers in the amount of such participation. No documents other than notices and the
like referred to in this Section 10.18 shall be required to implement the terms of this Section 10.18. The
Administrative Agent shall keep records (which shall be conclusive and binding in the absence of
demonstrable error) of participations purchased pursuant to this Section 10.18 and shall in each case notify
the DIP Lenders or the Exit Lenders, as applicable, following any such purchase. The provisions of this
Section 10.18 shall not be construed to apply to any payment (i) made by or on behalf of a Borrower
pursuant to and in accordance with the express terms of this Agreement, or (ii) obtained by a Lender as
consideration for the assignment of or sale of a participation in any of its Advances to any assignee or
participant, other than an assignment to a Borrower or any Subsidiary thereof (as to which the provisions
of this Section shall apply). Each Obligor consents to the foregoing and agrees, to the extent it may
effectively do so under applicable law, that any Lender acquiring a participation pursuant to the foregoing
arrangements may exercise against each Obligor rights of setoff and counterclaim with respect to such
participation as fully as if such Lender were a direct creditor of each Obligor in the amount of such
participation.

        10.19 Electronic Signatures. The words “execution,” “signed,” “signature” and words of like
import in any Loan Document shall be deemed to include electronic signatures or the keeping of records in
electronic form, each of which shall be of the same legal effect, validity and enforceability as a manually
executed signature or the use of a paper-based recordkeeping systems, as the case may be, to the extent and
as provided for in any applicable law, including, without limitation, any state law based on the Uniform
Electronic Transactions Act.

         10.20 Protective Payments. If an Obligor fails to timely obtain the insurance called for by this
Agreement or fails to pay any premium thereon or fails to timely pay any other amount which an Obligor
is obligated to pay under any Loan Document or which may be required to preserve the Collateral, the
Administrative Agent may obtain such insurance or make such payment, and all amounts so paid by the
Administrative Agent are expenses of the Administrative Agent and immediately due and payable, bearing
interest at the then highest rate applicable to the Secured Obligations, and secured by the Collateral. The
Administrative Agent will make reasonable efforts to provide the Obligors with notice of the Administrative
Agent obtaining such insurance at the time it is obtained or within a reasonable time thereafter. No
payments by the Administrative Agent are deemed an agreement to make similar payments in the future or
the Administrative Agent’s waiver of any Event of Default.

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         10.21 Set off. Upon the occurrence and during the continuance of any Event of Default, the
Administrative Agent and the Lenders are hereby authorized at any time and from time to time, without
prior notice to any Obligor, any such notice being expressly waived by the Obligors, to the fullest extent
permitted by applicable law, to set off and apply any and all deposits, in any currency, at any time held or
owing, and any other credits, indebtedness, claims or obligations, in any currency, in each case whether
direct or indirect, absolute or contingent, matured or unmatured, at any time held or owing by the
Administrative Agent and the Lenders to or for the credit or the account of any Obligor against any and all
of the Secured Obligations of the Obligors now or hereafter existing under the Loan Documents to the
Administrative Agent and the Lenders that are then due and payable, irrespective of whether or not the
Administrative Agent and the Lenders shall have made any demand under any Loan Document and
although such obligations of the Obligors may be contingent or unmatured. The rights of the Administrative
Agent and the Lenders under this Section 10.20 are in addition to other rights and remedies (including other
rights of set-off) which the Administrative Agent and the Lenders may have.

        10.22    [Reserved.]

        10.23    Additional Waivers.

                 (a)      The Secured Obligations are the joint and several obligation of each Obligor. To
        the fullest extent permitted by applicable law, the Secured Obligations of each Obligor shall not be
        affected by (i) the failure of the Administrative Agent or any Lender to assert any claim or demand
        or to enforce or exercise any right or remedy against any other Obligor under the provisions of any
        Loan Document or otherwise, (ii) any rescission, waiver, amendment or modification of, or any
        release from any of the terms or provisions of, any Loan Document, or (iii) the failure to perfect
        any security interest in, or the release of, any of the Collateral or other security held by or on behalf
        of the Administrative Agent or any Lender.

                 (b)      The Secured Obligations of each Obligor shall not be subject to any reduction,
        limitation, impairment or termination for any reason, including any claim of waiver, release,
        surrender, alteration or compromise of any of the Secured Obligations, and shall not be subject to
        any defense or setoff, counterclaim, recoupment or termination whatsoever by reason of the
        invalidity, illegality or unenforceability of any of the Secured Obligations or otherwise. Without
        limiting the generality of the foregoing, the Secured Obligations of each Obligor hereunder shall
        not be discharged or impaired or otherwise affected by the failure of the Administrative Agent and
        the Lenders to assert any claim or demand or to enforce any remedy under any Loan Document or
        any other agreement, by any waiver or modification of any provision of any thereof, any default,
        failure or delay, willful or otherwise, in the performance of any of the Secured Obligations, or by
        any other act or omission that may or might in any manner or to any extent vary the risk of any
        Obligor or that would otherwise operate as a discharge of any Obligor as a matter of law or equity.

                (c)       To the fullest extent permitted by applicable law, each Obligor waives any defense
        based on or arising out of any defense of any other Obligor or the unenforceability of the Secured
        Obligations or any part thereof from any cause, or the cessation from any cause of the liability of
        any other Obligor. The Administrative Agent, at its election, foreclose on any security held by one
        or more of them by one or more judicial or non-judicial sales, accept an assignment of any such
        security in lieu of foreclosure, compromise or adjust any part of the Secured Obligations, make any
        other accommodation with any other Obligor, or exercise any other right or remedy available to
        them against any other Obligor, without affecting or impairing in any way the liability of any
        Obligor hereunder. Each Obligor waives any defense arising out of any such election even though
        such election operates, pursuant to applicable law, to impair or to extinguish any right of


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        reimbursement or subrogation or other right or remedy of such Obligor against any other Obligor,
        as the case may be, or any security.

SECTION 11. GUARANTY; WAIVERS.

         11.1     Guaranty. Each Guarantor hereby jointly and severally and unconditionally and
irrevocably guarantees the punctual payment when due, whether at stated maturity, by acceleration or
otherwise, of all Secured Obligations now or hereafter existing under any Loan Document, whether for
principal, interest, fees, commissions, expense reimbursements, indemnifications or otherwise (such
obligations, to the extent not paid by a Borrower, being the “Guaranteed Obligations”), and agrees to pay
any and all expenses (including reasonable counsel fees and expenses) incurred by the Lender in enforcing
any rights under the guaranty set forth in this Section 11. Subject to Section 11.6, without limiting the
generality of the foregoing, each Guarantor’s liability shall extend to all amounts that constitute part of the
Guaranteed Obligations and would be owed by the Borrowers to the Lender under any Loan Document. In
no event shall the obligation of any Guarantor hereunder exceed the maximum amount such Guarantor
could guarantee under the Bankruptcy Code and any other liquidation, conservatorship, bankruptcy,
assignment for the benefit of creditors, moratorium, rearrangement, compromise, receivership, insolvency,
reorganization, or similar debtor relief law (including, without limitation, any proceeding under applicable
corporate law seeking a compromise or arrangement of, or relief from, any debts of the corporation or a
stay of proceedings to enforce any of the claims of the corporation’s creditors against it) of the United
States. Guaranty Absolute. Each Guarantor jointly and severally guarantees that the Guaranteed
Obligations will be paid strictly in accordance with the terms of the Loan Documents, regardless of any
law, regulation or order now or hereafter in effect in any jurisdiction affecting any of such terms or the
rights of the Secured Parties with respect thereto. Each Guarantor agrees that this Section 11 constitutes a
guaranty of payment when due and not of collection and waives any right to require that any resort be made
by the Secured Parties to any Collateral. The Secured Obligations of each Guarantor under this Section 11
are independent of the Guaranteed Obligations, and a separate action or actions may be brought and
prosecuted against each Guarantor to enforce such obligations, irrespective of whether any action is brought
against any Obligor or whether any Obligor is joined in any such action or actions. The liability of each
Guarantor under this Section 11 shall be irrevocable, absolute and unconditional irrespective of, and each
Guarantor hereby irrevocably waives any defenses it may now or hereafter have in any way relating to, any
or all of the following: any lack of validity or enforceability of any Loan Document or any agreement or
instrument relating thereto;

                (b)     any change in the time, manner or place of payment of, or in any other term of, all
        or any of the Guaranteed Obligations, or any other amendment or waiver of or any consent to
        departure from any Loan Document, including, without limitation, any increase in the Guaranteed
        Obligations resulting from the extension of additional credit to any Obligor or otherwise;

                (c)     any taking, exchange, release or non-perfection of any Collateral, or any taking,
        release or amendment or waiver of or consent to departure from any other guaranty, for all or any
        of the Guaranteed Obligations;

                (d)     the existence of any claim, set-off, defense or other right that any Guarantor may
        have at any time against any Person, including, without limitation, the Secured Parties;

                (e)      any change, restructuring or termination of the corporate, limited liability company
        or partnership structure or existence of any Obligor; or




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                (f)      any other circumstance (including, without limitation, any statute of limitations)
        or any existence of or reliance on any representation by the Secured Parties that might otherwise
        constitute a defense available to, or a discharge of, any Obligor or any other guarantor or surety.

This Section 11 shall continue to be effective or be reinstated, as the case may be, if at any time any payment
of any of the Guaranteed Obligations is rescinded or must otherwise be returned by the Secured Parties or
any other Person pursuant to the Cases or otherwise, all as though such payment had not been made.

         11.3     Waiver. Each Guarantor hereby waives (i) promptness and diligence, (ii) notice of
acceptance and any other notice with respect to any of the Guaranteed Obligations and this Section 11 and
any requirement that the Secured Parties exhaust any right or take any action against any Obligor or any
other Person or any Collateral, (iii) any right to compel or direct the Secured Parties to seek payment or
recovery of any amounts owed under this Section 11 from any one particular fund or source or to exhaust
any right or take any action against any other Obligor, any other Person or any Collateral, (iv) any
requirement that the Secured Parties protect, secure, perfect or insure any security interest or Lien on any
property subject thereto or exhaust any right to take any action against any Obligor, any other Person or
any Collateral, and (v) any other defense available to any Guarantor; provided that, notwithstanding the
foregoing or anything to the contrary herein or in any other Loan Document, no Guarantor waives or shall
be deemed to have waived the defense of payment. Each Guarantor agrees that the Secured Parties shall
have no obligation to marshal any assets in favor of any Guarantor or against, or in payment of, any or all
of the Secured Obligations. Each Guarantor acknowledges that it will receive direct and indirect benefits
from the financing arrangements contemplated herein and that the waiver set forth in this Section 11.3 is
knowingly made in contemplation of such benefits. Each Guarantor hereby waives any right to revoke this
Section 11, and acknowledges that this Section 11 is continuing in nature and applies to all Guaranteed
Obligations, whether existing now or in the future. Continuing Guaranty; Assignments. This Section 11 is
a continuing guaranty and shall (a) remain in full force and effect until the later of the cash payment in full
of the Guaranteed Obligations and all other amounts payable under this Section 11 and the DIP Termination
Date, (b) be binding upon each Guarantor, its successors and assigns and (c) inure to the benefit of and be
enforceable by the Secured Parties and their successors, pledgees, transferees and assigns. Without limiting
the generality of the foregoing clause (c), the Secured Parties may pledge, assign or otherwise transfer all
or any portion of their rights and obligations under this Agreement (including, without limitation, all or any
portion of their Commitments and the Advances owing to them) to any other Person, and such other Person
shall thereupon become vested with all the benefits in respect thereof granted the Secured Parties herein or
otherwise, in each case as provided in Section 11.7. Subrogation. No Guarantor will exercise any rights
that it may now or hereafter acquire against any Obligor or any other guarantor that arise from the existence,
payment, performance or enforcement of such Guarantor’s obligations under this Section 11, including,
without limitation, any right of subrogation, reimbursement, exoneration, contribution or indemnification
and any right to participate in any claim or remedy of the Secured Parties against any Obligor or any other
guarantor or any Collateral, whether or not such claim, remedy or right arises in equity or under contract,
statute or common law, including, without limitation, the right to take or receive from any Obligor or any
other guarantor, directly or indirectly, in cash or other property or by set-off or in any other manner,
payment or security solely on account of such claim, remedy or right, unless and until all of the Guaranteed
Obligations shall have been paid in full in cash and the DIP Termination Date shall have occurred. If any
amount shall be paid to any Guarantor in violation of the immediately preceding sentence at any time prior
to the later of the payment in full in cash of the Guaranteed Obligations and the DIP Termination Date,
such amount shall be held in trust for the benefit of the Secured Parties shall forthwith be paid to the Secured
Parties to be credited and applied to the Guaranteed Obligations and all other amounts payable under this
Section 11, whether matured or unmatured, in accordance with the terms of this Agreement, or to be held
as Collateral for any Guaranteed Obligations or other amounts payable under this Section 11 thereafter
arising. If (i) any Guarantor shall make payment to the Secured Parties of all or any part of the Guaranteed
Obligations, (ii) all of the Guaranteed Obligations and (iii) the DIP Termination Date shall have occurred,

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the Secured Parties will, at such Guarantor’s request and expense, execute and deliver to such Guarantor
appropriate documents, without recourse and without representation or warranty, necessary to evidence the
transfer by subrogation to such Guarantor of an interest in the Guaranteed Obligations resulting from such
payment by such Guarantor.Contribution. All Guarantors desire to allocate among themselves, in a fair
and equitable manner, their obligations arising under this Guaranty. Accordingly, if any payment or
distribution is made on any date by a Guarantor under this Guaranty such that its Aggregate Payments
exceeds its Fair Share as of such date, such Guarantor shall be entitled to a contribution from each of the
other Guarantors in an amount sufficient to cause each Guarantor’s Aggregate Payments to equal its Fair
Share as of such date. “Aggregate Payments” means, with respect to any Guarantor as of any date of
determination, an amount equal to (A) the aggregate amount of all payments and distributions made on or
before such date by such Guarantor in respect of the guaranty under this Section 11 (including, without
limitation, in respect of this Section 11.6), minus (B) the aggregate amount of all payments received on or
before such date by such Guarantor from the other Guarantors as contributions under this Section 11.6.
“Fair Share” means, with respect to any Guarantor as of any date of determination, an amount equal to (a)
the ratio of (i) the Fair Share Contribution Amount with respect to such Guarantor, to (ii) the aggregate of
the Fair Share Contribution Amounts with respect to all Guarantors multiplied by, (b) the aggregate amount
paid or distributed on or before such date by all Guarantors under this Guaranty in respect of the Secured
Obligations Guaranteed. “Fair Share Contribution Amount” means, with respect to any Guarantor as of
any date of determination, the maximum aggregate amount of the Secured Obligations of such Guarantor
under the guaranty under this Section 11 that would not render its obligations hereunder subject to
avoidance as a fraudulent transfer or conveyance under Section 548 of Title 11 of the United States Code
or any comparable applicable provisions of state law; provided, solely for purposes of calculating the “Fair
Share Contribution Amount” with respect to any Guarantor for purposes of this Section 11.6, any assets or
liabilities of such Guarantor arising by virtue of any rights to subrogation, reimbursement or
indemnification or any rights to or obligations of contribution hereunder shall not be considered as assets
or liabilities of such Guarantor. The amounts payable as contributions hereunder shall be determined as of
the date on which the related payment or distribution is made by the applicable Guarantor. The allocation
among Guarantors of their obligations as set forth in this Section 11.6 shall not be construed in any way to
limit the liability of any Guarantor hereunder. Each Guarantor is a third party beneficiary to the contribution
agreement set forth in this Section 11.6. Any payment on account of an amount that is payable hereunder
or under any other Loan Document must be made in United States Dollars.

SECTION 12. AGENCY.

        12.1     Appointment and Authority.

                (a)      Each of the Lenders hereby irrevocably appoints Euagore, LLC to act on its behalf
        as the Administrative Agent hereunder and under the other Loan Documents and authorizes the
        Administrative Agent to take such actions on its behalf and to exercise such powers as are delegated
        to the Administrative Agent by the terms hereof or thereof, together with such actions and powers
        as are reasonably incidental thereto. Except as otherwise provided in Section 12.6(b), the
        provisions of this Section 12 are solely for the benefit of the Administrative Agent and the Lenders,
        and the Obligors shall not have rights as a third-party beneficiary of any of such provisions. It is
        understood and agreed that the use of the term “agent” herein or in any other Loan Documents (or
        any other similar term) with reference to the Administrative Agent is not intended to connote any
        fiduciary or other implied (or express) obligations arising under agency doctrine of any Applicable
        Law. Instead such term is used as a matter of market custom, and is intended to create or reflect
        only an administrative relationship between contracting parties.

                 (b)     Each Lender hereby irrevocably authorizes the Administrative Agent, based upon
        the instruction of the Required Lenders, to credit bid and purchase (either directly or through one

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        or more acquisition vehicles) all or any portion of the Collateral at any sale thereof conducted by
        the Administrative Agent under the provisions of the UCC, including pursuant to Sections 9-610
        or 9-620 of the UCC (or any equivalent provision of the UCC), at any sale thereof conducted under
        the provisions of the Bankruptcy Code, including Section 363 of the Bankruptcy Code, or at any
        other sale or foreclosure conducted by the Administrative Agent (whether by judicial action or
        otherwise) in accordance with applicable requirements of law.

                  (c)     The Administrative Agent shall also act as the collateral agent under the Loan
        Documents and each Lender hereby irrevocably (i) authorizes the Administrative Agent to enter
        into all other Loan Documents, as applicable, including the Security Agreement, any subordination
        agreements and any other Security Documents, and (ii) appoint and authorize the Administrative
        Agent to act as the agent of the Secured Parties for purposes of acquiring, holding and enforcing
        any and all Liens on Collateral granted by any of the Obligors to secure any of the Secured
        Obligations, together with such powers and discretion as are reasonably incidental thereto. The
        Administrative Agent, as collateral agent and any co-agents, sub-agents and attorneys-in-fact
        (appointed by the Administrative Agent pursuant to this Agreement to hold or enforce any Lien on
        the Collateral (or any portion thereof) granted under the Security Documents, or for exercising any
        rights and remedies thereunder at the direction of the Administrative Agent), shall be entitled to the
        benefits of all provisions of this Section 12 as if set forth in full herein with respect thereto. Without
        limiting the generality of the foregoing, the Administrative Agent is further authorized on behalf
        of all the Lenders, without the necessity of any notice to or further consent from the Lenders, from
        time to time to take any action, or permit the any co-agents, sub-agents and attorneys-in-fact
        appointed by the Administrative Agent to take any action, with respect to any Collateral or the Loan
        Documents which may be necessary to perfect and maintain perfected the Liens upon any Collateral
        granted pursuant to any Loan Document.

                (d)      Each Lender irrevocably appoints each other Lender as its agent and bailee for the
        purpose of perfecting Liens (whether pursuant to Section 8-30l (a)(2) of the UCC or otherwise), for
        the benefit of the Secured Parties, in assets in which, in accordance with the UCC or any other
        applicable Requirement of Law a security interest can be perfected by possession or control.
        Should any Lender (other than the Administrative Agent) obtain possession or control of any such
        Collateral, such Lender shall notify the Administrative Agent thereof, and, promptly following the
        Administrative Agent’s request therefor, shall deliver such Collateral to the Administrative Agent
        or otherwise deal with such Collateral in accordance with the Administrative Agent’s instructions.

        12.2     Rights as a Lender. The Person serving as the Administrative Agent hereunder shall have
the same rights and powers in its capacity as a Lender as any other Lender and may exercise the same as
though it were not the Administrative Agent, and the term “Lender” or “Lenders” shall, unless otherwise
expressly indicated or unless the context otherwise requires, include the Person serving as the
Administrative Agent hereunder in its individual capacity. Such Person and its branches and Affiliates may
accept deposits from, lend money to, own securities of, act as the financial advisor or in any other advisory
capacity for, and generally engage in any kind of business with, the Parent or any Subsidiary of the Parent
or other Affiliate thereof as if such Person were not the Administrative Agent hereunder and without any
duty to account therefor to the Lenders.

        12.3     Exculpatory Provisions. The Administrative Agent shall not have any duties or obligations
except those expressly set forth herein and in the other Loan Documents, and its duties hereunder shall be
administrative in nature. Without limiting the generality of the foregoing, the Administrative Agent shall
not:



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                (a)     be subject to any fiduciary or other implied duties, regardless of whether a Default
        has occurred and is continuing;

                (b)      have any duty to take any discretionary action or exercise any discretionary
        powers, except discretionary rights and powers expressly contemplated hereby or by the other Loan
        Documents that the Administrative Agent is required to exercise as directed in writing by the
        Required Lenders (or such other number or percentage of the Lenders as shall be expressly provided
        for herein or in the other Loan Documents); provided that the Administrative Agent shall not be
        required to take any action that, in its opinion or the opinion of its counsel, may expose the
        Administrative Agent to liability or that is contrary to any Loan Document or applicable Law; and

                (c)      except as expressly set forth herein and in the other Loan Documents, have any
        duty to disclose, and shall not be liable for the failure to disclose, any information relating to the
        Parent or any of its Affiliates that is communicated to or obtained by the Person serving as the
        Administrative Agent or any of its branches or Affiliates in any capacity;

                (d)     be liable for any action taken or not taken by it (i) with the consent or at the request
        of the Required Lenders, or (ii) in the absence of its own gross negligence or willful misconduct as
        determined by a court of competent jurisdiction by final and nonappealable judgment. The
        Administrative Agent shall be deemed not to have knowledge of any Default unless and until notice
        describing such Default is given to the Administrative Agent in writing by a Obligor or a Lender;

                (e)      be responsible for or have any duty to ascertain or inquire into (i) any statement,
        warranty or representation made in or in connection with this Agreement or any other Loan
        Document, (ii) the contents of any certificate, report or other document delivered hereunder or
        thereunder or in connection herewith or therewith, (iii) the performance or observance of any of
        the covenants, agreements or other terms or conditions set forth herein or therein or the occurrence
        of any Default, (iv) the validity, enforceability, effectiveness or genuineness of this Agreement,
        any other Loan Document or any other agreement, instrument or document, or (v) the satisfaction
        of any condition set forth herein, other than to confirm receipt of items expressly required to be
        delivered to the Administrative Agent; or

               (f)      be responsible or have any liability for, or have any duty to ascertain, inquire into,
        monitor or enforce, compliance with the provisions hereof relating to a non-compliant assignment
        of Loans in respect hereof.

          12.4     Reliance by Administrative Agent. The Administrative Agent shall be entitled to rely
upon, and shall not incur any liability for relying upon, any notice, request, certificate, consent, statement,
instrument, document or other writing (including any electronic message, Internet or intranet website
posting or other distribution) believed by it to be genuine and to have been signed, sent or otherwise
authenticated by the proper Person. The Administrative Agent also may rely upon any statement made to
it orally or by telephone and believed by it to have been made by the proper Person, and shall not incur any
liability for relying thereon. In determining compliance with any condition hereunder to the making of a
Loan that by its terms must be fulfilled to the satisfaction of a Lender, the Administrative Agent may
presume that such condition is satisfactory to such Lender unless the Administrative Agent shall have
received notice to the contrary from such Lender prior to the making of such Loan. The Administrative
Agent may consult with legal counsel (who may be counsel for the Obligors), independent accountants and
other experts selected by it, and shall not be liable for any action taken or not taken by it in accordance with
the advice of any such counsel, accountants or experts.




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         12.5     Delegation of Duties. The Administrative Agent may perform any and all of its duties and
exercise its rights and powers hereunder or under any other Loan Document by or through any one or more
sub-agents appointed by the Administrative Agent. The Administrative Agent and any such sub-agent may
perform any and all of its duties and exercise its rights and powers by or through their respective
Representatives. The exculpatory provisions of this Article shall apply to any such sub-agent and to the
Representatives of the Administrative Agent and any such sub-agent, and shall apply to their respective
activities in connection with the syndication of the DIP Facility hereunder as well as activities as
Administrative Agent. The Administrative Agent shall not be responsible for the negligence or misconduct
of any sub-agents except to the extent that a court of competent jurisdiction determines in a final and
nonappealable judgment that the Administrative Agent acted with gross negligence or willful misconduct
in the selection of such sub-agents.

        12.6     Resignation of Administrative Agent.

                (a)       The Administrative Agent may at any time give notice of its resignation to the
        Lenders and the Obligors. Upon receipt of any such notice of resignation, the Required Lenders
        shall have the right, in consultation with the Parent, to appoint a successor, which shall be a bank
        with an office in California, or an Affiliate of any such bank with an office in California. If no such
        successor shall have been so appointed by the Required Lenders and shall have accepted such
        appointment within 30 days after the retiring Administrative Agent gives notice of its resignation
        (or such earlier day as shall be agreed by the Required Lenders) (the “Resignation Effective Date”),
        then the retiring Administrative Agent may (but shall not be obligated to), on behalf of the Lenders
        and the Issuing Banks, appoint a successor Administrative Agent meeting the qualifications set
        forth above;. Whether or not a successor has been appointed, such resignation shall become
        effective in accordance with such notice on the Resignation Effective Date.

                (b)      If the Person serving as Administrative Agent is also a Lender that has notified the
        Parent that it does not tend to comply with its funding obligations hereunder, has made a public
        statements to that effect or has otherwise failed to fund its Commitments in contravention with the
        terms and conventions hereof, the Required Lenders may, to the extent permitted by Applicable
        Law, by notice in writing to the Parent and such Person remove such Person as Administrative
        Agent and, in consultation with the Parent, appoint a successor. If no such successor shall have
        been so appointed by the Required Lenders and shall have accepted such appointment
        within 30 days (or such earlier day as shall be agreed by the Required Lenders) (the “Removal
        Effective Date”), then such removal shall nonetheless become effective in accordance with such
        notice on the Removal Effective Date.

                (c)       With effect from the Resignation Effective Date or the Removal Effective Date (as
        applicable) (i) the retiring or removed Administrative Agent shall be discharged from its duties and
        obligations hereunder and under the other Loan Documents and (ii) except for any indemnity
        payments owed to the retiring or removed Administrative Agent, all payments, communications
        and determinations provided to be made by, to or through the Administrative Agent shall instead
        be made by or to each Lender directly, until such time, if any, as the Required Lenders appoint a
        successor Administrative Agent as provided for above. Upon the acceptance of a successor’s
        appointment as Administrative Agent hereunder, such successor shall succeed to and become
        vested with all of the rights, powers, privileges and duties of the retiring or removed Administrative
        Agent (other than any rights to indemnity payments owed to the retiring or removed Administrative
        Agent), and the retiring or removed Administrative Agent shall be discharged from all of its duties
        and obligations hereunder or under the other Loan Documents. The fees payable by the Obligors
        to a successor Administrative Agent shall be the same as those payable to its predecessor unless
        otherwise agreed between the Obligors and such successor. After the retiring or removed

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        Administrative Agent’s resignation or removal hereunder and under the other Loan Documents,
        the provisions of this Article and Section 10.11 shall continue in effect for the benefit of such
        retiring or removed Administrative Agent, its sub-agents and their respective Representatives in
        respect of any actions taken or omitted to be taken by any of them while the retiring or removed
        Administrative Agent was acting as Administrative Agent.

          12.7    Non-Reliance on Administrative Agent and Lenders.                   Each Lender expressly
acknowledges that the Administrative Agent has not made any representation or warranty to it, and that no
act by the Administrative Agent hereafter taken, including any consent to, and acceptance of any assignment
or review of the affairs of the Parent or any affiliate thereof, shall be deemed to constitute any representation
or any warranty by the Administrative Agent to any Lender as to any matter, including whether the
Administrative Agent has disclosed material information in its (or its Representatives’) possession. Each
Lender represents to the Administrative Agent that it has, independently and without reliance upon the
Administrative Agent or any other Lender or any of their Representatives and based on such documents
and information as it has deemed appropriate, made its own credit analysis of, appraisal of, and investigation
into, the business, prospects, operations, property, financial and other condition and creditworthiness of the
Parent and its subsidiaries, and all applicable bank or other regulatory Laws relating to the transactions
contemplated hereby, and made its own decision to enter into this Agreement and to extend credit to the
Obligors hereunder. Each Lender also acknowledges that it will, independently and without reliance upon
the Administrative Agent or any other Lender or any of their Representatives and based on such documents
and information as it shall from time to time deem appropriate, continue to make its own credit analysis,
appraisals and decisions in taking or not taking action under or based upon this Agreement, any other Loan
Document or any related agreement or any document furnished hereunder or thereunder, and to make such
investigations as it deems necessary to inform itself as to the business, prospects, operations, property,
financial and other condition and creditworthiness of the Borrowers. Each Lender represents and warrants
that (i) the Loan Documents set forth the terms of a commercial lending facility and certain other facilities
set forth herein and (ii) it is engaged in making, acquiring or holding commercial loans, issuing or
participating in letters of credit or providing other similar facilities in the ordinary course and is entering
into this Agreement as a Lender for the purpose of making, acquiring or holding commercial loans, issuing
or participating in letters of credit and providing other facilities set forth herein as may be applicable to
such Lender, and not for the purpose of purchasing, acquiring or holding any other type of financial
instrument, and each Lender agrees not to assert a claim in contravention of the foregoing. Each Lender
represents and warrants that it is sophisticated with respect to decisions to make, acquire or hold commercial
loans, issue or participate in letters of credit and to provide other facilities set forth herein, as may be
applicable to such Lender, and either it, or the Person exercising discretion in making its decision to make,
acquire or hold such commercial loans, issue or participate in letters of credit or to provide such other
facilities, is experienced in making, acquiring or holding such commercial loans, issue or participate in
letters of credit or providing such other facilities.

        12.8    Administrative Agent May File Proofs of Claim. In case of the pendency of any proceeding
under any or any other judicial proceeding relative to the Obligors, the Administrative Agent (irrespective
of whether the principal of any Loan shall then be due and payable as herein expressed or by declaration or
otherwise and irrespective of whether the Administrative Agent shall have made any demand on any
Borrower) shall be entitled and empowered (but not obligated) by intervention in such proceeding or
otherwise:

                          (i)     to file and prove a claim for the whole amount of the principal and interest
                                  owing and unpaid in respect of the Loans and all other Obligations that are
                                  owing and unpaid and to file such other documents as may be necessary
                                  or advisable in order to have the claims of the Lenders and the
                                  Administrative Agent (including any claim for the reasonable

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                                 compensation, expenses, disbursements and advances of the Lenders and
                                 the Administrative Agent and their respective agents and counsel and all
                                 other amounts due the Lenders and the Administrative Agent under
                                 Section 10.11) allowed in such judicial proceeding; and

                         (ii)    to collect and receive any monies or other property payable or deliverable
                                 on any such claims and to distribute the same;

                         (iii)   and any custodian, receiver, assignee, trustee, liquidator, sequestrator or
                                 other similar official in any such judicial proceeding is hereby authorized
                                 by each Lender to make such payments to the Administrative Agent and,
                                 in the event that the Administrative Agent shall consent to the making of
                                 such payments directly to the Lenders, to pay to the Administrative Agent
                                 any amount due for the reasonable compensation, expenses, disbursements
                                 and advances of the Administrative Agent and its agents and counsel, and
                                 any other amounts due the Administrative Agent under Section 10.11.

        12.9     [Reserved].

        12.10    Erroneous Payments.

                 (a)       If the Administrative Agent (x) notifies a Lender or any Person who has received
        funds on behalf of a Lender (any such Lender or other recipient (and each of their respective
        successors and assigns), a “Payment Recipient”) that the Administrative Agent has determined in
        its sole discretion (whether or not after receipt of any notice under immediately succeeding clause
        (b)) that any funds (as set forth in such notice from the Administrative Agent) received by such
        Payment Recipient from the Administrative Agent or any of its Affiliates were erroneously or
        mistakenly transmitted to, or otherwise erroneously or mistakenly received by, such Payment
        Recipient (whether or not known to such Lender or other Payment Recipient on its behalf) (any
        such funds, whether transmitted or received as a payment, prepayment or repayment of principal,
        interest, fees, distribution or otherwise, individually and collectively, an “Erroneous Payment”) and
        (y) demands in writing the return of such Erroneous Payment (or a portion thereof) (provided, that,
        without limiting any other rights or remedies (whether at law or in equity), the Administrative
        Agent may not make any such demand under this clause (a) with respect to an Erroneous Payment
        unless such demand is made within 5 Business Days of the date of receipt of such Erroneous
        Payment by the applicable Payment Recipient), such Erroneous Payment shall at all times remain
        the property of the Administrative Agent pending its return or repayment as contemplated below
        in this Section 12.10 and held in trust for the benefit of the Administrative Agent, and such Lender
        shall (or, with respect to any Payment Recipient who received such funds on its behalf, shall cause
        such Payment Recipient to) promptly, but in no event later than two Business Days thereafter (or
        such later date as the Administrative Agent may, in its sole discretion, specify in writing), return to
        the Administrative Agent the amount of any such Erroneous Payment (or portion thereof) as to
        which such a demand was made, in same day funds (in the currency so received), together with
        interest thereon (except to the extent waived in writing by the Administrative Agent) in respect of
        each day from and including the date such Erroneous Payment (or portion thereof) was received by
        such Payment Recipient to the date such amount is repaid to the Administrative Agent in same day
        funds at the greater of the Federal Funds Rate and a rate determined by the Administrative Agent
        in accordance with banking industry rules on interbank compensation from time to time in effect.
        A notice of the Administrative Agent to any Payment Recipient under this clause (a) shall be
        conclusive, absent manifest error.


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                 (b)      Without limiting immediately preceding clause (a), each Lender or any Person who
        has received funds on behalf of a Lender (and each of their respective successors and assigns),
        agrees that if it receives a payment, prepayment or repayment (whether received as a payment,
        prepayment or repayment of principal, interest, fees, distribution or otherwise) from the
        Administrative Agent (or any of its Affiliates) (x) that is in a different amount than, or on a different
        date from, that specified in this Agreement or in a notice of payment, prepayment or repayment
        sent by the Administrative Agent (or any of its Affiliates) with respect to such payment, prepayment
        or repayment, (y) that was not preceded or accompanied by a notice of payment, prepayment or
        repayment sent by the Administrative Agent (or any of its Affiliates), or (z) that such Lender or
        other such recipient, otherwise becomes aware was transmitted, or received, in error or by mistake
        (in whole or in part), then in each such case:

                         (i)      it acknowledges and agrees that (A) in the case of immediately preceding
                                  clauses (x) or (y), an error and mistake shall be presumed to have been
                                  made (absent written confirmation from the Administrative Agent to the
                                  contrary) or (B) an error and mistake has been made (in the case of
                                  immediately preceding clause (z)), in each case, with respect to such
                                  payment, prepayment or repayment; and

                         (ii)     such Lender shall use commercially reasonable efforts to (and shall use
                                  commercially reasonable efforts to cause any other recipient that receives
                                  funds on its respective behalf to) promptly (and, in all events, within one
                                  Business Day of its knowledge of the occurrence of any of the
                                  circumstances described in immediately preceding clauses (x), (y) and (z))
                                  notify the Administrative Agent of its receipt of such payment,
                                  prepayment or repayment, the details thereof (in reasonable detail) and that
                                  it is so notifying the Administrative Agent pursuant to this
                                  Section 12.10(b).

        For the avoidance of doubt, the failure to deliver a notice to the Administrative Agent pursuant to
this Section 12.10(b) shall not have any effect on a Payment Recipient’s obligations pursuant to
Section 12.10(a) or on whether or not an Erroneous Payment has been made.

                (c)      Each Lender hereby authorizes the Administrative Agent to set off, net and apply
        any and all amounts at any time owing to such Lender under any Loan Document, or otherwise
        payable or distributable by the Administrative Agent to such Lender under any Loan Document
        with respect to any payment of principal, interest, fees or other amounts, against any amount that
        the Administrative Agent has demanded to be returned under immediately preceding clause (a).

                (d)      The parties hereto agree that (x) irrespective of whether the Administrative Agent
        may be equitably subrogated, in the event that an Erroneous Payment (or portion thereof) is not
        recovered from any Payment Recipient that has received such Erroneous Payment (or portion
        thereof) for any reason, the Administrative Agent shall be subrogated to all the rights and interests
        of such Payment Recipient (and, in the case of any Payment Recipient who has received funds on
        behalf of a Lender, to the rights and interests of such Lender, as the case may be) under the Loan
        Documents with respect to such amount (the “Erroneous Payment Subrogation Rights”) and (y) an
        Erroneous Payment shall not pay, prepay, repay, discharge or otherwise satisfy any Obligations
        owed by the Borrowers; provided that this Section 12.10(d) shall not be interpreted to increase (or
        accelerate the due date for), or have the effect of increasing (or accelerating the due date for), the
        Secured Obligations of the Borrowers relative to the amount (and/or timing for payment) of the
        Secured Obligations that would have been payable had such Erroneous Payment not been made by

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        the Administrative Agent; provided, further, that for the avoidance of doubt, immediately preceding
        clauses (x) and (y) shall not apply to the extent any such Erroneous Payment is, and solely with
        respect to the amount of such Erroneous Payment that is, comprised of funds received by the
        Administrative Agent from, or on behalf of (including through the exercise of remedies under any
        Loan Document), the Borrowers for the purpose of a payment on the Secured Obligations.

                 (e)     To the extent permitted by Applicable Law, no Payment Recipient shall assert any
        right or claim to an Erroneous Payment, and hereby waives, and is deemed to waive, any claim,
        counterclaim, defense or right of set-off or recoupment with respect to any demand, claim or
        counterclaim by the Administrative Agent for the return of any Erroneous Payment received,
        including, without limitation, any defense based on “discharge for value” or any similar doctrine.

                (f)     Each party’s obligations, agreements and waivers under this Section 12.10 shall
        survive the resignation or replacement of the Administrative Agent, any transfer of rights or
        obligations by, or the replacement of, a Lender, the termination of the Commitments and/or the
        repayment, satisfaction or discharge of all Obligations (or any portion thereof) under any Loan
        Document.

         12.11 Lender Action. Each Lender agrees that it shall not take or institute any actions or
proceedings, judicial or otherwise, for any right or remedy against any Obligor or any other obligor under
any of the Loan Documents (including the exercise of any right of setoff, rights on account of any banker’s
lien or similar claim or other rights of self-help), or institute any actions or proceedings, or otherwise
commence any remedial procedures or cause any of the foregoing (through Affiliates or otherwise), with
respect to any Collateral or any other property of any such Obligor, without the prior written consent of the
Administrative Agent (at the direction of the Required Lenders). Without limiting the foregoing, each
Lender agrees that, except as otherwise provided in any Loan Documents or with the written consent of the
Administrative Agent (at the direction of the Required Lenders), it will not take any enforcement action,
accelerate Secured Obligations under any Loan Documents, or exercise any right that it might otherwise
have under applicable Legal Requirements to credit bid or purchase any portion of the Collateral at any sale
or foreclosure thereof referred to in Section 8.1 provided that nothing contained in this Section 12.11 shall
affect any Lender’s right to credit bid its pro rata share of the Secured Obligations pursuant to Section
363(k) of the Bankruptcy Code. .

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          IN WITNESS WHEREOF, this Agreement is executed and delivered as of the date first written
 above.


                                                  COMPANIES:

                                                  AMYRIS, INC., a Delaware corporation

                                                  By:
                                                  Name:
                                                  Title:




                                                  APRINNOVA, LLC, a Delaware limited liability
                                                  company

                                                  By:
                                                  Name:
                                                  Title:


                                                  AB TECHNOLOGIES LLC, a Delaware limited
                                                  liability company

                                                  By:
                                                  Name:
                                                  Title:


                                                  [AMYRIS FUELS, LLC, a Delaware limited liability
                                                  company]

                                                  By:
                                                  Name:
                                                  Title:




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                                          [AMYRIS CLEAN BEAUTY LATAM LTDA., a
                                          Brazilian limited liability company]

                                          By:
                                          Name:
                                          Title:




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                                          [INTERFACES INDUSTRIA E COMERICO DE
                                          COSMETICOS LTDA., a Brazilian limited liability
                                          company]

                                          By:
                                          Name:
                                          Title:


                                          AMYRIS BIOTECHNOLOGIA DO BRASIL
                                          LTDA., a Brazilian limited liability company

                                          By:
                                          Name:
                                          Title:




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                                             ADMINISTRATIVE AGENT:

                                             EUAGORE, LLC, a Delaware limited liability
                                             company

                                             By:
                                             Name:
                                             Title: Barbara S. Hager Manager



                                             LENDERS:

                                             EUAGORE, LLC, a Delaware limited liability
                                             company

                                             By:
                                             Name:
                                             Title: Barbara S. Hager Manager


                                             FORIS VENTURES, LLC, a Delaware limited
                                             liability company

                                             By:
                                             Name:
                                             Title: Barbara S. Hager Manager




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                                              Schedule 1

                                                 Part 1

                                              Borrowers

1. Amyris, Inc., a Delaware corporation

2. Amyris Clean Beauty, Inc., a Delaware corporation

3. Aprinnova, LLC, a Delaware limited liability company

                                                 Part 2

                                              Guarantors

1. AB Technologies LLC, a Delaware limited liability company

2. [Amyris Fuels, LLC, a Delaware limited liability company]

3.

4. [Amyris Clean Beauty LATAM Ltda., a Brazil limited liability company]

5. [Interfaces Industria e Comercio de Cosmeticos Ltda., a Brazil limited liability company]

6. Amyris Biotecnologia Do Brasil Ltda., a Brazil limited liability company]




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